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             1    shows:

            2                   1. Petitioner CSI is a defendant in the above entitled action.
             -J                 Z. Plaintiff James Payton ("Plaintiff') filed a civil action against
             4    Defendant CSI in the State of California, County of Los Angeles, entitled James
             5    Payton v. C$ Electrical Contractors, Inc., Case No. 8C525050 on Octobet 2I,
             6    2Ol3 (the "State Action"). A true copy of the Complaint is attached hereto as
             7    Exhibit A.
             8                  3.    CSI fi|ed an answer on November 26,2013. A copy of the answer is
             9    attached as        Exhibit B.
            10                  4.    The first date upon which CSI received and accepted service of a copy

d,s         11    the Summons and said Complaint was October 28,2013. The thirty-day period for
HleË
F! I B6
            t2    removal does not begin to run until a pafty has received a copy of the Summons and
Ë13ä        13    Complaint and been properly served. See Murphy Brothers, Inc. v. Michetti Pìpe
ði'Êä
itãÉ        14    Stringíng, Inc., 526 U.S, 344, 347-48 (1999). Therefore, this Notice of Removal is
rl]l8Í
ãt'E        15    timely filed under 28 U.S.C. $ 1446(b).             A copy of the Summons is attached as
            I6    Exhibit C.
            I7                  5.    CSI was also served with a Civil Case Cover Sheet, Civil Case Cover
            18    Sheet Addendum and Statement of Location, Notice of Case Assignment, Amended

            t9    General Order re Personal Injury Court ("PI Court") Procedures and Amended
            20    General Order         - Final Status Conference, Personal Injury ("PI") Courts, a copy of
            2T    which is attached collectively as Exhibit D.
            22                  6.    Assignment to this Court is proper because the State Action was
            23    pending in the State of California, County of Los Angeles.
            24                  7.
                              This is a civil action of which this Court has original jurisdiction
            25    pursuant to 28 U.S.C. $ 1331, and is one which CSI may remove to this Court
            26    pursuant to the provisions of 28 U.S.C. $ 1441 in that it is a federal question
            27    brought under section 301 of the Labor Management Relations Act ("LMRA"),29
            28    U.S.C. g 185(a). Section 301(a) of the LMRA confers upon federal courts exclusive

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           1   jurisdiction by complete preemption to hear "[s]uits for violation          of   contracts

           2   between an employerand a labor organization." 29 U.S.C. $ 185(a). see Franchíse
           a
           J   Tax Bd. of State of Cal. v. Constr. Laborers Vacation Trust     þr S. Cal., !63 U.S. 1,
           4   23 (1983) ("The preemptive force of $ 301 is so powerful as to displace entirely any

           5   state cause     of action 'for violation of contracts between an employer and a labor
           6   organization.' Any such suit is purely a creature of federal law, notwithstanding the
           7   fact that state law would provide a cause of action in the absence of $ 301."). The
           8   Supreme Court has also expanded the preemptive force under section 301 to
           9   include Çases to which the resolution "is substantially dependent upon analysis of
          10   the terms of la collective bargaining agreement]." Allis-Chalmers Corp. v. Lueck,
          11   47r U.S. 202, 220 (198s).
Hlce
Jlpâ      T2              8.   In the present action, complete preemption applies and federal courts
FlËä      I3   have exclusive jurisdiction over this suit because Plaintiff alleges various claims
,¿tâä
          I4   which all (with the exception of lhe 7th Cause of Action for wrongful discharge) are
rlEs
   -E
ãt        15   based on one set      of facts: he claims that he was required to be transported on      a

          t6   company bus to travel from his personal vehicle tolfrom his worksite and was not
          t7   paid for lhattravel time. He alleges this mandatory transportation added up to three
          18   hours to his work day which impacted his regular pay, overtime pay and the timing

          I9   of his meal and rest periods. Complaint, paras. 20-23. As shown below, collective
          20   bargaining agreements in effect include contractual terms which directly address
          2I   these issues and which must be interpreted in order to resolve the matter.

          22              9.   Plaintiff fails to plead that there are collective bargaining   agreements

          23   ("CBAs") in effect between the defendant CSI and a labor organization which
          24   represents Plaintiff (and all other non-exempt electricians he purports to represent)

          25   which specifically addresses these "travel to the worksite" issues, provides pay in
          26   defined circumstances and also provides a grievance and arbitration process for
          27   resolution of any issues arising trom implementing the negotiated provisions. His
          28   claim, therefore, requires interpretation of collective bargaining agreements and is

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             1   preempted by federal law.

             2              10.      There are three collective bargaining agreements ("CBAs") which
             a
             J   were in effect when plaintiff was employed by CSI and during the period covered
             4   by this putative class action. Each of the CBAs has amendments, interpretive
             5   understandings and related memorandaof understanding which must be considered
             6   to interpret the full scope of the collectively bargained agreements regarding "travel
             7   to the worksite" and related pay issues. The agreements were between CSI and the
             8   electrical workers union, of which plaintiff and all non-exempt electrical workers
             9   were members. Each of the CBAs are attached to the Declaration of Frank Cronin
            l0   in Support of Defendant CSI's Notice of Removal ("Cronin Decl."), Exhibit E, and
            11   are numbered thereon as shown below:

HlcË
FJ I eô
            T2              a)       Inside Agreement between Local Union 639 of the Intemational
FIÊä        l3              Brotherhood of Electrical Workers, San Luis Obispo, CA ("IBEW") and the
,zrÊF,
¡lå¿l       I4              California Central Coast Chapter, National Electrical Contractors Association
r!ls?
ãt-E        15              ("NECA"FAmended June            l,   2009, attached as Exhibit 1 to Cronin Decl.

            t6              This agreement was in effect from June 1,2009 through May 3I,2012.
            T7              b)   Inside Agreement-Amended June lr2012, between the same parties
            18              as above, attached as Exhibit 2 to Cronin Decl. This agreement was in effect
                                                                                                    ì


            t9              from June I,2012 to the present
            20              c)   The Topaz Solar Farm Work Site Agreement between IBEW Local
            2I              639 and First Solar Electric (California), effective June          2, 20II   and

            22              continuing    to the present, with its     numerous attachments and additional
            23              MOUs incorporated therein, attached as Exhibit 3 to Cronin Decl.
            24              1   1.    Defendant CSI   is an electrical contractor performing work on the
            25   Topaz project. That project is within the jurisdiction of IBEW Local 639. CSI
            26   became bound by and agreed to each of these three agreements, either by its assent

            27   to authorize NECA to bargain with the IBEV/ on its behalf or by directly executing
            28   them.

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              1              12.   Plaintiff asserts in his Complaint that his employment with CSI was
              2   from May 22 through June 14,2012 (three weeks) and that the location of his work
              J   was at the Topaz Solar Fam project. Complaint, para.           6.   Thus, he is governed by

              4   these agreements which were negotiated on his behalf by the IBEW union, his sole

              5   and exclusive representative on all matters relating to wages, hours, or working
              6   conditions.
              7              13.   The Work Site Agreement expressly modified some terms of the CBAI
              8   (which is referred to as the "Master Agreement" in the \Mork Site Agreement) but
              9   leaves other CBA terms in effect. In general, the Work Site Agreement is declared

             10   to "take precedence over conflicting provisions" of the CBA but affirms that the

ú            11   CBA terms remain          in   effect unless they are specifically denoted as being
t!
ã lçË        T2   superseded or are determined to be        conflicting. In addition to this general carve-
F 4¡l5i
     e6      13   out, certain specific sections of the CBA are deemed to "not apply" and certain
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     âÕ-
J
 J           14   other CBA terms are modified by inclusion of replacement language on subjects
rrl
z lãË
U)           15   also addressed in the      CBA. See Exhibit 3 to Cronin Decl., 'ilTT 10.3 and 10.4 (at
             t6   pages 13-14). The work Site Agreement also contains conditional clauses which
             I7   only become effective       if certain governmental determinations are made, such as
             18   U.S. Department of Energy loan guarantee approvals being received or certain
             I9   County ordinances modified.             This   amalgam    of   general clauses (such     as

             20   "precedence      if conflicting,"), nullification of certain specific CBA, clauses that are
             2t   conditional upon extrinsic events and other clauses that appear on their face to be
             22   conflicting (either with the CBA or within themselves) requires considerable
             23   analysis in order to come to a conclusion as to its meaning. In addition, the parties
             24   to these agreements have attached their own interpretation to the various words of
             25   art (or jargon of the trade) and reached informal understanding of many terms, and
             26   t
                   The two "Inside Agreements" were in effect for successive time periods and
             27   contain the same language on travel-related issues, except as noted below. The will
             28   be referred to as herein as "the CBA" for convenience and in contrast to the "Work
                  Site Agrespsnf"-l¡¡hich is also a collectively bargained agreement.
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           1   the application of those terms to a variety of particular situations that arise in the
           2   day-to-day implementation of these agreements. The parties have created a process
           a
           J   for resolving differences of interpretation and application of the agreement terms
           4   through grievance and arbitration wherein "any question arising out            of   ...this
           5   Agreement involving interpretation and application of their Agreement..." shall
           6   proceed through three levels         of meetings to "attempt to resolve" the dispute,
           7   culminating in arbitration in which the arbitrator may "utilize any equitable or legal
           I   remedy" to decide the matter at issue. Work Site Agreement, Exhibit 3 to Cronin
           9   Decl., Sections 7.1 through 7.10.
          t0               14.   The statutes and the Wage Order cited by Plaintiff as the basis for his

C¿g
          11   claims (again excluding his individual wrongful termination claim) permit the
Ëlçt      t2   parties to a collectively bargaining to adjust and modifu the provisions for pay and
 =lË1
>IÈË      13   other incidents to travel to the work site. The parties here have done so. Plaintiff is
"di2ä     t4   bound by those agreements. He was also required to institute a timely grievance         as
;lå+
   -E
ãt        15   to any dispute he had regarding the application of those negotiated terms. Cronin
          16   decl., Exhibit 1, tT 1.10; Exhibit2,lT 1.10,    Exhibit3,n73.     He filedno grievance
          l7   and therefore has waived his right to complain about the implementation of those
          18   collectively bargained terms.
          T9               15.   The CBA, the Work Site Agreement and the mutually                 agreed

          20   interpretation and application of their terms to the "travel to the work site" situation
          2T   have been the subject         of   substantial bargaining between the IBEW and CSI
         22    (through its representative, NECA). The resolution of Plaintiffls claim depends of
          23   the analysis of both the express and implied terms of those agreements,                 as

          24   evidenced by the agreements' language, the bargaining history between the parties,
          25   past practices and industry practice. Resolution of these issues in this action,
          26   therefore, requires close analysis of collectively bargained terms, not mere
          27   reference to them. The f'act that those terms may be unclear or even appeaï
          28   contradictory or conditional on their face further demonstrates the need for

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               1   interpretation of the collectively bargained agreements. Thus the federal courts
               2   have exclusive jurisdiction over this matter since federal courts have the exclusive
               a
               J   power to interpret disputed terms in such collective bargaining agreements.
               4              16. An illustration of the interrelationship and possible            conflicting

               5   interpretations of the CBA and the Work Site Agreement is found in the "Travel"
               6   sections of each. In the CBA, three different calculations of travel pay are set forth.

               7   The Employer is given the option to select any one of the three options. The first at
               I   Section 3.19 (A) defines pay within a geographic "free zone and states that all work
               9   outside thal area "shall be paid at full subsistence" under certain conditions. "Full
              10   subsistence"     is not defined. The second option at Section 3.29 (B) states that
              1l   employers (outside the free zone) may require workers to report to a job site in their
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     leË      t2   own transportation and will be paid at $50.00 per day flat         ratez   (or on a mileage
    lci
F= rlØzd3     13   basis). There is no explanation of how,this flat rate scheme relates to the "full
,¿
J I 6u^       I4   subsistence" pay provision in 3.19 (A), although both appeat to apply to work sites
J täõ
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z lsÉ
U)            15   outside the "free zone." The third option at Section 3.19 (C) requires the employer
              t6   to "pay for travelling time and furnish transportation from shop to job, job to job
              r7   and job to    shop." This type of travel time is to be paid at "the appropriate rate of
              l8   pay for that day of the week." None of the terms used in these three sections are
              t9   defined and all are subject to a wide range of interpretation.
              20              17.   The Work Site Agreement appears to modifu some of these CBA
              2T   terms, but leaves others      intact. The lines of     delineation are simply unclear,
              22   however. The Work Site Agreement atpara.10.4 cites CBA Sec. 3.19 as one of the
              23   provisions that "shall not apply to this Worksite Agreement." But it then proceeds
              24   to, l) point out that the "transportation requirements" are conditional                  on

              25   modification of a County ordinance,       2)    states a pledge   by the Union to "work
              26

              27   'The current CBA, Exhibit 2 to the Cronin Decl., provides for $50.00 per day. The
              28
                   prior CBA, Exhibit 1 to Cronin Decl., provides for $38.00 per day. Plaintiff
                   worked under both successive agreements during his brief tenure.
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                I   aggressively"      with the Company to            encourage workers       to use the "free
               2    transportation" to the worksite to alleviate traffic congestion and ensure safety; 3)
               J    upon yet another condition (DOE loan guarantees),              it   states that travel pay   (if
               4    required) will be paid in either of two ways--either, 1) at"atthe wage determination
                5   levels that existed when the bids for that block were let" (none of these terms are
                6   defined, but they appear to refer to another document which is not part of the Work
                7   Site Agreement),      or2)   at the Master Agreement level as stated in CBA Sec. 3.19
                8   (whichever is less). In sum, this extremely convoluted section first says the Master
                9   Agreement is inapplicable, then says that pay            wilt be consistent with that very
              10    agreement (which itself provides three options           with dozens of undefined     terms).

ús             11   Reading just this section           of the CBA and the V/ork Site Agreement's          terms

Ëles           t2   demonstrates that pay related to travel to the Topaz work site (which may or may
FIää           13   not include voluntary use of transport provided by an unnamed party) is
,Zi   2,1
:lEø           I4   extraordinarily complex, convoluted and conditional on extrinsic events. It
ä l*ã          15   understates the matter    to say that nothing about these overlapping, undefined and
               t6   conflicting terms is obvious on the face of the agreement.
               t7              18.   Another section of the Work Site Agreement, Sec. 10.5, does nothing
               18   to reduce confusion; rather, it adds another layer of uncertainty. It states that
               19   "covered employees" (undefined) must be at their "work station" (undefined, but
              20    possibly different from the term 'Job site" which is used repeatedly                 in other
              2l    sections) at the designated starting times.        It then states that "the parties support   a

              22    pay arransement" that provides for the workers to be at their work stations "without
              23    compensation       for the time travelled to his or her workstation." But the parties
              24    agree that they workers      will   be paid"at the regular hourly rate of pay for travel time

              25    back to their vehicles from the workstation" (emphasis added). In effect, this says
               26   there will be one-way only pay from workstation (undefined) to "their vehicles."
               27   Since other provisions discuss
                                                   t'busing" and "fþee transportation", one question that

               28   comes to mind is whether this one-way pay provision applies to workers who left

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               1    their "vehicles" miles away and took a fee bus to their workstation. And since the
               2    bus riders were apparently eligible for a $50/day payment, does this mean that they
               a
               J    get additional pay on top of that? There is no explanation of how this Sec. 10.5
               4    provision is harmonized with the others cited above which refer alternately to "full
               5    subsistence," "550.00 per day" flat rate or merely "the appropriate rate of pay."
               6    Questions abound from a simple perusal of these agreements and the only way to
               7    understand them requires close analysis, probably combined with testimony or
               8    affidavits explaining    how-in   the real world of the Topaz Solar Project-all these
               9    variables have been worked out between the union and the contractors on the job.
              10               19.   As noted , the 7th Cause of Action for wrongful discharge is apparently

        s
              11    unrelated to the claims for wage-hour violations and does not require analysis of the
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      ler     1,2   collectively bargained terms (other than the "good cause for termination" language
= lä;         l3    of the CBA). Defendant requests that the court exercise supplemental jurisdiction
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     6e-
J             14    over this claim pursuant to 28 U.S.C. sec 1367.
J l?ü
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z lsÉ
U)            15               20.   All Defendants served in this action have consented to removal of this
              T6    action.
              T7               21. A copy of this Notice of Removal is being served upon Plaintiff
              l8    through its attorneys      of record and upon the Clerk of the Superior Court of
              ß     California, Los Angeles County, as provided by 28 U.S.C. $ 1446(d). A copy of the
              20    Notice of Removed Action that will be timely filed with the Clerk of the Superior
              2l    Court of Califomia, Los Angeles County, is attached hereto as Exhibit F.
              22    ut
              23    ut
              24     lll
              25    ul
              26    ilt
              27    ul
              28

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              I               WHEREFORE, Defendant CSI requests that this Court accept and approve
              2    this Notice of Removal, and that said action be removed to the United            States

              J-   District Court for the Central District of California.
              4

              5    Dated: November      27   ,2013              SNELL & WILMER L.L.P
              6

              7                                                 By
              8                                                      Steve T. Graham
                                                                     Brian J. Mills
              9
                                                                Attorneys for Defendant
             10                                                 CSI Ele"ctrical Contractors, lnc.
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                                                     Exhibit A
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I               Plaintiff James Paytotr ("Plaintiff ') alleges:

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                                                      INTRQDUÇTIQN
3

                                                            to cornply with thc california Labor code
                                                                                                      and
4      1        This case arises out of Defendants' failure

5               applicableWageordel.inthetreatmentofitselectricalwotkersandconstructionworkers,
6               includingfailuretopaywagesforregularandovertimehours,failuretoprovidelawfulmealand
                                                                                           pay waiting time wages'
                                                  period and rest period wages' failure to
7               rest periods, failurc to pay meal

8               andfailuretoprovidelawfulitemiz,edwagestatetnents,inlerqlia,
                                                                                  situated persons who, during the
si     2.       praintiffbr.ings this action orr beharf of himself ancr similarly
                                                                                                               statute of
                                                              tl'.ough the date of trial, or other applicable
l0              four years prior to the fìling of this action
                                                                 by Defendants' wrongful concluct or as to whotn
11              limitations (,,class Period"), were damaged
                                                                                                         for the
                                                            who have not released all of their claims
t2              Defendants were unjustly enriched and

13              Defetrdants' wrongful conduct'
                                                                                                        with the
                                                          class Members that ended their employment
l4     3        The plaintiff sub-class includes those
                                               period, but who were not timely paid the accrued and unpaid wages
r5              Defendant during the class
                                                                                       plaintiff sub-class Members
t6              owed to them as              by Labor code sections 20r or20z. such
                                  'equired
                                                                                     code section 203'
t7              are. additionally entitled to waiting time wages purcuant to Labor
                                                                 plaintiff and the class Members during the class
18         4.   plaintiff seeks all compensation and relief due
                                                                               continuing, and will continue, their
19               period based upon infor.mation and betief that Defendants are
                                                            herein'
20               unlawful and unfair practices as described
                                                                  James Payton' who is tlre named     Plaintiff class
2l         5     As used herein, the term   "Plaintiff includes
1)                                          ,'plaintiff crass,, or ,,class Members" incrudes the plaintiff and all class
                 representative. The term

23               Members.

24

25
                 plaintiff is a resident of california and was hired   as an   electrical and construction worker by
           6
26                                                                                                  CSI'
                 Defendant CSI Electrical Contractors,
                                                       Inc. ("CSI') on or about May 22,2012'ThÏough
27

28
                                                            Com
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                                                  solar Farm. plaintiff was effectively teffninated on or about June
1
                    plaintiff worked at the Topaz

2
                    t4,2012.
                                                                                                                            by
3                                             of  the  crass  period, plaintiff and each class Mernber were employed
          7         During at reast a portion
                                                                                                             welfare
                                                                    one or.more regurations or Industrial
                    csl in carifornia and were covered under
4

                                                                                                 order 16'2001'
5                                                          including but not limited to wage
                    commission (IWC) wage orders,
                                                                                  situated, and
                                                                                                 prai'tiff reserves the right
6                                                  is identifiable  and similarly
          I         Eaoh of the class Members
                                                                       as named
                                                                                  praintiffs so*le or all of the persons who
7                                            this  complaint   to  add
                    to seek leave to amend
    8                                             Class'
                    arc melnbers of the Plaintiff
    9
                                                            DEIENDôNTË
10
                                                                                                      across the united
                                                      corporation  doing business in california and
11        I          Defendant   csl  is a carifornia
                                                                                                   Ave., santa Fe springs
                            with its principal  place of business located at r06z3Fulton'wells
t2                   states
                                                                                                               construçtors
                     in Los Angeles county, california.
                                                            csr works with some of the largest commercial
13
                                                                                                pre-fabrication, structured
                                                        other services, electricar engineering,
14                   in the nation providing, arnong
                                                       alternative energy services'
15                   cabling, system integration, and
                                                                                                               named as Does
                                                  know   the  true names   and capacities of the defendants
              10.
                     plaintiff does not presently
16
                                                   sues suçh defendants by these
                                                                                     fictitious names, Plaintiff believes
    l'1              1 through 100 and therefore
                                                                                             in the acts set forfh below,
                                                   persons or entities who are invorved
18                   that the Doe Defendants are
                                                                                            employees of the known
                                                          suppliers, agents' servants or
    t9               either as independent contractors,
                                                                            and agreement with the known
                                                                                                               Defendants to
                                             entering  into  a  conspiracy
20                   defendants, or thlough

    2l                performtheseacts,forfinancialgainandprofit'inviolationofPlaintiffsandClassMembers'
                                               reave of court to amend this
                                                                            complaint to set forth their true names'
                            plaintiff
                      rights.          wirr request
    22
                      identities and capacities when
                                                       Plaintiff ascertains them'
    23
                                                    been or is the principal' officel"
                                                                                       director' agent' employee'
    24        11      Eaoh of the Defendants has
                                                                                                    in such capacity or
                                       and/or co-conspirator  ofeach ofthe other defendants and
    25                representative
                                                                                       and incurred riability therefor' At an
                                  parlicipated in the acts or conduct alleged herein
    26                capacities
                                                       the Defendants entered into a
                                                                                       conspiraoy with othel of the
    27                 unknown time, some or all of

     28                                                           Compl aint
                                                                       3
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                                                                                                  acts were committed
1
                              to commit    the wr.ongful acts described herein, These wrongful
                 Defendants
.t                                                                                          each other in their
/.
                                 of such   conspiracy, and Defendants aided and abetted
                 in furlherance
                                                                                                   of their own finanoial
)                            Each   of the  Defendants  acted for personar gain or in furtherance
                 execution.
4                                                alleged herein'
                 advantage in effecting the acts
5

6
                                                                        of   a class ancl sub-class   initially defined   as
          12.    praintiff brings this action for.himself and on behalf
 7

 I               follows:

    9                      Plaintiff Class
                                                                       of california as electricar and/or construction
10                         Alr persons employed by csl.in the state                                        of ettergy
                                                               was th" ôo"ttruction and/or installation
                           workers whose prrmary duty is or                                           limitations as
l1                         systems (4) years p¡* ,ã iñt
                                                         filing of this action, o' shorter statute of
                                                                                                              the claims
                           d'etermined by the ijin;,ht",rgf,
                                                              îft" ¿utt of itiuíwho have not settled all of
12
                           asset'ted herein.
13

                                                                                                            of theit
                                                               promptly paid all wages due upon termination
14
                            All class Members  who   were  not
                                                                                           pursuant to Labor Code
15                          employrnent, un¿ ur, "îtitl;d
                                                          to u,i¿itionàiniaiting timãwages
                            Section 203.
16
                                                                                                     there is a
17                                 cal¡ses of action have been brought and may be maintained because
          13      The class action
                                                                                        bring them all before the
18                             common intelest of many persons and it is imptactical to
                  well-defïned
 l9               court.
                                                                                      joinder of all members is
2A                              The   number of class metnbers is so numerous that
           14.    Numcrosity.
                                                                                                   tluough documents
 2l                                                       of the class Members are identifrable
                  impractical. Trre names and addresses
                                                                                    be notified of the pendency of this
 22                           by  the Defendants,  and the classes, members may
                  maintained
                                                                                           more than 100 class
                                                      notice. plaintiff believes there are
 23               action by published and/or maired

 24                Members.
                                                                                              common questions of
    25                        and  predominance      of common   euestions of Law and Fact.
           I5.     Existence
                                                                                                  the questions
    26                                as to all Class Members'  These questions predominate ovel
                   law and fact exist
                                                                                                   include, among
    27                            individual  members;   These common legal and factual questions
                   affecting only
     28                                                       Com
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              other things:
,)
                                                                 is e'titled         to compensation under the
                  A, Whether.the plaintiff and each crass Member
3
                        applicable IWC Wage Order(s)'
                                                      tegulations or statutes;

4
                  B.WhetherDefendantsfailedtoprovideClassMemberswiththerequiredmealperiods;
                                                                                              periods;
                                                               Members with the required rest
5
                  C. whether Defendant failed to provide class
6
                  D.Theappropriatenessandnatureofr.elieftotheClassMembers;
                                                                                                       thc
                                                                   sustained by the class Metnbers and
7
                  E. The effect upon and the extent of any damages
 I                      appropriate type and/or meastlle
                                                         of damages; and

 9
                  F.TheextelrtofDefondants'liabilitytotheClassMembers.
                                                                                                   Plaintiff and all
10
              Typicality. Plaintiff     s claims are   fypical of the claims of the Class Members'
       t6.
                                                                                                    conduct in
11
                               sustained  damages  arising out of Defendants' colnmon course of
              Class Members
T2                                    aileged herein. plaintiff is entitled to the same'elief undel the class action
              violation of the law as

13                                                       Members'
               causes   of action   as the other Class

l4
       17,     Adequacy.PlaintiffwilladequatelyandfairlyprotecttheinterestsoftheClassMembers.
                                                                           period and is an adequate representative
15             praintiff was emproyed by csr at times during,the crass
16                     praintiff class because plaintiff has no intercst adverse to the interests of the absent class
               for the
                                                                                                      lítigation'
t7
               Members,   plaintiffhas retained legal counsel with substantial experience in oivil
18                                              litigation. The interests of trre class Members
                                                                                                         w'r be fairly   and
               employrnent raw and class aotion
l9                                                   Plaintiff s counsel'
               adequately protected by Plaintiff and
20                                                                              rneans of   fair a'd effioient adjudication
        18.    superiority. A       crass action is superior to other available

21                                                         joinder of all class Members is impractical' class
               of the claims of the class Members because
                                                                                           prosecute their'
22                                                 number of similarly situated persons to
               aotion treatment will allow a large
                                                                                               the unnecessary
23
               cornmon olaims in a single forum,
                                                    simultaneously, efflroiently, and without
                                                                                              cause to such pel'sons
24                                                that numerous individual actions would
               duprication of effort and expense
                                                                                                    rnay be
 25                                                 damages of many individual class Members
               or to the court system. Further, the
 26                                              and expenses of individual ritigation
                                                                                         would make it difficult or
               relatively srnan, and  the burden
                                                                                                   a class action will
 27
                           for.individual  members   of the class to seek and obtain relief, while
               impossible
 28                                                                 Iaint
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                                                                                                       the class
1
                                  public interest. Furthet:nrore' questions of law and fact co¡nmon to
               serve an impo'tant
                                                                                 members, arrd a crass action is
2                        predominate  over  questions affecting only individual
               Menrbers
3
               superiortoother.availablernethodsforfairandeffrcientadjudicationofthecontroversy'
4                                               present the potential for inconsistent
                                                                                        or contradictory judgments' By
               Individuat   ritigatio'  wourã
                                                                                                          arrd the court by
5
                               crass action  device  will result in substantial benefits to the litigants
               contrast, the
                                                                                                        set of proof in a
6
                          the  court   to resorve  numefous   individual craims based upon a single
               a[owing
7
               case.
    I                                             Causc of Àction No' I
                                                                         Hours Worked
    I                             Failure to Pay Con'pon*otion Due for
                                                (rlgainst All Dcfcnrlants)
10
                                                            20'
11       19    Plaintiff realleges Paragraphs 1 thlough
                                                                                                   a'rn' at an
                             reqtrired that
                                            praintiff and class Mernbers a*ive on workdays by 5:30
12       2A    Defendants

l3              ernployeepatkinglot.Frotnthete,PlairrtiffandtheClassMemberswererequiredtoboardbuses
                                                                                   praintiff and class Members
                         or contracted by Defendants. These buses then transported
14              operated
                                                 hour away'
15              to the jobsite, approximately an
                                                                                              plaintiff and class
                                   at the gated parking  tot of the jobsite around 6:30 a.m,,
t6       2t.    once  they arrived
                                                                                  gate at around 6:45 a'm' wherc
                          were  required  to pass through an additional securi ty
17              Mombers
                                                                                           they wefe supposed to be
                     were  scanned  and  allowed  to pass on to an assembly point where
18              they

19              by 6:50 a'm.

20       22.    Similarly,attheendoftheday,PlaintiffantlClassMcmbersweterequiredtomeetatthe
                                                                                gate to be scanned by 3:30 p.m.
                          point by 3:15 p.m. and then walk through the security
2l              assernbly
                                                                                            that transported them
                      the'e they again  boarded buses oper.ated or contracted by Defendants
22              From
                                                                                            they arrived at this
23                   to the employee   parking rot, approximatery one hour away. Generalry
                back

24              parking lot around 5:00 P'm'
                                                                                       plaintiff s and class
                                                mandatory and controlred portions of
    25   23     The above dçscribed steps were
                                                                                           5:30 a.m. and ended at
    26                    daily schedules,  Thus, their work days started at approximately
                Members,
                                                                                       pay Plaintiff and class
                               5:00 p,m. or thereafter' Defendants, however' failed to
    27          appr.oximately

    28                                                       Com        t
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                                                                                            to
                                                7:00 a,m' and after 3:30 p'm' This alnounts
             Members for the time worked before
1


1
¿.
             approximatelytlu.eeltoursofunpaidovettimeperworker,pet.wor.kday.
3                                                                                         \ry

4
                                                      parl provides:
5     24.    Labor.Code Section 11 82,|2 irr relevant

                                                other provision of this paft, on and after January
                                                                                                   l' 2007' the
6                   Notwithstanding any                                                          and fifty cents
                    minimum      ü;ääll          industrietlltuU be noi less than seven dollars
                                                                                              wage for all industriçs
7                   ($7.50) p",. riåu.l*¿       on.and un", iunu*y 1,2008, the minirnum
                    ,t'utt b" lrot less tlran   eight dollar's ($8.00) per hour,
I
                                                 part provides:
 9
       2s    Labor Code Section 1197 in relevant
l0
                    Thetninimutnwageforemployeesfixedbythecommissjonisthe¡ninimutnwagetobe
11                  paidtoemployees,andthepaymentofalesswagelhantheminimumsofixedis
                     unlawful.
12

13     26    Paragraph4oftheapplicableWageorderprovidesinrelevantpatt:

l4                           (A)Everyemployershallpay-toeachemployeewagesnotlesslhansevendollars
                     and fifty ce'ts ($7,50) per t ou, d'ãn.hours
                                                                  *o.ttó effective January 7'2007 ' and not
                                                                                                    r, 2008 . ,
15                   ,:r:   ilä;rsñ  i"ii;rJðriõolp.r:rroutpr øtr hours wo'ked, efrective Januarv
t6
t7                            (B)Everyemployershallpaytg..u:hemployee,olrtheestablishedpaydayforthe
                                                                                    all hours wotked ìn the
                     period i""oru!äi*t lesrrhan ¡t"ãípri.tble minimumwagefor
                                                                         by time, piece' commission' or
18                   payroll period, ih"th* the remuneràtion is measured
                     otherwiie. (EmPhasis added')
l9
                                                                                                           not
                                                          4 0f trre applicable wage orcrer, Defendants did
20     27.    In violation of sectio' 1 lg7 and paragraph

21            pay plaintiff and class Members at reast the
                                                           minimum wages and/or regular time wages fo'all

))            hours worked.

23     28.    LaborCodesectionllgl,Zinrclevantpartprovides
                                                                      1194 to tecover wages because of the
24                   In any action under section I1g3.6 or Section
                                                                  wage fixed by an order of the commission' an
                     payrnent of a wage less ihan the minimum
25                                                                                in an amount equal to the wages
                     employee shall be rntiif.,f to lecover liquidateã {aqa.ees
                                                                        in this subdivision shalr be construed to
26                   unrawfulry unpaid uø ini.rrrt thereon.ñothing
                     authorizç ttre recoveÇ;iliq"idtttd damages
                                                                     6t fuilut" to pay overtime compensation'
27

28
                                                                   aint
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                                       X'ailur-e to Pav   for Oveftime Hours Worked

     2
     4
          29.    Labor Code Section 510 provides in relevant part:
     J
                                 (a) Eight hours of labor constitutes a day's work. Any work in excess of eight
     4                  hours in one workday and any work in excess of 40 hours in any one workweek and the
                        first eight hours worked o¡r the seventh day of work in any one workweek shall be
     5
                        compensated at the rate of no less than one and one-half times the regular rate of pay for
     6                  an employee. Any work in excess of l2 hours in one day shall be compensated at the rate
                        of no less than twice the regular rate of pay for an employee. In addition, any work in
     7                  excess of eight hours on any seventh day of a workweek shall be competrsated at the rate
                        of no less than fwice the regular rate of pay of an employee.
     I
     9    30.    Paragraph 3 of the applicable Wage Order provides in relevant part:

 10
                        3. HOURS AND DAYS OF WORK
 11
                               (A) Daity Overtime - General Provisions
 12
                                        (1) The following overtime provisions are applicable to employees l8
 t3                     years of age or ovel and to ernployees 16 ot 17 yeals of age who are not required by law
                        to atfend school and are not otherwise prohibited by law fi'om engaging in the subject
 l4                     work. Such employees shall not be ernployed more than eight (8) hours in any workday
                        or mol'e than 40 hours in any workweek unless the employee receives one and one-half
 l5                     (11/2) times such employee's regular rate of pay for all hours worked over 40 hours in
t6                      the wol'kweek. Eight (8) hours of labor constitutes a day's wot'k, Employment beyond
                        eight (8) hours in any workday ol'more than six (6) days in any workweek is permissible
17                      provided the employee is compensated for such overtime at not less than:

18                                            (a) One and one-half (11/2) times the employee's regular rate of
                       pay for all hours worked in excess of eight (8) hours up to and including l2 hours in any
t9                     workday, and for the first eight (8) hours wolked on the seventh (7th) consecutive day of
20
                       wolk in a workweek; and

2l                                           (b) Double the employee's regular rate of pay for all hours worked
                       in excess of 12 hours in any wolkday  and for all hours worked in excess of eight (8)
22                     hours on the seventh (7th) consecutive day of work in a workweek,

23
         31.    Plaintiff and Class Members worked more than eight hours in a single workday or mole than 40
24
                hours in a sirtgle wolkweek. Defendants failed to compensate Plaintiff and Class Members for
25
                the overtime wages due them.
26
         32,    Labor Code'section 1194 in relevant part provides:
27

28
                                                          Com
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                                                                                                          receiving less
                                             any agresment  to work for a lesser wage' any.employee
                         Notwithstanding                                                                      to the
                         than the legal minimum wage
                                                         orìi' f'guf overtime tonfitntution applicable   full  amount of
                                                                      action ttre        balance of the
)                        ernployee  is entitled to recovet irra                   "npuia
                                                                "ivîl         inclu.ing interest tltereon' reasonable
                         this minímum wage or overtime.;ü;;;,t,tn,
3
                         uüàtn.Y't fees, and costs of suit'
4
                                                        part provides:
         JJ.       Labor Code Seotion 218'6 in relevant
5
                                                           nonpl{lent              the cout't shall awatd interest on all
                          In any action  brought  for                   ÎlÏ:î::
                                                      lhe                                            (b) of section 3289
6
                          due and unpaid wages at the
                                                          ratebfinterest speciflred in subdivision                payable
                                 civil code,  which   shall accr"  n"*  thi date that t'e wages were due and
7                         of the
                          as providetl in
                                          pait 1 (commencing with section 200) of Division 2'
I
9        34.       Plaintiffhasincurredandisentitledtoattorrrey,sfeesandcostsforpursuingllrisclaim.

10                                                    Cause of Action No' 2
                                                Failure to PaY ColnPensation Due
11
                                Pursuant t"    L;;;; õ;d;*llnmffi'o'                  Period wages

12

                                                    tlu'ough 34'
                   Plaintiff realleges paragraphs I
13
         35
14
          36,      LaborCoclesection5i2providesinrelevantpart:
15
                                   (a) An employel may noJ.gmntoy an
                                                                         elnployeefot a work period of more than
                                                                                     a meal ptriod of not less than 30
l6                         flive hours per day  ;íaffi  ít"viaing tná "*p1"i"""*iththe emplãyee is no more than six
                           minutes, except tfruiifìfr. iotal
                                                              work p.;i"di;day of
                                                                                                             and
17                         hours, the meat prUoî äãyîr
                                                             *"f"d,bt;;ual.cänsent of bóth the employer
                                                                        ;;;;Joyee for a wot'k pefiod of more than 10
                           emptoyee.     en.*pl;ioöi¡rtFpbi                                             of not less than
18
                           hours per day withoi prouiäing
                                                              tn. ã*ptàyt-" Ytlh a second meal period
                                                                                               1ã hours' the second
                                                          to-tal hourå *o't'¿ is no mot'e than
                           30 minutes, except tftiiitfp                                           the ernployee only       if
19                                                          murual ;;5|nt ortn" employer and
                           meal period .uv u, nJuinfiuv
                           i-ltá nirt meal périod was not
                                                          waived'
20

21
          37   .    Labor Code Secti on226'7 provides:
22
                                       (a)Noemployershailrequireanygrypl-oy:.loworkdur.inganymealot.rest
                                                                                                     sion'
23                          peri o d   *r"d;;;î;;"  .ppri".uliãìitt är thä lndustrial welfare commis
 24                                 (b)Ifanemployetfailstopr.ovideanemployeeamealperiodor.restperiodin
                                                                                Welfate Commission' the employer
                            accor.dance with an applicabie "r'där-ilhJ"¿"titiáf             regular rate of
 25                                                                hour of pay at the employee's
                            shall pay the employãe one.additional                               provided.
                                                                  the mear oirest pefiod is not
    26                      ää;äilffiåÏ'#;*äËäö,har
    27
           38.       ParagraphlloftheapplicableWageorderprovidesinrelevantpatt:
    28                                                        Com
                                                                    9
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I                     1   1.   MEAL PERTODS

2                                (A)Noemployershallemployalyperson.fot.aworkperiodofmorethanfive(5)
                                                                                     that when a work period
                     hours without a rneal period of niì.'r, t¡aå tO minutes, **t"pt
                                                                                 work túe rneal period may be
3                     of not more than six (6) hours *Ji;f,]ipil"ititAuy't               unless the eurployee is
                               uv ,n"t"àir"ir.nt   of the ;r;pú;.,' and the employee'
                                                        *inui. ítlrl period, trtt *ul period.shall beperiod
                      waived                                                                            consideled
4
                      relieved of all duty during u ¡o                                                        shall be
                                     meal period  and             ti*ã worked. An "on duty" meal
                      an,,on  duty,,                   "o,r*Ju,                              ft'o^ being relieved of
                      permitted only when the.nature oitt"
5                                                              work preventsãn
                                                                                   "mployt"          paid meal
                                    when  by written  ugr**Lnt   between the parties an on-the-job
6                     all duty  and                                                                      in writing'
                                                                    shall state that the employee may'
                      period i, ugr.rJio, îhe writte"      "d;r"t
7                     i'evoke theãgreement at any        time'
                                                                                                .r   :__

I                             (B)Ifanernployer{ai\toprovidearremployeeamealperioditraccorclancewith one (1) hout'
                      the applicable provisions of this
                                                        åä,,., the employer shall puy fltt employee
9                                                                            for åach workdav that the meal
                      of pay at the emplovee's
                                                ':.stih;;î;;i;;ù*'ignwith rhe required mear periods for
                      period is nor ó"irrä*t faiËd t";r.""tilÞËnriff
10
                      nu*"tout        daYs worked'
It
                                                                                                             to be
                                 to provide  plaintiff and  class  Menrbers with the mear periods required
12       39,   Defendants failed
                                                                                              5:30 a.m. Plaintiff
                                                        that their.wor.kday started at around
t3             provided. specífically, despite the faot
                                                                                    noon. Therefore, they regularly
                                              rerieved to take a runch break untir
14             and crass Mernbers were not
                                                                                           therefore were not
                                                     receiving their first meal period and
15             worked more than six hours before
                                                                                                     regularly
                                                         In addition, praintiff and ctass Mernbers
16             provided a legaily required mear break,

17             workedmorethanl0hoursper.dayanddidnotreceiveasecondmealbreak.
                                                                    the crass Members were entitled to one
18       40    pursuant to Labor code secti on226.i,plaintiff and
                                                                                             workday that the
                              of pay at the employee's regulat'rate of compensation for each
T9             additional
                               'our         not provided'
20             required meal period(s) were
                                                                                 the additional pay due them under
               Defendants have              paid plaintiff and the crass Members
21       41.
                                      'ot
22             Section226,TandParagraphlloftheapplicableWageorder.
                                                    part provides:
23       42,   Labor Code Section 218'6 in relevant
                                                                                    co-url shall award interest on all
24                        In any action brought for the nonnlllent Îl*19:,-s, !l-re                              3289
                                                                      specifiéd in subdivision (b) of section
                          due and unpaid wages at the rateãfinterest                                 due  and payable
25
                          of the civil code, which shail alcrue
                                                                no* the date that the wages were
                                                                           200) of Division 2.
                          ä    ñ"ïJ'å  in pait 1 (commencing with section
26
                                                        Causc of Action No.3
    27

    28
                                                                  t0
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I
                                           Failure to PaY ComPensation Due
                              pursuant to Labor õo¿e,section iZm for Rest Period
                                                                                 Wages

2                                               (Against All Defcndants)

J
                                                         tlu'ough 42
         43.    Plaintiff realleges paragraphs       1
4
         44     Labor Code Secti on226'7 Plovides:
5                                                                                                         or rest
                                                                      eTpl-oyee to wo[k cluring any meal
                                    (a) No employer shall fequire any
6                                   *.",1   ;;î;;"     it.Ur'"
                                                         uppl       âr tftä Industrial Wel fa'e Commission'
                       p   erio d                                   "ìitt
7
                               (b)IfanemployerfailstoprovideT:'"ll:Ï'eamealperiodol'l.estperiodin         employer
                                    with an applicabre              rndustriàt welfare Òommission, the
I                       accordance                     "r¡ri,liirr"
                                                                hour of pay at the employee's regular
                                                                                                      rate of
                        shall pay the employée one.additio'al                                    is not provide.'
9                       compensati";ï;;;r'               work ¿uy irtåiirt" i"tul otltutt period

10
         45.    Paragraphl2oftheapplicableWageorderprovidesitrrelevantpart:
11
                        12. REST PERIODS
12
                                (ÐEver.yemployershallauthorizeandp"rm.ltallemployeestotakerestperiods,
                                                                             of eaoh wórk period' The authorized
l3                      which  insofar as pracricable shalliäilil;idåe
                                                                                                rate of ten (10)
                                                         on the total hours wofked daily at the
                        rest period ti*, åuil be based
14
                        minutes net rest tilne per,fo"t (4ih;;;
                                                                  o'*u¡o' fraction theieof' However' a rest period
                                                                 *hor* iotal daily work timeis less than three for
                                                                                                                 and
l5                      need not be authorized for "*prov"r,                                             worked
                                                                             rrtuír be counted as hours
                        one-half (31/2) hours. Authorizeää;;ìì;állt""
                                                                  wages'
t6                      which there shall be no deduction from
17
                  '(B)Ifanetnployer?il:þprovideanemployeearestper.iodinaccordancewith               one (l) hour
                                      provisions of-this ;t'ã;, the employei shall pay the employee
                       the applicable                                                               the rest
18                                                                 totnp"n'ätion for'èach wo'kday that
                           of pay at t'e employee's rrgoturi'ui"if
r9                         per:iod is not Provided'

                                                     plaintiff and class Members with the rest periods required to   be
20
          46.    Defenclants failed to provide
2l
                 providedand/orrequiredthemtoworkduringrestperiods,specifically'aswasthecasewith
.,1                                                                                 the approxirnately one           and
                 respect to meal periods, because
                                                  Defendants failed to acknowredge
23                                                       and at the end of the work days, they
                                                                                               faited to provide
                 one-harf hours of work at the beginning
    24
                 the proper number of rest breaks
                                                  within the proper time frame'
                                                                    and Class Members we'e entitled to
    25                                                                                                 one
          47.    Pu'suant to Labor Code Secti on226,7,Plaintiff
                                                                                                  workday that the
    26                                                      regular rate of compensation for each
                 additional hour. of pay at trre employee,s
    27                                           provided'
                  required rest periods were not
    28                                                             Com
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                                                                                                     under section
                                             plaintiff and class Members the additional pay due them
1
                    Defendants have not paid
         48
2
                    226,7.
3                                            in relevant part provides:
         49         Labor Code Section 218'6
                                                                                                                 on all
4
                                           brought fol the  ngnpîiment   gf *1q:Ì.the court shall awald interest
                             In any action
                                                           rate ãfinterest ,proin,Oìn  tu¡¿iuitioo (b) of Section 3289
                                                    at the
5                            due and unpaid wages                                          wages were due and payable
                                    Civil Code, which  ,nuff a'JruË n"'" the daæ that the
                             of the
                                                                        section 200) of Division 2'
6                            ã- pr""i¿"¿     i"ï;;'ïï;;;;;";;üwitn
7                                                             Cause of Action No'    4                '. - -- 203
                                                                                             cocre secrion
    I                        Fa'ure to pav wa*ing
                                                          ru,xrli*xrxtor',abor
    9
                                                         1   tluough 49'
l0           50      Plaintiff realleges paragraphs
                                               relevant part provides:
1l           51.     Labor Code Section 201 in
                                                                                                       unpaid at the
                                      (a) If an employer clischalges
                                                                     al emnlgleT' the wages eatned and
t2                                                            payable immediately"'
                              time of disJrtätg" tit áue and
13
                                              relevant part provides:
t4           52.     Labor Code Secti on202in
                                                                                                            period quits his or
                                       (a) If arr employee not having a
                                                                            written contract for a definite
15                                                                                                                        hours
                                                           rrr, *ug.*'*ìiJt ur.o*e    due and payable not later thartT2
                                                   his or
                              her. employrnent,
                                                                     il;iv"r ?                     notice of his or her intention
    r6                        thereafter, unless the employee                     Itouy.ntåuiåus                     of
                                                                                       his or het:wages at the time
    t7                        to quir, i"   di;il.a;    ilrË  r*pr"vääit!îiiiltJto
                               quitting""
    18

    t9        53.     LaborCodesection203providesinrelevantpart:
                                                                                   without¿batement or reduction'
                                                                                                                       in
                                       (a)   If   an employer   willfully   f"iltiol?'                              emplovee
    20
                               accordance with Seotiorr;6i;;öí
                                                                     .l,int'i,íoz,and 205'5'anv wases of as     an
                                                                                                                   a penalty
    2l                         who is discharged o,. *r,o"qî'ii;;ht
                                                                            *d;t
                                                                              {tit"
                                                                                     **ptoyt".tttuil  continue
                                                           uì th" ru*. r*t" untit puià
                                                                                        är úntil an acrion rhe'efor is
                               n"*ilri^ä"å-åäi"    thereof
    a1
                               commenced; but th, wug"s
                                                             sùll not continue for mote than 30 days' ' ' '
                                                                                                                        of the
    23                                                                   penalties at any time before the expifation
                                       (b) suit may be filed for these                               penalties arise'
                                                                    for the *ug", from which the
    24                         statute of limitations on *ãr,ion

                                                                                              with Defendants terminated.
    25
                                        of ptaintiff and  rermination pay class Members
              54,     The ernployment
                                                                                                              been paid the
    26                                         that  plaintiff and Te'nination pay class Members had not
              55.     Defendants  were  aware
                                                                                                and unpaid at the time their
    27
                                    overtime, meal    period, and/or rest period \¡/ages earned
                      regular time,
        28                                                             Com
                                                                             12
    Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 24 of 135 Page ID #:26




             employment terminated'
)                                             and the Tetrnination Pay class
                                                                              Members terminated'
      56     when the employment of Plaintiff
J                             Labor code sections 201 0r 202by
                                                                    willfully failing to pay the wages eatned
             Defencrants violated
                                                                                            wages fot
4                            were due them, incltrding wages due for tegulat hours worked'
             and unpaid that
                                                                                 in the time required by
5
                      hours  worked, meal period wages and/or rest period wages
             overtime
6
             Sections 201or202'
7
      s7.    Labor.Codesection2ls.5providesinrelevantpatt:
I
                             (a)Inanyactionbroughtforthenonpaylllentofrvages,fringebettefits,orhealth
                                                                      court strail Ñard leasonable attorney's
9                    ancl welfare or pension fund contributions, tíre
                     feesandcoststotheprevailingpartyifanypattytotheactionrequestsattottrey'sfecsand
t0                   .ost, upon the initiation of the action'
11
                                                  part provides:
      58,    Labor Code Seotion 218'6 in relevant
t2                                                                                                       on all
                                   brought for the nonpayment  of wages' lhe coutt shall award interest
                     In any action
13                                                    *äüil;i"rt ,prrìfted in subdivision (b) of Section 3289
                     due and unpaid wages at rhe                                                        payable
                                        which  ,nurl uc,,u, no* tlre date that the \ryages were due and
t4                   of the Civil Code,
                     asprovidedinpu,tl(commencingwitlrSection200)ofDivision2'
l5
16     59     Plaintiffhasincurt.edattorney'sfeesandcostsinpursuingthisclaim,

t7                                              Cause of Actiolr No' 5
                                        Violation of Labor Code Section 226
l8                                            (Against All Defendants)

r9
              Plaintiff realleges paragraphs   1   tluough 59'
       60
20                                                                                           practice, failed to
                                                          as a matter of uniform policy and
       61.    Defendanfs knowingly and intentionally,
2r                                                                                                   regarding their
                      plaintiff and crass  Mcrnbers   with accurate and comprete wage statements
              furnish
22                                                                                              rest period
                                                    of ovet'time pay, total gross wages ealned'
              regular rates of pay, accut'ate rates
23                                                                                   of Labor code section
                                              and total net wages eamed in violation
              premiums, meal period premiums,
24
              226
25
                                            plaintiff and class Members of the wage statement class with
       62     Defendants, fa*ure to furnish
26                                                                               injury because such failure
                                              wage statements resulted in actual
              complete and accurate itemized
 27

 28                                                       Com    aint
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                                                                                                        and rest and
I                              other things, the non_payment  of alr their regurar and overtime wages
                led to, among
,)
                                                      them of the information necessafy
                                                                                          to identiff the
                meal  period premirtms   and deprived

3                                            reported data'
                discrepancies in Defendants'
                                                                           penarties pursuant to Labor code
4
         63     plaintiff and class Members are entitled to damages and/or
                                                                                                    fees, and costs of
5
                         226,incrvding  statutory penarties, civil penalties, reasonabre attorney's
                section
6                                                  Code Secti on226 and226'3'
                suit pursuant to Califomia Labor
7
                                                Cause of Action No' 6
                                                          Profcssions codc section 11200' et seq'
 8                   violation of california Business and
                                               (Against Atl Defendants)
 9

                Ptaintiff realleges paragraphs I through
                                                         63'
10       64,
                                                    17200 provides:
11       65     Business & Professions Code Section
                                                                     shall mean       includl                 unfaír
12                      As used in this chapter, unfair competition              11d          ?:.y^Ï"lo"rol'
                                      business  aot or ptuttlËt and unfair' deceptive' untrue or nrisleading
                           fraudulent
                                                             bt Ch"pter I (commtnting with Section 17500) of
                        or
                        advertising and any aot prohibit;
13
                                                                                        (Emphasis added')
                        part 3 of Division 7 of the eusinttsänd Professions Code')
t4
                                                                                              above constitute
15                                                   code and wage order provisions set fo'th
          66.    Defendants, violations of the Labor
16                                             practices'
                 unlawful business acts and/ot
l'l              Specifically,asallegedabove,DefendantsviolatedParagraphs3'4'llandL2oftheapplicable
                                                    201, 202,203,226,226.7, 510, 5l2,and llgJ'
18
                                                                                               lnter alia'
                 Wage order and Labor Code Sections
                                                                                                  17200'
19                                                     business acts or practices" under section
                 such viorations constitute.,unlawful
20                                                    plairrtiff and crass Members of all wages due for regular
          68.    The acts and practices of depriving
                                                                                                     rest periods, and
2l                                                      failing to provide the lequisite meal and/or
                 hours and/or overtime hours worked,
                                                                                                 that are "unfai'"'
 22                                                 period wages due are arso acts or practices
                 fa*ing to pay the meal and/or rest
 23
                            & Professions Code Section    17203 provides:
          69     Business
                                                                                                                  may
 24                                                                or pJ'oposes to engage in unfair competitioll
                         Any person who engages, has engaged,                                        such  orders or
                                                                               The court may make
 25                      be enjoined in any court of ."*ñäií"tirAi"iion.
                                                                                as may be nècessary to prevent the
                         judgments, i""f"ãi"g it . uppoinirn"ntäf a receiver,
                                                                    pturti.r which:onstitul:::if?ir competition' as
 26                       use or employment by any p"r.*ãirny                                       in interest any
                                                                neðessaly to restore to any pelson
                          defîned in this chapter, or as may be
    27

    28
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                                                               may have beerr acquired by means of such
1                    money of propeúy, real of personal' which
                     unfair comPetition'
")

                                                     as a result of Defendants' unlawfur and/or
                                                                                                unfair
              Defendants have been unjustly en'iched
â
J      70,

4             business acts and/or Practices'
                                                                                property by which Defendants
5      7l     plaintiffs and ail class Members seek restitution of money and/or
                                                      Period'
6             were unjustiy eruiched during the Class

7                                                 Cause of Action No' 7
                                WrongfulTerminationinViolationofPublicPolicy
                                    -
 I                                         (Against All Defentlants)
 9
       72.    Plaintiff realleges Paragraphs I ttu'ough 71'
10
              During praintiffls third or fourth week working
                                                                for Defendalrts, plaintiff suffered a work related
       73,
ll
                                                                      in the safety gear provided by Defendants'
              injury -- a deep gash in his wrist that exposed a fault
t2
                                                                                         same day the     faulty gear was
              plaintiff reporled the iqjury to his supervisor immediatery and that
13
                                                               failed to pass out to wot'kers'
              replaced by better gear that they had previously
t4
                                                                  to Plaintiff s wound and tecommended that
       74     The onsite medic was unable to properly attend
15
                                                                                       plaintiff, however, the medic
              plaintiff go to a clinic in town. Due to the difficurty of transporting
16
              and others encouraged
                                        plaintiff to waítto go until the end of his shift. Plaintiff continued to bleed
T7
              and by the time he reached town, the clinics
                                                           were closed'
18
                                                                  attempted to fuIfilIhis duties with only the
       7s     The following day, Plaintiff returned to work and
19
                                                                   The cut soon opened again and Plaintiff again
              ban,ages provided by the medic the previous day.
20
                                                              plaintiff wait for a short time in an office and then
              reported the injury, This time Defenda'rs had
21
              tr.ansported him off site to a driveway along
                                                            the side of a public road where he waited for a
22
                                                                      than stitch the wound, the paramedio glued
              paramedic employed by Defendants to arrive. Rather
23
              it with oyanoacrylate and put     a bandage   ovel it, and told Plaintiff to keep it dry'
24
                                                                     then required plaintiff to return to work
        76.     This was impossible, however, because Defendants
25
                                                         plaintiff had to wear foream safety guards in the heat
               immediately after the treatment, At work
26
                                                                          the bandage' At the end of the workday'
               of the sun and could not help but sweat, thus moistening
27

28
                                                        Complaint
                                                                14
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  1
              plaintiff   refur.ned to his home, sweaty and   dirty   as   normal. Once he afrived at his home, he had to
 2
              clean up. His bandage was coming off so he replaced it himself'
 3
        17    The following day at work
                                        plaintiff s poorly treated wound again opened up and he agairr went
 4                                                                              and Plaintiff told him that he
              to the rnedic, The medic asked what happened to the first bandage
 5
              had to change    it out. Defendants then told Plaintiff that he was "insubordinate" for having
 6
              changed his bandage and imrnediately terminated him'
 7                                                                                      in Plaintiff
              Despite the actual occurronces at the jobsite, Defendants falsely claimed
                                                                                                            s
        78,
 I            Ter¡nination Infor.¡nation document that the reason for Plaintiff s termination
                                                                                              was "redtiction of

 I            workforrce,"
10                                                                                        to be checked
        79    Though Defendants had a,'Ne\¡/ Employee Safety Checklist" that was supposed
11
              off as'the supervisor covered safety topics with Plaintiff, no boxes on that list were checked
                                                                                                                    and

l2
              yet it cloes contain the supervisor''s signature. Plaintiff did not sign this document.
13
        80.   prior to his ter¡nination, plaintiff cornplained to Defendants atout their failure to initially provide
14                                                                                               to his on-the-
              him with pr.oper safety equipment and about their failure to provide adequate care
l5
              job injury.
t6                                                                                               safety:
        81.   Ðefendant CSI states the following about itself on its website regarding workplace
t7
                      We have created a culture of safety. Above all, CSI Electrical Contractors values the
                                                                                                            to
18                    safety and well-being of our employees. We have deployed the necessary resources
                      eliminate potential hazards,prevent accidents and injuries, and implement safe work
19                    practices.
20
                      Our commitment to safety starts at the top. CSI's entire senior'management team, our
2I                    highly experiences safety dilector and an OSHA-certified trainel work together to
                      educate our.employees on safe practices and ensure their compliance.
)')
                      Everyone is a safety director. But our approach to safety runs even deeper; it's an attitude
23                    that is ingrained in CSI's culture. Everyone, fi'om the apprenlice on up, is a safety
                      advocate and is responsible fol maintaining a safe wolk environment.
24
                      This approach works! CSI's Dedication to safety shows in key occupational safety
25
                      metrics such as our experience modification rating (EMR), which is well below the
26                    industry EMR baseline of 1.00. Put anothel way, in the last two yeal's we've worked
                      more túan 1.2 million hours in the field, with less than 10 r'ecordable injuries.
27

28
                                                        Com laint
                                                               1î
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      1
            82,    Despite the self-serving and selÊpromoting statements set forfh on their websites, Defendants
      2
                   made the conscious and intentional decisions to conceal Plaintiffls injury in an effort to maintain
     J
                   their hypelbolic clairns regarding industry safety metrics. They did so with clear disregard for'
     4
                   PlaintifPs health and well-being in an effort to make their labor costs and tax burdens smaller
     5
                   and to make their   plofitability and personal earnings larger.
     6
            83.    In effect, Defendants labeled Payton a "tt'oublemaker'" because he would no longer allow
     7
                   Defendants to violate his statutory rights and Defendants wrongfully terminated him in violation
     8
                  of public policy as defined under California law.
     I
                  WHEREFORE, Plaintiff requests that judgment be entered against allDefendants as follows:
 l0
 1t
           1.     For damages for wages not paid according to proof.

 12        2.     For compensatory damages accordÍng to proof.

 13        3.     Fol'restitutiori and disgorgement for all unlawful and/or unfair business acts and/ol practices

 14               accot'ding to proof.
 l5
           4.     For attotney's fees and costs as allowed by law.
 t6
           5.     Forpenalties as allowed by law.
 t7
           6.     For prejudgment interest.
l8
19
           7,     For such other and further relief as the Court deems proper.

20         Dated: October   17,2013                       BT,ANcHARDLAwGRoup,APC

2t
))                                                       B
                                                                 LONNIE C. BLANCHARD, III
23                                                               Attorney   þr Pl aíntiff James P ayton
24

25

26

27

28
                                                           Com
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                                                     Exhibit B
)0/00/:¡011 13:1.9:27 FÀX ?1324-9999t)                                   I'lA'f IONIl''lI Lll:ì LUGAj,,
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                                                                                                                                  i:i,prrlo¡ Cúùr{ Of ('dlf,rnln
                       I     Flank Cronin, Bar No. 069840                                                                             {lilDliv I if Jrr,lnf:{lÊ¡

                             fcronirr@sWIaw'conl
                       2     Steve T. Crâham,llarNo. 105710                                                                         f{ûv ? fi 2tT3
                             ss   raharnúàswl      ¿tw. co   ttr
                       3     ffi.216078                                                                                $lrerri fì, Carlr:[ Ëxecurivc¡ ûlficøriflerk
                                                                                                                              {ly; Krìstìne Vnrgas, Êeputy

                       4            & WILMER I-.L.P
                             600 Anton Blvd, Suite 1400
                       5     Costa Mesa, Calìfbnrin 92626-7 689
                             Teleolrone: 714.427.700Q
                       D     Facsinrile: 714.427.7799
                             Attomeys lbr Defenclant
                             CSI Electrical Colúracttlts, Inc
                       I
                       9                                     SUPËIUOR COUR'I' OIt'fI.tE S'|,AT'H OF' CALIFORNIA

                      10                                                   COTINTY OIì I,OS ANCELES

 ò/.         tì:
                      l1
                             .IAMES P¿\Y'['ON, an inclividual on behalf of'                           Case No. 8C525050
 ã lsË
   I nrÌ
                      12
                             himself ancl others sinrilarly sitttalcd,
 F drI då
       .ii(
       >,t
       -1             13                                                                              i"lon. Amli Ï). Flogue
 q)         oit                                          Plaintiffi
       tÊ9             14                                                                             Dept.92
 J
  '7
 tJ)   läl             15
                             CSI ELECTRIC,A.L CÜNlìlt¡\C1fÜRS, lNC., a                                    DITTIENÐÄNT CSI EI,IC'TIUCAL
                       16    Calilbrnia oorporatiott, {tnd DOIIS I througlr                               coNTRACTCItts, INC.',"S ANSlryDR TO
                              r   00,                                                                     CLASS ACTION COMPLAINT
                       T7
                                                         Ðefbndant
                       l8                                                                                 Date of fîling: 0ctober' ? l, 2013

                       19                                                                                 Trial   clate:   No clale set

                       2A

                       21

                       '))                   Defenclant CSI Electrical Contractors, Inc. ("f)e1iì:ndant") hereby answers Plaintiff James

                       23     Pryton's ("Plainti{f') Class Action Complairtt ("Coruplaint") as follows:

                       24                    t¡¡rcler the ¡:rovisions of'$ 43 1.30(d) ol'the California Code of'Civil Procedure, Deí'endant

                       25     clenies each ¿rnd every trllegation, both specifìcally and generally, of'each cause of action

                       ¿tJ    cc¡utainecl       in Plaintiff s Complaint on file herein and the whole fhereof, ancl detlies that Plaintiff

                       27     was clamzrged         in any sttl'tt ot'sutlls? at all,

                       2B


                                                             D         Nl"          SWER'TO                       A        ON COM?LAINT
                                  t8294929
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            1
                                                      AFF'IRMATIVE DET'ENSES

            2                                                FIRST DEFENSE
                                                                                                                    to
            )               The Complaint and each of its purported causes of action fail to state facts sufficient

            4   constitute a cause or causes of action against Defendant'

            5                                              SECOND         EF'ENSE

            6               As a further and separate defense, the Complaint, as well as each purported cause
                                                                                                              of
                                                                                                         Code of Civil
            7   action therein, is barred by the applicable statute of limitations, including California

            I   procedure gg 33S(a) & (c) and 3a0(a)        & (b),   and California Business and Professions Code   $


            9   17208.

           10                                                THIRD DEFENSE

           11               As a further and separate defense, Plaintiff and members of the purported class are subject
ús
Ël:s       t2   to collective bargaining agreements in which they agreed to a grievance and arbitration process
.i'I 5s
>   L3É'   l3   which results in a final and binding decision regarding all claims made in this action. Hence, this

Éïäå       14   action is barred in its entirety by this pre-existing agreement to arbitrate.

âluË       15                                              FOURTH DEFENSE

           16               As a further and separate defense, Defendant alleges that Plaintiff is baned from pursuing

           17   the Complaint and each of its purported causes of action because any recovery from Defendant

           18   would result in Plaintiff s unjust enrichment.

           19                                                FIF'TH DEFENSE

           20               As a further and separate defense, and without admission that any damage has been

           2l   sustained, Defendant alleges that it is entitled to an offset against any relief claimed by Plaintiff

           22   for wages Defendant has paid Plaintiff and purported class members for time not worked or that

           23   otherwise is not required under state and/or federal law.

           24                                                 SIXTH DEFENSE
           )5                As a fuither and separate defense, Defendant alleges that Plaintiff s damages, if any, were

           26   proximately caused or contributed to by the acts, omissions or wrongful conduct of persons or

           27    entities over whom/which Defendant had no control a¡d over whom/which Defendant can have

           28    no responsibility or liability.
                                                                         a

                                         DEFENDANT'S ANSWER TO CLASS ACTION COMPLAINT
                 18294929
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              1                                            SEVENTH DEF'ENSE

              2              As a further and separate defense, the Complaint and each of its purported causes of

              J   action are barred by plaintiff s failure to take reasonable steps to avoid or otherwise mitigate the

              4   claimed damages.

              5                                             EIGHTH DEFENSE

              6              As a further and separate defense, Plaintiff acknowledged, ratified, consented to, and

              7   acquiesced in the alleged acts or omissions, if any, of Defendant, thus barring Plaintifß from any

              I   relief as prayed for herein.

              9                                               NINTH DEF'ENSE

             10              As a further and separate defense, and merely for purposes of stating this defense without

             l1   admission that any damage has been sustained, Defendant alleges that Plaintiff has an adequate
ú
Êl
ã            12   remedy at law, so that equitable, declaratory, or injunctive relief would not be appropriate.
     lsË
     4 ê6
     -1 aE   13                                              TENTH DEF'ENSE
,¿
I
FI
             T4              As a further and separate defense, Plaintiffls Complaint fails to state a claim upon which
z iåË
U)           l5   relief can be granted because Plaintiff rcceived proper payment for all time worked and/or all

             I6   compensable time from Defendant.

             t7
                                            .              ELEVENTH DEFENSE
             l8              As a further and separate defense, Plaintiff has failed to set forth   a   prima facie case that

             t9   Defendant violated any of the statutes or wage orders upon which Plaintiff relies.

             20                                            TWELFTH DEF'ENSE
             2l              As a further and separate defense, the practices of which Plaintiff complains were and are

             22   not unlawful, retaliatory, unfair, or fraudulent.

             z)                                          THIRTEENTH DEFENSE
             24              As a fuither and separate defense, Defendant alleges that its eonduct with Plaintiff was at

             25   all times justified and/or privileged under state or federal law.

             26                                          FOURTEENTH DEFENSE

             2l              As a further and separate def'ense, Defbndant alleges that PlaintifT's Complaint fhils to

             28   state facts sufficient to constitute a cause of action because the hours claimed are not "hours
                                                                       -3-
                                         DEFENDANT'S ANSWER TO CLASS ACTION COMPLAINT
                  18294929
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           1   worked', within the meaning of the applicable Industrial Welfare Commission orders.

           )                                           FIF'TEENTH DEFENSE

           J              As a further and separate defense, and without admission of any violation of law,

           4   Defendant alleges that any failure to pay wages or overtime was not willful and therefore the

           5   Complaint fails to state a claim for penalties under the California Labor Code.

           6                                           SIXTEENTH DEFENSE

           7              As a further and separate defense, Defendant alleges that Plaintiff is not entitled to recover

           8   damages, the existence of which is specifically denied, as Defendant acted in good faith and had

           9   reasonable grounds to believe it was not violating applicable state and/or federal law.

          10                                         SEVENTEENTH DEFENSE

d.s       lt              As a further and separate affirmative defense, Defendant's actions with respect to Plaintiff

Ël:g      l2   were non-retalíatory and were based on legitimate reasons and carried out in the good faith

FIãä      13   exercise of Defendant's reasonable business judgment.

          14                                          EIGIITEENTH DEFENSE
;îåË-E
ãt        15              As a further and separate affirmative defense, Defendant promulgated and disseminated

          I6   appropriate company policies promoting workplace safety and prohibiting retaliation.

          t7                                          NINETEENTH DEFENSE

          18              As a further and separate affirmative defense, to the extent any employee, including any

          19   managerial agent, of defendant CSI Electrical, Inc. retaliated against Plaintiff, which Defendant

          z0   denies, Defendant is not vicariously liable for such acts/decisions because sueh acts are contrary

          21   to Defendant's good-faith efforts to comply with anti-retaliation laws.

          22                                           TWENTIETH DEF'ENSE

          23              As a further and separate affirmative defense, Defendant states that to the extent any

          24   employees retaliated against Plaintiff, which Defendant denies, Defendant is not vicariously liable

          25   for such acts because any such employees did not have substantial discretionary authority over

          26   significant aspects of defendant CSI Electrical, Inc.'s business and/or the ability to set or modiff

          27   corporate policy.

          28
                                                                    -4-
                                      DEFENDANT'S ANSWER TO CLASS ACTION COMPLAINT
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              1                                             T\YENTY.F'IRST DEFF'NSE

              2                As a further and separate affirmative defense, Defendant is not liable for any alleged

              J    retaliation because Defendant had measures in place to prevent and/or conect retaliation,
                                                                                                             Plaintiff

                   unreasonably failed to avail himself of such measures, and the reasonable use of such
                                                                                                         procedures
              4

              5    would have prevented some or all of Plaintiffls alleged harm.

              6                                            TWENTY-SECOND DEFENSE

              7                If any loss, injury,   damage or detriment occurred as alleged in the complaint, the loss,

               8   injury, damage or detriment was caused and contributed to by the actions of Plaintiff.

               9   Furthermore, as Plaintiff did not exercise ordinary care òn his own behalf, his own acts and

              10   omissions proximately caused and contributed to the loss, injury, damage or detriment alleged by

              11   plaintiff, and plaintiffls recovery from Defendant, if any, should be reduced in proportion to the
 ú
 r!
      g

    lçË       12   percentage of Plaintiffls negligence or fault.
\ã le:I ø4
      4dã     13                                            TWENTY.THIRD DEF'ENSE
,¿ JI Ð'ão-
Ir!           14               As a further and separate affirmative defense, the acts complained of by Plaintiff in the
z låË
U)            15   Complaint, to the extent such acts occurred, were provoked by Plaintiff s conduct and statements

              I6   to Defendant.

              17                                           TWENTY-F'OURTH DEFENSE

              18               As a further and separate defense, Plaintiff has failed to satisfy the prerequisites for class

              T9   certification aù, therefore, cannot represent the interests of others.

              20                                             TWENTY-F'IFTH DEFENSE

              2t               As a further and separate defense, certain of the interests of the proposed class members

              22   are iri conflict    with interests of all or certain sub-groups of the members of the alleged class of

              23   persons which Plaintiff purports to represent, the existence of which is expressly denied.

              24                                             TWENTY.SIXTH DEFENSE

              25               As a fi.yther and separate defense, Defendant alleges Plaintiff is not a representative

              26   member of the alleged class.

              27   ul
              28
                                                                           -5-
                                            DEFENDANT'S ANSWER TO CLASS ACTION COMPLAINT
                    t8294929
          Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 35 of 135 Page ID #:37



                1                                     TWENTY-SEVENTH DEF'ENSE

               2               As a further and separate defense, Defendant alleges Plaintiffls claims are not common or

                J   typical of the putative class Plaintiff seeks to represent.

               4                                        TWENTY-EIG HTH DEF'ENSE

                5              As a further and separate defense, Defendant alleges the types of claims alleged by the

                6   named Plaintiff on behalf of himself and the putative class are matters to which individual

                7   questions predominate and, accordingly, are not appropriate for class treatment.

                I                                        TWENTY-NINTH DEFENSE

                9              As a fuither and separate affîrmative defense, Defendant alleges that the action carurot

               10   proceed as a class action because ofthe inadequacy ofrepresentation.

               11                                           THIRTIETH DEF'ENSE
ú
rrl
3              t2              As a further and separate defense, Defendant alleges the class of persons that the named

F -ìtgË
      oi ciX
      lE       13   Plaintiff purports to represent is not so numerous that joinder is impracticable.
,4
J              T4                                         THIRTY.FIRST DEFENSE
J.
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z ïåË
U)             15              As a further and separate defense, Defendant alleges there is not a community of interest

               16   among the alleged class members.

               t7                                                          ND DEF'ENSE

               18              As a fuither and separate defense, Defendant alleges there is not a risk of substantial

               I9   prejudice from separate actions.

               20                                         THIRTY.THIRD DEF'ENSE
               2l              As a further and separate defense, Defendant alleges Plaintiff lacks standing to assert

               22   some or all of the causes of action against the Defendant.

               23                                              TY-F'OURTH D

               24              Discovery in this matter may reveal additional basis for an avoidance or affirmative

               25   defense. Defendant reserves the right to amend this answer to plead such affirmative defenses

               26   should they be discovered.

               27

               28
                                                                        -6-
                                           DEFENDANT'S ANSWER TO CLASS ACTION COMPLAINT
                    18294929
       Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 36 of 135 Page ID #:38



            I   WHEREFORE, Defendant prays          as   follows:

            2              1.   That class certification be denied;

            J              2.   That Plaintiff take nothing by his Complaint for damages;

            4              3.   That Plaintiff s Complaint herein be dismissed in its entirety with prejudice;

            5              4.   That Defendant recovers its costs of suit herein, including its reasonable attorneys'

            6                   fees; and

            7              5,   That the Court award such other and further relief as it deems appropriate.

            I
            9   Dated: November 26, 2013                                 SNELL & WILMER L.L.P
           10


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           11                                                            By:
                                                                                       Croni
9l
Jlpãl
     ee    12                                                                  Steve   T
5l   Es                                                                        Brian J. Mills
> rça      l3
,zi   E3                                                                 Attorneys for Defendant
ilä6       t4                                                            CSI Electrical Contractors, Inc,
BluË       15

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                                    DEFENDANT'S ANSWER TO CLASS ACTION COMPLAINT
                18294929
         Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 37 of 135 Page ID #:39



                1                                              PBOOF OF SERVICE

               2    Jømes þøton v, CSI Electrícal Contrøctors,Inc.
                    Los Angêles Superior Court, Case No. 8C525050
               3

               4
                            I am employed in the County of Orange, State of California. I am over the age of 18 and
                    not a party to the within action; my business address is 600 Anton Boulevard, Suite 1400, Costa
                5   Mesa,         CA   92626-7689.

                6           On November 26,2013,I served, in the manner indicated below, the foregoing document
                    described as DEFENDANT CSI ELECTRICAL CONTRACTORS,INC.'S ANSWER TO
                7   CLASS ACTION COMPLAINT on the interested parties in this action by placing true copies
                    thereof, enclosed in sealed envelopes, at Costa Mesa, addressed as follows:
                8

                                                               Please See Attached Service Líst
                9

               10

               11
                              tr          BY REGULAR MAIL: I caused such envelopes to be deposited in the United
                                          States mail at Costa Mesa, California, with postage thereon fully prepaid. I am
                                          readily familiar with the firm's practice of collection ?ng pro_cessing
               I2                         correspondence for mailing. It is deposited with the United States Postal Service
                                          each day and that practice was followed in the ordinary course of business for the
br
Él
   gP
        gE     13                         service herein attested to (C.C.P. $ 1013(a).
<Þ{ II Ø.;io
        :X

51ft:¡         t4             tr          BY FACSIMILE: (C.C,P. $ 1013(eXÐ).

øi;3sä
    I Srss     15
                              n           BY FEDERAL EXPRESS: I caused such envelopes to be delivered by air
                                          courier, with next day service, to the offices of the addressees. (C.C.P. $
=9l     ie-
                                          1013(cXd)).
¿dr     Èå
               t6
               t7
                              n           BY PERSONAL SERVICE: I caused such envelopes to be delivered by hand to
                                          the offices of the addressees. (C.C.P. $ 1011(a)(b).


               18
                              n           BY ELECTRONIC SERVICE: I caused such documents to be electronically
                                          served to all parties via LexisNexi File & Serve (C.C.P. $1010.6)

                                                                           *d{**t*t{<
               19

               20
                                  I declare under penalty of perjury under the laws of the State of California that the above
                    is true and correct.
               2T
                                  Executed on November 26,2013, at Costa Mesa, California.
               22

               23

               24                                                                Martin

               25

               26

               27

               28


                                                                 PROOF OF SERVICE
                    I   8309834
           Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 38 of 135 Page ID #:40


                     1



                    2                                           SERVICE LIST

                     J   Jømes Pyaton v. CSI Electrical Contractors, I-n":
                         Los Angêles Superior Court, Case No. 8C525050
                     4
                         Lonnie C. Blanchard, III                            Attorneys for Plaintiff
                     5   Jeffrey D. Holmes
                         The Blanchard Law GrouP, APC
                     6   331 1 East Pico Boulevard                           Tel:           (213) see-gzss
                         Los Angeles, CA 90023                               Fax:           (213) 402-394e
                     7                                                       Email: lonnieblanchard@ gmail.com

                     8
                         Peter R. Dion-Kindem                                Attorneys for Plaintiff
                     9   The Dion-Kindem Law Firm
                         Peter R. Dion-Kindem, P.C.
                    10   21550 Oxnard Street, Suite 900                      Tel:         (818) 883-4900
                         Woodland Hills, CA 91367                            Fax:         (818) 883-4e02
                    ll                                                       Email: peter@dion-kindemlaw. com

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                                                              PROOF OF SERVICE
                         ¡   8309834
Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 39 of 135 Page ID #:41




                                                     Exhibit C
    Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 40 of 135 Page ID #:42


                                           SUMMONS                                                                              FOR
                                                                                                                           (soLo PARA
                                                                                                                                      COUnf USÊ ONLY
                                                                                                                                         USO þE LÀ COEÍE)

                                       (ctTAcrov JUD|CLAL)
   NOTICE TO DEFENDANT:
   (AVISO AL DËMANDADO):
   CSI Electrical Contractors,Inc., a California Corporation; and Does I
   through 100
  YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                            ccÏ        2 f ?0t3
  &O ESTÁ DEMANDANDO EL DEMANDANTE):
   James Payton, an individual, on behalf                   of himself and all others                            - Clarke, Exesutive Officær/Clottt
                                                                                                                 A.
                                                                                                                   BYAnrb'erHayes,DgPW
   situated

                I Yor.r have been           courl may decido against you withoul your being h              you                    30
    below
       you have 30 CALENDAR DAYS after this surnmons and legal papors a¿ê serued on you lo lile a wr¡tten Íesponso at this court and have a copy
    served on the plalntiff. A letter or phone call will not protsct you. Your writlen response must bs ln p¡opor legal form lf you want the courl lo hear your
    caso. Thore may be a court form thât you cån use for your rosponso. You csn find these cou¡t forms and more info¡mallon at the Câlifomls Courts
    Online Self-Help Canler (www.couÌtinlo.ca.gou/selfhelp), your counly law llbtary, or the courthouso nearest you, lf you cannol pay the fiting foe, ask
    lhe court clerk for a fee walver form, lf you do not fife your rssponse on time, you may loso lho caso by dofault, and your wages, monoy, and property
    nray bo taken rvllhout further v/ârnlng from lhe court.
        TherE are olher legal roqukonren(s. You rnay rvant lo call an altorney r¡ght away. lf you do trol know an attorney, you may want to call an attorney
    referral sorv¡ce. lf you cannot afford an allorney, you mây be ellglble for free legal serviçes from a nonprofit legal services program. You can loca(e
   lheso nonprotìt grosps ât the Callfornla Legal Servlcos Web sito (www.lawholpcalilornla,org), the Callfornla Cou¡ls Onllno Self-Help Center
   (www.coudlnfo,ca,gou/selfhelp), or by contactlng your local court or county bar asçoclalíon. NOTE: The court has a stâlulory llen for rvalved fees and
   óosls on any selllemenl or a¡bltratlon award of $10,000 or moro ín a clvll caso. The court's llen musl be pald boforo tho courl will dismlss lhe case.
    ¡AVlSOl Lo han demandado, Sl no rcsponde denlro dê 30 dlas, la coñe puedo decld¡r en su conlra sin oscucha¡ su verslón. Lea le lnfo¡maciön a
   conlinuaclón,
       Tiene 30 DIAS DE CALENDARIO dospøós do que le enlreguen esla çilac¡ón y papelos logalos paru presenlat una respuesla poroscn'lo on osf€
   code y hacer que se entrcguo una copla al demondanto. Una cafla o una llamada taletônica no lo prctegen, Sø respuesfa por oscrito tìene que eslar
   on lormalo lagal eoreclo si desea que procosen su caso en la code, Es poslb/e quo haya un formularlo qua usted pueda usar para su rcspuosta.
  Puêde enconlrar oslos fomularios de .la coñe y más lnfonnaclôn en el Cenlro de Ayuda de las Coñes do Çalifomla lwww.súcorlo,c€ tggv), en ta
  bihlioteca de leyes de su condado o en la coñe quo lo queda más corca, Si no puado pagat la cuota de prcsenlación, p¡da al socralaño de la code
  que Ie dé un lormulaño do oxonciôn da pago de cuotas. Si no presenfe su respuosla a lÍempo, puode porder el caso por lncumpllmlento y la code le
  podrâ qultar su suoldo, dinoro y bienes sin más adveñencla.
     Hay otros reguÍsllos /egalos. Es rccomendablo quo llame a un abogado inmediatamente. Sl no conoce a un abogado, puedo llamar a un sevlclo de
  romlsíón a abogados. Si no puodo pagar a un abogado, es posiô/e guo cumpla con tos requlsitos para obtanat seviaíoç lagalas gralu¡tos do un
  progrcma de seruÍclos legales sln llneslde /ucro. Puodo onconfrar esfos grupos stn /7nes de lucro en el sìtío web de Californla Logal Serv/ceg
  lwvw.lawhelpcallfornla.org), en el Canlro dø AWda de las Codes ds Califomia,lwww.sucorte.ca .gov) o Wnléndose en conlaclo con la co¡úo o el
  coleglo da abogados localos. ÂVISO; Por tey, la cþfle llenø deracho a reclamar las cuotas y los coslos exenlos por imponer un gravaman sobro
  cualquler recuperaclón de $10,000 ó mâs da valor reclblda medlanle un acuordo o qna concesión de arbllnje en un caso de dorocho ctvil. nene que
  pagar el gravamen do la eoío anfes de que Ia corte pueda dosechar el caso,

The name and address of lhe court ls:
(H nombre y dlrecoión de la coñe esJ;             Los Angeles Superior Court
                                                                                                           CASE NUilBER:
                                                                                                           (Nûttþø dol Câso):
                                                                                                                                                      5050
 Central - Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles CA 90012
The namo, address, and telephone number of plalnfifls altorney, or plainliffwilhout an atlorney, ls:
(El nombre, la dlreoclón y el número deteléfono dol abogado del demandante, o del demandante que no llene abogado, es):
 Lonnie C. Blanchard                III; Blanchard Law Croup,         3311 E. Pico Blvd., Los Angeles CA 900231213-599-8255

DATE:                                                                          Clerk, by                     .Affib€r ß{ayee                             , Deputy
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(Para prueba de enlrega de esfa cílatión use ol formularo Proof of Service of Surnmons,
                               NOTICE TO THE PERSON SERVEDT You are served
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                                          as an indivldual defendant.
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                                         as lhe person sued under the fìctitious name of


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Fom Adopled forl¡ândattry Uso                                          SUIt/IMONS                                                Codo of Clvil Proceduro S$ 412,20, 465
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Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 41 of 135 Page ID #:43




                                                     Exhibit D
 Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 42 of 135 Page ID #:44

                                                                                                                                              FOR COURI USE ONLV
                                                     slale 8âr numbs, snd eddßss):
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     James P                 v. CSI Electrical                             Inc. et al.
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 clvrL CASE COVER SHEET                                                  Complex Case Deslgnation                                                                       0        0
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         Check one box below for the case type that best describes
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         Auto Tort                                                                           (Cal. Rulos óf Gourt, rules 3.400-3.403)
                                                                         Breach of contracUwananty (0ô)
               Auto (22)                                                                                           I*-l
                                                                         Rule 3.740 collectlons (09)                      Ant¡trusrrrade regulatlon (03)
               Unlnsured motorlst (46)
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                                                                         Other colleclions (09)
         OIher Pl/PD/WD (Personal lnJuryiPropsrly
                              Death) Tort                                lnsurance coverage       (1 B)                   Mass torl (40)

               Asbestos (04)                                             Other contract (37)                              $ecurilles litigatlon (28)
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                                                                       condemnâlion (14)                                  above l¡sted ptovísionally complex case
               other PI/PDÂIVD (23)                                                                                       typ€s (41)
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                           (Othet) Tort
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               Defamation    (13)
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               Othor non'Pl/PD/WD      lort (35)                 l-.l
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         Empl oyment
                                                                 Pelillon re: arbltrallon award           (1 I )
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                                                                                         rovfew
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2.       This câse          ts           ¡S    not complox undar rule 3,400 of the California Rules of Court. lf lhe case is complex,
         factors requlring exceptional judiclal management:
         a.        Large number of separately represented               paliesd'         l--l
                                                                                      Large number of witnesses
                                                                                      Coordinatlon wfth related scllons pending in one or more courts
                   Exlenslve motfon practice raising dlfficult or novel
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         b.
                                                            resolve                   ln olher countles, statss, or counlries, or ln a federal court
                   lssues lhat will be tìme-consumlng to
         c.  [--l  Subtruntlal amount of documenlary             evidence     f       Subslanllal postjudgmenl judlclal supervlsion

         Remedies sought fcheck alt that apply): a'l-7] monetary
                                                                           b'         f]
                                                                                    nonmonelary; declaratory or lnJunctive              c'             rellef I7l
                                                                                                                                                punitive
3.
4.       Number of causes of actlon (specifY): 7
5.       Thls case     [7]  It           ls    nota class actlon suit.
6,       lf lhere are any known related     cases, flle and serve a noll ce of related case. (You may use form ÇM'015')

Date; Octob er 17 ,2013
Lonnic C, Blanchard III
                                                                                     E
                     ust lìle this COV€T sheet with the first papor filed ln lhe action or proceedlng (excePt small claims câses or cases filed
     a   Plaintiff m                                                                                                                    flle may res ult
                                                                  and lnstitulions Code). (Cal. Rules of Court, rule 3.220.) Failure lo
         unde the P robate Code, Fa mily Co de, or Welfare
     . 'Ê,'31[Îj'33iär sheet tn addilion to äny cover sneet requlred by lo¡al court rule'                     you must serve a copy of this cover sheet on all
     . if i¡,ir àui" is complex under rule 3.4õO et seq. of lhe Callfornla Rules of Courl'
         othor parlles to the action or proceeding'                                                                                          slatlstical purposes
     .                                                                    case,                   lhl' covsr sheet will be used for
         Uäiãr!ìtti* ir a collections cáse under ñ.rle 3.740 or a complex
                                                                                                                                    R0lo$   ofCoürl,             32m,       3.
                                                                 CIVIL CASE COVER SHEET                                                C¿[ Stardards o{                          s.
      Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 43 of 135 Page ID #:45

                                                                                                                                          cfvl-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHËET
                                                                                                                                        you must
   To plainlÍffs and Othors Fillng Flrst Papers, lf you are lillng a flrsl papor (for example, a.complalnt)..1n a civil case,
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   ãle ¡o" for lhe casó iype thal best describes the câse. lf the case fits bolh a general a¡d a m91e specific lypeprlmaryof case llstod in ltem 1,
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                be filed only wítn your lnillal papär. Faílure lo fìle a cover sheel wlth lhe first paper filed in a civil casê may subject a
   its counsel, or bolh to sänctloñs under rules 2.30 and 3.220 of lhe California Rutes of Court'
  To parfles in Rule 3.740 Collecllons cases. A 'colleclions case" under rule 3.740 ls defined as an acllon for recovery of monoy
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  owed ln a sum stated to be certain that is not more lhan $25,000, exclusive of interest and altornet's fees, arising
  irirrñ pr"p"*V, seryices, or monoy was acquhed on credlt. A collecllons case does not lncludeproperfy,.gran acllon seeking lhe following: (1) tort
  åämågãi-tZÍ punl¡ve äamager, (3) recovery of real property, (4) recovery_of personal                                    (5) a preJudgmont wrít of
  áuãcn-m"ht] îhe identificalion- of'a'cãse as      a rule 3^740   collections case on  thls form  means   lhat  lt will be exempl from-lhe general
  ilme-for-servlce requtremsnls and case managomonl rules, unless a defendant liles a responsive pleading. A rule 3'740 colleclions
  case wlll be subjecito lhe requìrements for service and obtainlng a Judgment ln rule 3'740.
  To partles ln Complex Cases. ln complex cases only, parties must also use lhe Çivll Case Cover Sheef to deslgnate whelher lhe
  cãse is complex. lf ä plainliff bolioves the case ls complex under rule 3.400 of the California Rules of Court, thls must be indicated by
  *mpiãtt"g the approirÌate      boxes in ltoms 1 and 2, lf a plalntiff designales a æse as comptex, lhe cover sheet must be servsd wllh lhe
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  ããmþiainÍon all             lo the action. A defendant may file and ssrve no later than the fime of lls first appearance a joinder ln lhe
  pfuiüiiffi ¿rrignaiion, a counter-designatfon that the caie is not complex, or, lf the plaintiff has made no deslgnalion, a designation that
  lhe case is   complex.                                      cAsE TypEs AND ExALtpLEs
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                             lnJury/property Breach of contracwvarranty                Rules_of cou¡t Rules 3'400-3.403).
           oämage/wrongful Death                 Breach of Rental/Lease                     Antitrusvrrade Regulatlon (03)
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       uninsured Motorist (461(¡l the
                                                         o¡ ryronglut-øvÍctt9n)^ ..         Clalms lnvolving Mass Tort (40)
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                                                 contractMa¡rañty Breach-solloÍ             secudlies Lltigatlon (28)
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            arbitrallon, check thts item
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  Olhor pUpD/WD                                                             ìÂrarzanñr
  il;;db;;;lå.rvri¡ãnúluroeatt¡) cdf.|1"î,"['.äT,."å,t"ïiå:flfJ:ï't enro,c,ÏTiftrv;iÍår;lil?v414i)
  Tort
                      (04)                                  book accounts) (09)             EnforcementofJudgmenl (20)
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                                 Damage                     collectlon casê-séller Plalntiff                Abstract of Judgment (out of
              Asbestos, property
              Asbeslos Porsonal  lnjury/                    Othe¡  Promissory  Nole/Collectlons                   County)

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                 physicians & éurgron,               other conlract (37)
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    other    pl/pD/rr/VD  (23) ,                  Real  Property
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                 and fall)                                 c;noomnallon (14¡                           Rlco (27)
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          lntentional Bodity lnJury/PD/WD            Wronglul    Eviclion
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   Civll Righls (e.9.,. dlscrlmlnalion,              Rosldentlal (32)                                 partnershlp and Corporato
        false arrest) /nof crø7                      Drugs (38) (lf lhe ease..lnvolve.s illagal            Governance (2i)
         harassm.ênt) (08) .                               drugs, chack this itom; othe¡vise,.. ..    Other pet¡tlon þcìt sþaciÍtod
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   lntelleciual froperty (19)                        Petit¡on Re: Arbllratlon Award (11)                   EldoriDependent Adult
   Profoesíonal Negllgence        (25)              Writ of Mardato     (02)                                    Abuée                .')
        Legal Malpractico                                 Wrít-Admlnlstrative   Mandamus                   Electlon Contest
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             (not modlcal orlegal)                            Case Matter                                 Petitlon for Rellef From Late
   other Non-PUPDMD Tort (35)                             Wllt-Other Llmlted Court Case                         Clalm
Employmsnt                                                    Revlew                                      Other Civll Petlttc¡n
   Wrongful Tetmination (36)                        Other Judldal Revlew {39)
   Othor Employment ('15)                                 Review of Hoalth Offlcer Order
                                                            Notlco of Appeal'-Labor
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                                                                                                                                             Pâgo 2
Clr,|.010 [Rov. Jury 1, 20071
                                                       CIVIL CASE COVËR SHEET
      Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 44 of 135 Page ID #:46


 -"'"' "'--'James
 SHORT TIILE:
                             Paylon v. CSI Eleclrlcal Contraclors, lnc', et al,
                                                                                                                        CASE NUIìIBER

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                                CIVIL CASE COVËR SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                 (CERT|F|CATE OF GROUNDS FOR ASSTGNMENT TO COURTHOUSE LOCATION)

            Thls form ls regulred pursuant to Local Rule 2.0 ln all new clvll case filings ln the Los Angeles Superior Court.

  Item      t. Check       the types of hearing and flll in the estimated length of hearing expected for lhls case:
      JUR'TRTAL?           fJ v.s         clAssAcroNr               Ø      ves   LrMrrEDcAsE?           nyES          TIMEEsTIMATEDFoRTRIAL          I           D      HouRs/EI onvs

  Item ll, lndlcate lhe correct dlslrict and courthouse location (4 steps                                  -   lf you checked "Llmlted Gaso", sklp to ltem lll, Pg. 4):


      Step I i Af{er lirstcompleling the Givil Case Cover Sheet form, find the main Clvil Case Cover Sheet headlng for your
      case ln the left margin below, and, to the rlght in Column A, lho Civil Case Cover Sheet câse type you selected,


      Step 2:       Check ong Superior Court type of actlon in Colurnn                              B   below which best describes the nalure of this case.


      Step 3: ln Column C, circle lhe reason for the court location choice that applies to the type of action you have
      checked. For any exception to the court locatlon, see Local Rule 2.0.
                                Applicable Reasons for Chooslng Courthouse Locatlon (see Column C below)

       L    Class actions must be fled in the Stanley Mosk Courlhouse, central              distrlcl. 6. Location of property or permanontly garaged vehlcle.
       2.   Mav be filed in cenlral (olher county, or no bodily injury/property           damage), f. Location where.petili-oner resldes.
      5.    Läåtión urfiero cause òf aclion      aro's'e.                                             L Location wherelñ defendant/respondont funcllons wholly.                              '

      ã.    [òcat¡on where bodilv iniurv. death or damaoe              occurred,                                9, Locatíon ¡vhore one or more of {he parties reside.
      g:    Locãtlón where perfoimánóé required or dofendant             resldes.                              10, Location of Labor Commlssloner Office



      Step 4: Fill in the informalion requested                         on page 4 in ltem lll; complete ltem              lV. Slgn the declaration.

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                        CIVII Casê Covg¡   Shept.        ,                                          TYPe olactign                                            Applicab!g Reasons                         ,
                    '       caleggryNo.      '       '                                             (Ohp.ck onlyane)                                          , See SfeÞ.q Abpve



   OF                         Auto (22)                       tl   ,{7100 Motor Vehlcle - Personal lnlury/Properg DamageMtongful Death                       1.,2.,4.
   iJo
  <F-                Unlnsured Motofst (46)                   D    47110 Personal lnjury/Property Damâge/Ìvrongful Death           - Unlnsured   Motorlst    1.,2,4,

                                                              E    46070 Asbestos Property Damago                                                           2.
                            Asboslos (04)
                                                              n    A7221 Asbestos - Personal lnjury/Wrongful Doath                                          2.
  Þr
  õ-o
  o.F                   Product Llability (24)                El 47260     Product Llabllity (not âsbestos or toxic/envlronmenlal)                          1,,2.,3.,4.,            B.
  I ..c
 fL a\t
 -(l)
  ¿' Ël                                                       E    A7210 Medlcal Malpractlce - Physlclans & Surgeons                                        ,|
                                                                                                                                                                   4.
 'F.tÉ              Medlcal Malpraclice (46)
 È ct¡                                                        E    A7240 Other Professlonal Heellh Care Malpractlce                                         1      4.
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  83
  ó)q,
                                                              tr   A7250   Premlsos Llability (e.9., slfp and fall)
                                                                                                                                                            1.,4,
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 qrt
                               Olher
                          Personal lnJury                     E    A7230 lnlentional Bodily lnjury/Property DamageÂlVrongful Death (o.9.,
                                                                                                                                                            1,,4.
 .c    Gt                Properly Damago                                 assault, vandallsm, otc.)
 öo                       Wrongful Dealh                      ø    47270 lntentloneì lnflictlon of Emofional Dislress
                                                                                                                                                            1., 3.
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                                                             penzo         Other Personal lnlurylP¡ope¡ty DamagotlVrongful Dsath




LACIV 'l0S (Rev. 03/11)                                      CIVIL CASË COVER SHEET ADDENDUM                                                             Local Rule 2.0
LASC Approved 03-04                                             AND STATEMENT OF LOCATION                                                                   Page 1 of4
          Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 45 of 135 Page ID #:47


   SHORT-TITTE:                                                                                                 CASE NUIJI¡ER
                  James Payton v. CSI Electrical Conlractors, lnc., et al.

                               : 'A', ',           :                                                   .B:                                                    'i ,' :G, ,. ,,
                        Clvil Cass Cover Shoet ''                                                 'ïypo of Actlon                                          Appllcaþle Reapons.
                          '   category No.                                                       (Check onty o¡e)                                           'See
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                          Buslness Tort (07)                E¡ 4602S       Other CommsrclaUBusiness Tort (not fraudlbroach of conkact)                     1., 3.
          -ÞË
          LO
          drr
          o.'-                Civir Rights (08)             D     46005 Civll Rights/Dlscrimlnation                                                     1.,2.,3.
          9à
       fis                 Dôfâmatlon (13)                  n     46010 Defamation(slander/libel)
       Þe
       -¿rd
                                                                                                                                                       1,,2.,3.
        c- tt)
       r0                       Fraud (16)                  E    46013 Fraud(nocontract)                                                               1.,2,,3.
       5E
       Ø-                                                  tr    46017 Legâl Malpractlce                                                               1.,2.,3.
     ÈË'            Professlonal Negllgenco (26)
                                                           tr    46050 Other Professlonal Malpraclico (not medlcal or legal)
     ËE                                                                                                                                                1.,2.,3.
     o{!
     za
                                OIhor (35)                 0     46025 Other Non-Personal lnjury/Properly Damage lorl                                  2.,3.

           L
           c,        WrongtuI Termination (3S)             E¡ 46037       Wrongful Termlnation                                                         I     2 3.
           ë
           o                                               ø' A6024 Other Employmont Complafnt Oase
          E-                                                                                                                                           1,,2.,3,
                      Other Empfoyment (15)
          Ë                                                tr A6f 09 Lebor Commlssloner Appoals
          r!                                                                                                                                           10.


                                                           tr   A6004    Breach of RentaULease Conlrâcl (not unlawful detainer or rvrongful
                                                                                                                                                    2., 5.
                                                                         oviction)
                   Breach of Contract/ Warranty
                                (06)                    tr      46008 ContractÂtVananty Breach -Seller Plalnliff (no fiauünegligence)               2.,6,
                         (not lnsurance)                D       A60.'9 Negligenl Breach of ConlractÂl/arranty (no fraud)                            1,,2.,5.

                                                        E¡      46028 Other Ereach of Contracl/Warranty (not fraud or negtìgence)                   1.,2.,5.

          t)
          g                                            tr       46002 Collectlons Gase-Seller Plalnliff                                            2.,5,,8.
        c                Collectlons (09)
        o
       (J                                              O        46012 Other Promissory Note/Collect¡ons Caso                                       2., õ.

                     lnsurance Coverage (18)           t        46015 lnsurance Coverage (nolcomplox)                                              1.,2.,6,,8.

                                                       tr       46009 Contractual Fraud                                                            1.,2.,3,, 5.
                       Other Contract (37)             D        46031 Tortlous lnterference                                                        1.,2.,3.,6.
                                                       E        A6027 Othor Contract Dispute(not breach/insu¡anà/kaud/negf tgence)                 1.,2., 3.,       L
                    Eminenl Domâln/lnverse
                       CondomnalÌon (14)
                                                       tr       47300 Eminent Domaín/Condemnallon Number of pa¡cels'-
    È
    {J               Wrongful Evfctlon (33)            n     46023 Wrongful Eviction Caso
    e
    o
                                                                                                                                                  2,, 6.
     L
    o-
     (ú                                                tl   46018 Morlgage Foreclosure                                                            2,,6.
     o)
   &                Other Real Property (26)           D    46032 Qulet Tltle                                                                     2.,6.
                                                       tr   A6060 Othor Real Proporty (not omlnent domaln, landlord/tenânt. foreclosure)         2,r6,
                 Unlswful Detainor-Comms¡cial
                                (31)
                                                       0    460?f       Unlawful Delalner-Commorclal (not drugs or wrongful evlcllon)            2.,   B.
    d,
    tr
    (d
                 Unlawful Detalner-Residenlial
   aa¡,
                             (32)
                                                   E        46020 Unlawful Delainer.Residentlrl (not drugs      or wrongful oviction)            2,,6.
   5
                     Unlawful Detafner.
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   .E               PosþForeclosurê (34)
                                                   tl       A6020FUnlawful Detainer-PosþForeclosure                                              2,,6,
   E
   =             tlnlawful Detalnor-Dnrgs (38)     n        A602?. Unlawful Dêtafner-Drugs                                                       2., 6.



LACIV 10s (Rev. 03/11)                            CIVIL CASE COVER SHEET ADDENDUM                                                             Local Rulo 2.0
LASC Approved 03-04                                  AND STATEMENT OF LOCATION                                                                  Page 2 of 4
           Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 46 of 135 Page ID #:48


      SHORÏ TITLE:
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                     James Payton v. CSI Eleclrical Contractors, lnc., et al,


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                           Assel Forfelture (05)                     tr    46108 Assel Forfeiture Caso
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               c,        P€lillon re A¡bitratlon (l   l)         E        A6115 PetÍtíon to CompeUConfìrmÂ/acale Arbikation
                                                                                                                                                                        2., õ.
               fll
           É,
                                                                 O 46151 Writ - Admlnistrative Mandamus
           E
           ()
                                                                                                                                                                        2.,8.
           E
                           Writ of Mandate (02)                  Il 46152 Writ - Mandamus on Llmited Court Caso Matter                                                  2.
           a
           .?                                                    tl 46153 Wrít - Other Limited Court Caso Revlew                                                        2.

                        Other Judfciat Review (99)               f]       46150 OtherWrit/Judiclat Review
                                                                                                                                                                       2.,8.
           co        AntitrusVTrade Regulation (03)             tl        A6003 AntlhusuTrade Regulation
                                                                                                                                                                       1., 2., 8.
           3ú
          .9            Construct¡on Defect (10)                n         46007 Conslruction Defect
          J                                                                                                                                                            1.,    2.,3.
           x(u         Clalms lnvolvlng Mâss Tort
          Ë.                      (40)                          O     46006 Clalms lnvolvlng Mass Torl
                                                                                                                                                                       1.,2.,L
           E
          ()o           Secudtles Litigation (28)               D     46035 Securities Lltlgalion Câso
                                                                                                                                                                      1.,    2,,8.
          E
          c                   Toxic Tort
          .9
          .e              Envkonmental (90)                     tl    46036 Toxic Tort/Envhonmental
                                                                                                                                                                      f ,,   2.,3., 8,
          cl
          L
                      lnsurence Covorago Claims
          À-
                        from Complex Case (41)                  O     46014 lnsuranco Cove¡age/Subrogation (cornploxcase only)
                                                                                                                                                                      1.,    2.,5.,8.

                                                            El A6141 Síster Stâte Judgment                                                                       2,,9.
     ÉE
     Cr0,
                                                             D A0160 AbshactolJudgment                                                                           2,r6.
     EE                                                     D 46107 Confesslon of Judgment (non-domestfc relations)
     Eg                      Enforcemenl
                          ofJudgment (20)
                                                                                                                                                                 2.,9.
    ,84
    C5
                                                            E 46140 Admínlslraüvo Agoncy Award (not unpald taxes)                                                2,r8.
    l¡l    c'                                               D 46114 Petítion/Certilìcale for Entry of Judgment on Unpaid Tax                                     2.,8.
                                                            tr 46112 OtherEnforcemontofJudgmentCase                                                              2.,8., 9.

    .8.                      Rtco (27)                     D         46033 Racketeering (R|CO) Caso
                                                                                                                                                                 1.,2,,       B.
    B'H
    9
    (gÈ
          -o-                                              E 46030 Declaratory Rellef Only                                                                     1., 2., 8.
   EE                     Olher Complaints                 E 46040 lnJunctlvê Relief Only (not domsstic/harassmonf)                                           2,8.
   U'=               (Not Specllied Above) (42)
   EÈ                                                      O A60l I Othor Commerclal Complalnt Case (non-tort/non_complox)                                    1.,2.,8.
                                                           D 46000 Other Civil Complaint (non-torVnon-complex)                                                1.,2,,L

                         Governance (21)                   tr    461      t3   Partnershþ and Corporate Governance Case
                                                                                                                                                             2.,8.

   at, ø                                                tr 46121 Clvil Harassment                                                                            2., 3.,9.
                                                        D 46123 Workplace Haressmenl                                                                         2.,3.,          L
  ë*
  õ4                     Olhe¡ Pelltions
                                                       lJ A6124 Elder/DependentAdultAbuseCeso                                                                2.,3.,9.
  at>                 (Not Specined Above)             tr 46190 Election Contest
  E()                         (43)
                                                       tr 46110 Petltlon for Change of Name
                                                                                                                                                            2,
                                                                                                                                                            2.,7.
                                                       I1       46170 Petitton for Rollef from Late Clalm          Lau¡                                     2,,3,,4.,8.
                                                       tr       46100 OtherClvit petition
                                                                                                                                                            2.,9.




LACIV 109 (Rev, 03/1r)                            CIVIL CASE COVER SHEE T ADDENDUM                                                                     Local Rule 2.0
LASC Approved 03-04                                  AND STATËMENT OF LOCATION                                                                             Page 3             of4
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     SHORT ÏITLÊ:
                                                                                                  CASE NU'.IBER
                    James Paylon v. CSI Electrical Contractors, lnc., et al


     lfem lll' statement of Locatlon: Enter the address of the accídent, party's resldence
                                                                                           or place of buslnoss, perforrnance, orother
     circumstanco indicated in ltem tl-, Step 3 on Pago 1, as the proper reason for lìllng
                                                                                              ln the court locailon you               solected.

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      REASON: Check the approprlate boxes for lho numbers shown
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      CITY:                                       STAÎE:    ZIP ÔODË:

     Los Angeles                                  CA       90012


    llem lv. Declaralion of Asslgnment: I declare under penafly of perjury under the
                                                                                        laws of the slate of california lhat lhe foregolng is lrue
    and correct and lhat the above-onliüed mailer is properfy filed for a ssignmont
                                                                                           ¡o 1¡" Stanley Mosk                 courthouse in the
     Central                  Dislrict of the Superlor Courl of California, Co unty of Los Angeles
                                                                                                     [Code Clv, proc., g 392 ot seq., and Local
    Rule 2.0, subds. (b), (c) and (d)1.




   Dated: October 17,2013
                                                                                          (SIGNATURE OF ATTORNEY/FILING PARTY)




   PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY
                                                       TO BE FILED IN ORDER TO PROPERLY
   COMMENCE YOUR NEW COURT CA$E:

          1.    Origlnal Comptaint or petitíon.
       2, If fìling a complalnt, a completed summons form for issuance by the clerk.
       3. Civil Case Cover Sheet, Judicial Councll form CM_010.
       4' ClvÍl case cover sheet Addendum and statement of Location form, LACIv l0g, LASC Approved 03-04
               03t11).                                                                                                                 (Rev.

      5' Payment in fu[ of rhe firing fee, unress fees have been waived.
      6' A signed order appointing the Guardian ad Ljtem, Judlclal council form clV-010, if lhe plaintiff or petilionor
               minor under lB years of ãge wlll be required                                                                            is a
                                                                biöóuñìn i,ider ió            a summons.
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      7   '    Addillonal copies of documents to be conforrned by the clerk. copìesof
                                                                                      the cover sheet and thís addendum
               must be served alons wilh the summons an¿ compiaini õ;;iËeiiñirËri;;'r;t";d¡;d
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LACIV 109 (Rov.03/11)                      CIVIL CA,SE COVER SHEET ADDENDUM
                                                                                                                          Local Rule 2,0
LASC Approved 03-04                           AND STATEMENT OF LOCATION                                                       Page 4 of4
 Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 48 of 135 Page ID #:50
               SUPERIOR couRT Otr CALIFORNIA'
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            NOTICE OF CASE ÀSSIdNMENT'U¡ü-ùiibó-CVU'
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         Your case is assigned forallpurposestothejudicialoflrcerinclicatettbelow(I,ocalRute3.3(c)).

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                                                                       r¿\      SHBRRI R' CARTER, Executive Offrcer/Clerk
                                                   of Record on
Givsn to the Plaintiff/cross-complainanuAttorney


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LACIV PI   190 (Rev09/13)                                              By                           Deputy Clerk
LASC APProved 05-06
For Optical Use

                                                   NOTICE OF CASE ASSIGNMENT    -
                                                     UNLIMITED CIVIL CASE
Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 49 of 135 Page ID #:51


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        20
                       ToEACHPARTYANDToTHEATToRNEYoFREcoRDFoREACH
        2l                                                                             ((c'c'P"t)'      the
                       pursuant to the californi¡ code of   civll   Procedure
        22
                 Rules of court, and the Los Angeles county
                                                                court Rules ('Local RulesÞ)' the
        23
                                                       or     f¡Court',) HEREBY AMENI}S
                 Angeles Superior    Court ("LAsc''
        24

        25       SUPERSEDESITSMaTcbI2,20I3GENERALORIIERANI)
           26

           27

                                                                                                                  TAAt
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   t            0RDERSAsFoLLowsINTHISÀNDALL0TIIERGENERALJURISDI
   2            PERSONAL INJURY ACTIONS:
                                                             responded to systemic budget reductions
   3
                         Effective March 18,2013, the court
                                                                                      personal injury
   4                                            more than 18,000 general jurisdiction
                centralizing the management of
                                                                                             ("PI
                                                  LASC opened three Personal Injury courts
   5
                in the stanley Mosk Courthouse.
    6
                (Departments 91, 92 and 93) to adjudicate
                                                              all prehial matters for these cases' It
       7
                                                                                                  of trials
                                                     (Department One)' to manage the assìgnment
                 established a Master Calendar Court
       I
                                                                 This Amended ceneral order lays out
       I         3l dedicated Trial courts located countywide.
                                                                                       parties will
                                                   management of pretrial matters' The
   t0           bæle procedureç.for the Pt Courts'
                                                  pI Courts on the court's website, www.rasuperrorcourt'org'
   1l            additionar information about the
                                                                    Plaintiff(s) must carefully fill out the ci
    12
                 l.      To ensure proper assignment to a PI Court,
       t3                                  (form          LAcIv 109). The Court defines        "personal injury" as:
                 Case Cover Sheet Addendum
       t4                                                                                           Addendum       and
                                .,an unlímíted   civil case described on the civil case cover sheet
       t5
                                 Statement of Location    (LACIV 109) as Motor Vehicle-Personal Injury/PropËfty
       t6
                                 Damage/lvrongfrrlDeath;Personallnjury/PropertyDamage/lilrongfulÐeath-
       r7
                                                                       (other than asbestos or
                                 Uninsured Motorist; Product Liability
       18
                                                                                   ans & surgeong; other
                                 toxíc/environmental); Medicat Malpractice-physioi
       r9
                                                                                Liability; Intentional Bodily
       20                        Professionàl Heslth carc Malpractice; Premises

        2l                       Injury/}ropertyDamageÄilrongfrrlDeath;orotherPersonallqjury/Property
                                                                      intontional infliction of emotional
           22                    Damage/wrongñrl Death. An action for

           23                     distross, defamation,   civil rightvdiscrimination, or malpractice (other than

                                                                                defrnition' An action for injury to
           24                     medical malpractioe), is not included in this

           25                                                             definítion." Local   Rule 2.3(a)(1XA)'
                                  real property is not included in this

           26

           27

                                                                      2
                                                                                                                   7iluL
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                                                       pl courts if plaintiff(s) check any of the following
   I               The court will assign a case to the

                                                       Addendum:
   2               boxes in the Civil Case Cover Sheet
                                                                personal Injury/Property Darnage/lilrongful
   3                             A7100 Motor Vehicle        -
   4
                                 Death
   5
                                 A?ll0PersonalInjury/?ropertyDamage/TVrongfi.rlDeath-Uninsured
   6
                                 Motorist
   7
                                 L7   260 Pro duct Liabit   ity (not   asb   ætos or tox iclenvironmental)
       I
                                                                       -   Physicians   & Surgeons
       I                         A7 210 Medical Malpractice

   10                                 þAlMedical Malpracti        ce   -   Other P rofæsio nat Heatth Care Malpractice
                                 ^7
   11                                                Liability (e'g', slip and falt)
                                 ^ltslPremises
   t2                                                                                 gdwrongfu I D eath (e' g''
                                      23 Olntention al Bod il y Injury/Prop erty Dama
   13                            ^7
                                 assault, vandalism etc')
   l4
       l5
                                  ^TLzlotherPersonalInjury/PropertyDamageAMrongfrrlDeath
                                               cases to the PI Courts if plaintiff(s) check
                                                                                            any boxes
       r6            The Court   will not assign
                                                                      (any boxes on pages two and
       t7            elsewhere in ths Civil Case Cover Sheet Addendum

       l8             three of that form).

       l9
                                                                  in this      aotion   in the PI Court circled ab
       2t
             2,       The court sets the above dates

             (Departmentgl,92 or 93) at the stanley Mosk courlhouse,
                                                                                             lll   North Hilt street'
       2t
                                                     Rules 3'?14(bX3)'3'729'
       22    Angeles, CA 90012' Cal. Rules of Court,

       2l    SERVICE OF SUMMONS AND COMPLAINT

       24    3.        plaintiff(s) shall serve the summons and complaint in this action upon

       25                                                      is filed'                c' c' P' $ 583'210'   subd' (a)'
             within thre€:/earç of the date when the complaint
        26
             the   osc   re Dismissal dats noted above, the PI Cou¡t                will dismiss the cction snd/or
        27

                                                                       3
                                                                                                                     Tnar
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   t         unsgrvedpartiesunlesstheplaintiff(s)showcausewhytheactionortlreunsorved
                                                   583'250; 581' subd' (bX4)'
   2            should not be dismissed' C'C'P' $$
                                                                                                    effecluate
                        The court sets the above tri4r and
                                                           Fsc dates on condition that plaintiff(s)
   3
                4.
                                                                                  months of filing the
   4
                        on defendant(s)  of the sunmons and compraint within six
                service
   5                                                                                     within six months' the
                                               the plaintiff(s) failed to effect service
                complaint. Upon a showing that
   6
                                                                    above'
                Pl Court   will vacate the tríal and FSC date noted
       7
                STIPULATIONS TO CONTINUE
                                         TRIAL
       8

       I         5.Providedthatallpartiesagree(andthersisnoviolationofthe..five-yearrule,''c.c.P
                                                              any kial date in th6 PI Courts without
   l0                     the parties may advance or continue
                 $ 5g3.310),
                                                                                                     To continue or
   ll                                                   any reason or justification for the change.
                 showing good cause or articurating

                                                   (or their counsel of record) should
                                                                                         jointly execute and frle (in
                 advance a trial date, the parties
   12


       l3                                                 feo required) a stipulation to continue
                                                                                                  Trial'
                 Room 102 of the stanley Mosk courrhouse;
       l4                                         Dates (form available on the court's
                                                                                       website' Personal
                 FSC and Related Motion/Discovery
       r5
                 InjuryCourtlink)'ThePICourtsscheduleFSCsforl0:00a.m.,eight(s)courtdaypbefore
       t6
                                                                                                     stipulation at
                                  parties seekíng to continue the trial and Fsc dates shall frte the
                  the triar dare.
       l'l
                                                                                             the trial and FSC
                                                 the FSC date, Parties seeking to advance
       18         least eight court days before
                                                                               before the proposed advanced Fsc
       l9         dates shall   file the stipulation at least eight court days

       20         date.CodeCiv.Proc',$595'2;Oovt'Code$70617'subrl'(cX2)'
       2l         NO CASE MANA.GEMENT CONFERENCES
       22                                                               C¡nferences' The parties need
                  6.       The PI Courts do not conduct Case Management
        23
                  frle a Cæe Management Statement
        24
                  tAW AND MOTION
           25
                   Chumbers CoPles Requlred
           26

           27

                                                                     4
                                                                                                                 Tllal
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                                                                            of the stanley
  I          7.    In addition to filing original motion papers in Room 102
  2          courthouse, the parties must deliver, directty
                                                            to the PI Court courtrooms' an exFa

  3                    ,,chambers copy'') of reply brieß and all other motion papen¡ frled less than
             (marked
  4
             (?) court days before a hearing calendared in ths PI
                                                                  Courts' The PI Courts also
   5
             encÐufage the parties flrling and opposing
                                                        lengthy motions, such as motions for
   6
                                                                              organizing the
             judgment/adjudication, to submit one or more th'ree'ring binders
   7

             Copies behind tabs.
      I
      9      Reservatlon of Hearlng Date

             g.      Parties are directed to reserve hearing dates for motions
                                                                               in the PI Courts using
  10

  ll                                                                               (link on
              Court Raservation Systom available online aI www,lasuperìorcourl.org
  12
              Parties or counsel who are unable to utilize the
                                                               online Court Reservation System may

   l3                                                                     Monday througþ Fríday
              a motion hearing date by telephoning the PI Court úurtroom,
   t4
              between 3:00 P.m. and 4:00 P'm'
   15
              lVithdrswsl of Motlon
   l6

   t7
              g.       califomia Rules of court, Rule 3.1304(b) requires     a   moving party to notiff the

                                                                         date. In keeping with that rule'
      18      immediately if a matter will not be heard on the scheduled

      t9      PI Courts urge parties who amend pleadings in            response   to demuners to file

                                                                       is due so lhat the PI Courts do
      20      pleadings before the date when oppobìtion to the demuner

      zl      needlessly prsPare tentative rulings on demurrers'
      22
               Dlscovery Motions
      23
               10.       I$forural Discovery Cp[ferences   f'lDÇsïì.   On a daily basis, the PI Court judges are
      24
                                                                   lead trial counsel on each side (or
               available to conduct 30-minute, in-person IDcs with
      25
                                                                                    in discovery disputes).
                         attomey wh. has fr¡ll authority to make binding agreements
      26       'nother
       2'l

                                                                5
                                                                                                              7lt2ll
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   I   The   pl court judges will   not make rulings in an       IDC.   The purpose of the tDC is to help the

                                                                             practice. To that end,
  2    parties resolve discovery disputes by agreement rather than by motion

   3
       an IDC judge may refer the parties     to applicable code seotions or otlter legal authorities. The
   4                                                                  to narow the scope of
       IDC judge may also promote compromiso by suggesting agteements
   5
                                                                                     party's
       the requests, to provide amended responses that better explain the responding
   6
                                                                                   PI Court
       compliance, or to use an altemative, more efficient means of discovery' The
   7
                                                                                              at, or as
       find that, in nearly every caso, the parties amicably resolve their discovery disputes
   I
   I   result of, the IDCs.

  l0   ll.      Scheduling     IÞÇg.    Partiæ should reserv€ (and,           if necessary' promptly
  il   appointments for tDCs via email lo PlSMC@làsaperlorcourl.org. Parties should
                                                                                    schedule

  12
       IDC   as soon as a   discovery dispute arises, and before any party fïles a discovery motion.
  l3
       pl Court judges expect the parties to maks every effort to rçsolve discovery dísputes
  l4
       conferring in person or on the telephone before the PI Court
                                                                    judge invests time in the
  l5
       Scheduling or participating in an IDC does not extend any deadlines imposed by the
                                                                                          Code
  l6

  17
       Civil procedure for noticing and frling motions to compel or motions to                  compel


       discovery. In order to avoid unnecessary         ex   parte applications, the PI Courts
  t8

  L9   that the parties extend deadtines for frling discovery motions and for serving

  20   re,sponses pending     their participation in the IDC'
  2l
       lZ,      MoÍons to Compel Furthef Resoonses. The PI Coufts will not hear motions to
  77
                                                                                           (b) the
       compel further discovery unless and until (a) the parties participate in an IDC; or
  23
       moving party submits evidence, by way of declaration, that the opposing party has
                                                                                         failed or
  24
       refused to participate in an    IDC. To allow time for an IDC at least        16 court days before the
  25

       motion hearin& parties must reserve a hearirrg on any motion to compel fr¡rther discovery
                                                                                                 at
  26

  27


                                                             6                                           7ilaL
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      1    10:00 a.m. on a {ate at least 60 days after the date when the reservation is made. Parties

   2      must reserve an IDC with the same judge who is scheduled to hear any discovery motion

   3
          involving the same discovery. Likewise,    a party   who participates in an IDC regarding
   4
          discovery requests, ând then fïles a motion to compel further responses to the samo discovery
   5
          requests, must calendar the motion for a hearing before the same judge who conducted the
   6
          IDC. After participating in an IDC, a moving party may         advance the hearing on a motion to
   7
          compel further discovery to 10:00 a,m. on any available hearing date that complies with the
   I
   I      notice requirements of the Codc of   Civil Procedure. The PI Courts may consider a party's

  t0      failure or refi¡sal to participate in an IDC as a factor in deciding whether or not to awa¡d

  ll      sancfions on a motion to compel further discovery.

  l2
          Ex Parte Appllcafions
  l3
          13,    Under the California Rules of Court, courts may only gtant ex parte relief upon
  t4
          showing, by admissible evidence, that the moving party            wilt suffer "ineparable       harm,
 l5
          "immediate danger," or where the moving party identifies "a statutory basis for
  l6
          relief ex parte," Cal. Rules of Court, Rule 3.1202(c), With over 6,000 casæ ín each
 l7
 I8       the three PI Courts have no capacity to hear multiple ex parte applicalions or to shoden

 19       to add hearings to their ñrlly booked motion calendars. The PI Courts do not regard

 20       Court's unavaílability for timely motion hearings as an "immediate danger" or tlreat
 2t
          "ineparable harm" justif,ing ex parte     relief.    Instead   of seeking ex parte   relief;,
 22
          should reserye the ea¡liest available motion hearing date, and stipulate with all parties
 21
          continue the trial to a date thereafter using the Stipulation to Continue Trial, FSC and
 24
          Motion/Discovery Dates (form available on the court's website, PI Court TaÐ.
 25

 26

 27


                                                         7                                                7lt?lt
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       I    should also check the Court Reservation System from time to time because earlier

       2    dates may become available as cases settle or counsel otherwise take hearingB              off oalendar.
       3
            REQUEST FCIR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT
      4
             14,        Parties seeking to transfer a case from a PI Court to an Independent Calendar ("UC')
      5
            Court shatl file (in Room'102 ofthe Stantey Mosk Courthouse) and servo thq Court's
      6
            "Motion to Transfer Complicated Personal Injury Case to Independent Calenda¡ Court"
      7

      I     (fom       available on the CouÉ's website, PI Courts    link).   The PI Courts   will   lransfer a matter

      9     to an VC Court íf the case is not a "Personal Injury" case as defined in the Gerrerat Order re

  l0        Gerreral Jurisdiction PI Cases, or      if it is "complicated," In determíning whether       a persorral

  ll        iqiury case is too "complicated" for ths PI Courts to manage, the PI Courts will consider,
  l2        among other things, whether the case will involve numerous parties, cross-complaints,
 t3
           witnesses (including               witnesses), and/or pretrial hearings.
                                    .expert
 t4
            15.         Parties opposing a motion      to hansfer have five days to file (in Room t02)
 t5
           Opposition (using the same Motion to Transfer form).
 r6

 t7        16.         The PI Courts   will not conduct    a hearing on any Motion to Transfer to VC

 l8        Although the parties may stipulate to transfçr a case to an Independent Calendar

 t9        the PI Courts     will make an independent determination whether to hansfer          the case or not

 20        GENERAL ORDER               * FINAL    STATUS CONFERENCE
 2l
           17.         Parties shall comply with the requirernents       of the PI Cou¡ts'     "Amcnded
 22
           Order   -   Final Status Conference," which shall be served with the summons and complaínt.
 23
           JURY FEES
24

25
           18. Parties must pay jury fees no later than 365 calendar days afrer the frling of tho
           complaint, (Code Civ, Proc., $ 631, subds. (b) and (c).)
26

27


                                                                I                                              7tør
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      I   JURY TRIALS
     2    19.     The PI Courts do not conduct jury trials. On the trial date, a PI Court rvill transfer
     3
          case   to the Master Calendar Court in Department One in the Stanley Mosk
     4
          Department One assigns the case out for trial to onc of    3l   dedieated Trial Cou¡ts losated
     5
          the Stanley Mosk, Chatsworth, Van Nuys, Santa Monica, Torranco, Long Beach,
     6
          and Pasadena courthouses.
     7

     I SANCTIONS
     I 20. Thc Court has discretion to impose sanctions for any violation            of this general order

 t0       (C.C.P. $$ 128.7, 187 and Gov. Code, $ 68608, subd.     þ).)
 ll
 l2       Dated: July 15,2013
 l3
 t4
                                                                                J
 l5                                                                      Supervising Judge, Civil
                                                                         Los Angelæ Superior
 l6
 t7

l8

r9

20

2t

22

2t
24

25

26

27


                                                        9                                           Tlwt
     Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 58 of 135 Page ID #:60




                                                                                               FÃI,ET}
                                                                                    SUPERIOR COURT OF CALIFORNTA
                                                                                       COIJNTyOFLOSÀNGBLÈS-
      2
                                                                                           JUL 19 ?013
      3
                                                                                 John A,   Cla*q Execu[vc Ottc¿r/Çlsrk
      4                                                                             u-åfu6pe%lu*,nenw
     5

     Þ                             SUPEzuOR COURT OF THE STATE OF CALIFORNIA

     7                        FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT

     B

              In re Persoual Injury Cases Assigned to the         ) Case No.
     I        Perso¡ral Injury Courts (Departmen ts gl , g2       )
              and 93),                                            ) AMENDED GENERAL ORDER - FINAL
 10
                                                                  ) STATUS CONFERENCE, PERSONAL
 11
                                                                  ) INruRY-("PI") COURTS (Effective as of July
                                                                  ) 19,2013)
                                                                  )
 12


 13           The dates for Trial and Final Status Conference ("FSC") having been set in this matter, the

 14
              HEREBY AMENDS AND SUPERSEDES ITs March                         tz,zlt3     GENERAL ORDER                   -
 15
              FINAL STATUS CONF'ERENCE AND GENERALLY ORDERS AS FOLLO\ryS IN THIS
10
              AND ALL OTHER GEI\TERAL JURISDICTION PERSONAL INJURY ACTIONS:
17
                 I.   PURPOSE OF THE FSC
18
                      The purpose of the FSC is to   verifi   that the parties/counsel are completely ready to
t9'
          proceed with hial continuously and efficiently, from day to day,           until verdict. The pI Courts
20

          wíll veriff at the FSC that all parties/counsel have (l) prepared the Exhibit binders and Trial
21


22        Document binders and (2) met and conferred in an effort to stþulate to ultimate
                                                                                          facts, Iegal

23        issues, motions ìn lìmine, a¡rd the authentication and admissibility of exhibits.

24        /
25        /



                                              Amended GeneralOrder FSC -        1
     Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 59 of 135 Page ID #:61



                  2, TRIAL       DOCUMENTS TO BE F'ILED
      1

            At least ftve calendar days prior to the Final Status Conference, the parties/counsel shall serve
      2

            and flrle (in Room 102 of the Stanley Mosk Courthouse) the             following Trial Readiness
      3

      4     Documents;

      5              A.         TRrAL BRIEFS (OPTTONAL)
      6     Each party/counsel may fTle, but is not required to file, a trial brief succinctly       identifiing:
     7               (1)   th   claims and defenses subject to litigation;
     B
                     (2) the major legal issues (with supporting points and authorities);
     I               (3) the relief claimed and calsulation of damages sought; and
 10
                    (4)    any other information that may assist the court at trial.
 11
                    B.          MOTIONS IN LITúINE
 12
           Before filing motions in línúne, the parties/counsel shall comply with the statutory
                                                                                                notice
 13
           provisions of Code of Civil Procedure ("C.C.P.') Section I005 and the rcquirements
 14                                                                                           of Los

          Angeles County Court Rule ("Local Rule") 3,57(a). The caption of each motion ìn lìmine
 t5                                                                                              shall

 16       concisely identify the evidence that the moving party seeks to preclude. parties fìling
                                                                                                  more than

17        one motion in limine shall number them consecufively. Parties              filing opposition   and reply

1B        shall identifu the corresponding motion number in the caption of theirpapers.

19                 C.        JOINT STATEMENT TO BE R"DAD TO THE JURY
20              jury nials, the partíes/counsel shall work together to prepare and
          For                                                                      file a joint written
21
          of the cæe for the court to read to     the   jury. Local Rule 3,25(ix4).
22
                   D.       JOINT \ryITNESS LIST
23
          The parties/counsel shall work together to prepare and file        a   joint lÍst of all witnesses that eash
24
          party intends to call (excluding impeachment and rebuttal witnesses). Local
                                                                                      Rule 3.2S(i)(S).
25




                                                 Amended Goneral Order FSC - 2
     Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 60 of 135 Page ID #:62



              The   joint witness list shall identi$ each rvitness by name, speciff which witnesses         æe experts,
      1

              and estitnate the length of the direct, cross examination re-direct examination          (if any) of each
     2

     3
              witness. The parties/counsel shall identiff and all potential witness scheduling issues and

     4        requirements. Any party/counsel who seeks to elicit testimony from a wihress not identified on

     5        the witness list must first make a showing of good cause.

     o                E.       LrST OF PROPOSED JuRy INSTRUCTTONS (JOTNT AND
     7                        coNTESTTCD)
     I        The parties/counsel shall   jointly prepare   and frle a list of proposed   jury instructions, organized in
     I        numerical ordet, speciÛing the instructions upon which all sides agree and the contested
 10
              instructions, if any.
 11


 12                   F.      JURY INSTRUCTIONS (JOINT A¡tD CONTESTED)

 '13
              The parties/counsel shall prepare a complete set of fr¡ll-text proposed       jury instructions, editing
14
              proposed California Civil Jury Instructions for Judges and Attorneys ("CACI") instructions to
15
              insert par{y names and elíminate blanks and inelevant material. The parties shall prepue special
16
          instructions in a format ready for submission to the jury þlacÍng citations of authority and the
17

          identity of the requestingparty above the text in compliance with Local Rules                3.l¡}and 3.lZl),
18


19
                     c.      JorNT VERDICT FORM(S)
20
          The parties/counsel shall prepare      zurd   joíntly {ile a proposed general verdiot form or special
21
          verdict form (with interrogatories) acceptable to all sides,        Ifthe parties/counsel camot agree       on
22
          a   joint verdict form, each pafiy must separately file a proposed verdiot form, Local Rule
23
          3.2s(Ð(7) and     (8).                                                                   :

24
          I
25




                                                Amended General Order FSC - 3
          Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 61 of 135 Page ID #:63



              1
                               H.     JOINT EXTIIBIT LIST

                    The parties/counsel shall prepare and frle      a   joint exhibit list organized with
          2                                                                                               columns identiffing

          3         each exhibit and speciffing each party's evidentíary
                                                                         objections,          if any, to admissíon of each
          4        exhibit' To comply with Local Rules 3.52(iX5)            and 3.53, the parties shall meet and confer
                                                                                                                        in an
          5        effort to resolve objections to the admissibility
                                                                     of each exhibit,
          o            3. EVIDENTIARYEXHIBITS
          7        The parties/counsel shalljointly prepare (and
                                                                 be ready to temporarily lodge for ìnspection
                                                                                                              at the
      B
                   FSC)' tluee sets of tabbed, internally paginated
                                                                    and properry-marked exhibits, organized
      I            numerically in three-ring bínders (a set for
                                                                the court, the Judicial Assistant and
                                                                                                      the wiûresses).
     10
                  The parties/counsel shall mark all non-documentary
                                                                     exhibits and insert a simple written
     11
                  desoription ofthe exhibit behind the conesponding
                                                                    numerical tab in the exhibit binder.
     12
                      4,    TRIAL BINDERS REQUIRED IN THE PI COURTS
     13

                      The parties/counsel shall      jointly prepare (and
 14                                                                         be ready to   temporarily lodge for inspection at
                  the FSc) the TrialDoouments, tabbed and
 15                                                       organized into three-ring binders
                                                                                            as follows:
 16                  Tab A: Trial Brieß

 17                  Tab   B: Motions    ín llmlne

 1B                  Tab   C: Joint Statement   to Be Read to the Jury

 19                  Tab D: Joint Witness Lisr

20
                    Tab    E: Joint List of Jury rnstructions (identífying     the agreed upon and contested
21
              instructions)
22
                    Tab   F:   Joint and Contested Jury Instruetíons
23
                    Tab G: Joint and/or Contested Verdict
                                                          Forms
24

25




                                                       Amended GeneralOrder FSC       _   4
               Case 2:13-cv-08795-JAK-AGR Document 1 Filed 11/27/13 Page 62 of 135 Page ID #:64




                  The parties shall organize motions
         1
                                                     in lìmine(tabbed in numerical order)
                                                                                          behind tab B with
              the opposition papers and reply papefs
         2                                           for each motion ptaced directly
                                                                                     behind the moving
              papers' The parties shall organize
         3                                        pioposediury instructions behind
                                                                                      tab F, with the agreed upon
        4     instuctions first in orde¡ followed by the
                                                         contestcd instructions (including
                                                                                            special instructions)
     5        submitted by each side.

     6           5. ¡'AILURE      TO COMPLV WITH F'SC OBLTGATIONS
     7       The cou¡t has discretion to require
                                                 any party/counsel who fails
                                                                             or refrises to comply with this
     B
             General order to show cause
                                               why the court should not irnpose
                                                                                monetary, çvidentiary and/or
    I
             issue sanctions (incrucring the   enty of a dcfaurf or the striking of
10
                                                                                    an answer).


l1
                                                                 Dated this lgrh day   ofJuly, 2013
2

3

                                                                                  J
4
                                                                           $upervising Judge, Civil
                                                                           Los Angeles Superior Court
,




                                           Amended General Ordor FSC _
                                                                       5
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                                                      Exhibit E
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                1   Frank               Bar No. 069840
                                         com
                2     teve                     No. 105710
                3    rlan          at o .216078
                    bmills@swlaw.com
                4   SNELT& WILMER L.L.P.
                    600 Anton Blvd, Suite 1400
                5   Costa Mesa, California 92626-7689
                    Teleohone: 7 14.427 .7000
                6   Facsimile          714.427.7799

                7   Attornevs for Defendant
                    CSI Ele'ctrical Contractors, Inc.
                8

                9                                LINITED STATES DISTRICT COTIRT
               10                              CENTRAL DISTRICT OF CALIFORNIA
               11
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F 't¡o?
  )a¿ tio      13   James Pavton. an individual on behalf       of    Case No.
,¿                  himself aäd oihers similarly situated,
 J I136
     âo-
               I4
 J
 r!                                       Plaintiff,
 z lsË
U)             15                                                     DECLARATION OF'FRANK
                                  V                                   CRONIN IN SUPPORT OF
               16                                                     DEF'ENDANT CSI ELECTRICAL
                    CSI Electrical Contractors, Inc., a               CONTRACTORS, INC.'S
               T7   California Corporation, and Does 1                NOTICE OF'REMOVAL
                    through 100,
               18                                                     (Federal Question Jurisdiction
                                          Defendants.                 Under S 301 of the LMRA)
               t9
               20

               2I
               22   I, FRANK CRONIN, declare as follows:
               23                 1.   I am a member in good standing of the State Bar of California and am
               24   licensed to practice before all courts in the state.   I am an attomey with   the law firm

               25   of Snell & Wilmer L.L.P., and am one of the attorneys primarily responsible for
               26   representing CSI Electrical Contractors, Inc. ("CSI") in the above-captioned action.
               27   I state the following of my own personal knowledge,       and unless otherwise

               28   indicated, I could and would testify competently thereto.

                                                                              DECLARATION OF FRANK CRONIN IN
                                                                                SUPPORT OF NOTICE OF REMOVAL
                    I R? r neô<
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             1              Plaintiff James Payton ("Plaintiff') filed a civil action against
                                 2.
             2   Defendant CSI in the State of California, County of Los Angeles, entitled James
             J   Payton v. CSI Electrical Contractors, Inc., Case No. BC525050 on Octobet 21,
             4   2013 (the "State Action").               A true and correct             copy of Plaintiffls complaint is
             5   attached to the Notice of Removal as Exhibit A.

             6                   3.      There are three collective bargaining agreements ("CBAs") which are
             7   or were in effect and which govern the employment of Plaintiff and all other non-
             8   exempt CSI employees on the project at issue is this litigation:
             9                   a) Inside Agreement between Local Union 639                         of the International
            10                        Brotherhood of Electrical Workers, San Luis Obispo, CA ("IBEW") and

ú    s
            11                        the California Central Coast Chapter, National Electrical Contractors
Ë!
ã leË       l2                        Association ("NECA")-Amended June                     l,   2009, attached hereto   as
  lsi
F te?
  46É       13                        Exhibit '01". This agreement was in effect from June 1, 2009 through
,¿
J tÉ?       l4                        May 3I, 2012.
J
EI
z léË
U)          15                   b) Inside Agreement-Amended June 1,2012, between the same parties as
                                                                               o'2'o
            I6                        above, attached hereto as Exhibit                . This agreement was in effect from

            I7                        June 1 ,2012 to the present.

            1B                   c) The Topaz Solar Farm Work Site Agreement between IBEW Local                       639

            t9                        and First Solar Electric (California), effective June 2,2071 and continuing

            20                        to the present, with its numerous attachments and additional MOUs
            2T                        incorporated therein, attached hereto as Exhibit 003". CSI assented to and
            22                        is bound by this agreement as a condition of providing on-site services on
            23                        the project at issue. Exhibit 3, Sec. 1.4.

            24                   4.      Plaintiff James Payton was employed by CSI as a non-exempt
            25   construction wireman performing work on the Topaz Solar Farm project within the
            26   geographic area and                in a job classification that is covered by the collective
            27   bargaining agreements cited above. Pursuant to those agreements, CSI recognized
            28   IBEW Local 639 as "the sole and exclusive representative" of Payton and all other

                                                                                           DECLARATION OF FRANK CRONIN IN
                                                                          1
                                                                      -   L-                 SUPPORT OF NOTICE OF REMOVAL
                 I e? I fìerì<
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             1    CSI employees working within the jurisdiction of the Union "for the purpose of
             2    Collective Bargaining in respect to rates of pay, wages, hours of employment, and
             J-   other conditions of employment." Exhibits 1 and 2, Sec. 2.08. Plaintiff, therefore,
             4    is bound by the terms of those agreements which were negotiated on his behalf by
             5    his sole and exclusive representative, IBEW Local639.
             6                       5.    These CBAs address compensation for the type of travel time claimed

             7    to be owed in this action and resolution of the claims requires interpretation                 and

             8    analysis of the terms of those agreements.
             9

            10                       I declare under penalty of perjury that the foregoing is true and correct

ds          11    Executed on this 27'h day of Novembe\ 2013.

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                                                                                     DECLARATION OF FRANK CRONIN IN
                                                                        -J-            SUPPORT OF NOTICE OF REMOVAL
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                                                      Exhibit 1
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                         INSIDE AGREEMENT

                                  Between

                             LOCAL UNION 639

                                    of the

    rNrERNArroNALABRorHTr"'333,?i¡'Hifrf ALW.RKERS'

                                     and

               CALIFORNIA GENTRAL GOAST CHAPTER

        NAT¡ONAL ELECTRIGAL CONTRACTORS ASSOCIATION




                         AMENDED JUNE 1, 2OO9
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                                                INSIDE           EMENT

    Agreement by and between the San Luis Obispo Division of the Califomia Central Coast Chapter,
    National Electricat Contractors Association, lnc., and Local Union No. 639, tnternåtiðnål Brolherhood of
    Electrical Workers.

    It shall apply to all finns who sÍgn a Letter o-f Assent to be bound by the terms of this agreement.

    As used hereinafter in the Agreement, the term 'chapter" shall mean the california Gentral coast
    Chapter, National Electrical Co¡tractors Association and' thu term 'Union" shall mean Local Union No.
    639, lnternational Brotherhood of Electrical Workers.

    The term 'Employef shall mean an individuat firm who has been recognized by an Assent to this
    Agreement.


                                                FASTC PRTNCTPLES

    The Employer and the Union have a cornmon and sympathetic Ínterest in the Electricaf lndustry.
    Therefore, a working system and harmoníous relations are necessary to improve the relationship between
    the Empfoyer, the Union, and the Public. Progress in lndustry ãerun¿" a mutuality of confidence
    99P""n the Employer and the Union. All will benefit by continuous peace and by adjusting any
    differences by rational, common sense methods. Now, thereiore, in consideration of the mutuãl prom6""
    and agreements herein contained, the parties hereto agree as follows:




                                                     ARTICLE      I

                          EFFECTIVE    DATE. CHANGES         -   GRIEVANCES   -   DISPUTES

   - FçTION l:01 This agreement shall take effect June 1, 2009 and shail remain in effect untit May 31,
   2012, unless othen¡uise specifically províded for herein. lt shall continue in effect from year to year
   thereafter, from June I through May 31 of each year, unless changed or terminated in the way Íater
   províded herein.
                 l

   sEcTtoN 1.02

           A.    Either party or an Employer wíthdrawing representation from the Chapter or not represented
                 by the Chapter, desiring to change or terminate this Agreement must provide             written
                 notification at least g0 days prior to the expiration date of the Agreement of any anniversary
                 date occurring thereafter.

           B.   Whenever notice is gíven for changes, the nature of the changes desired must be specified in
                the notice, or no later than the first negotiating meeting unlesJ mutually agreed othe'rwise.

           C-   The existing provisions of the Agreement, including this Article, shall remain in full force and
                effect until a conclusion is reached in the mafter of proposed changos.

          D.    Unresolved issues or disputes arising ou.t of the failure to negotiate a renewal or modification
                of this'agreement that remain on the-2Oth of month preceding the next regular meeting of the
                Council on lndustrial Relations may be submitted jointly oi unilateralty to the Council for
                adjudication' Such unresolved issues of disputes shall be submitted not later than the next
                regular meeting of the Council fo_llowing the expiration date of this agreement or any
                subsequent'anníversary date. The Council's c.lecision shall be final and blndÌng.




                                                         1
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           E. When a case has been            submitted to the Councí|, it shall be the responsibility of the
                Negotiating Committee to continue to meet weekly in an effort to reach a settlement on the
                local level prior to the meetíng of the Council.

           F.   Notice'by either party of a desire to terminate this Agreement shall be handled in the same
                manner as a proposed change.

   S.FçI¡9N 1.03 This agreement shall be subject to change or supplement at any time by mutual consent
   of the parties hereto. Any such changd or supplement agreed upon shall be reduced to writíng, signed by
   the parties hereto, and submifted to the lnternatíonal Office of the IBEW for approval, the same as this
   Agreement.

   SECTION 1 .04 There shall be no stoppage of work by strike or lockout because of any proposed changes
   in thís Agreement or dispute over matters relating to this Agreement. All such matters must be handled
   as stated herein.

   SECTTON 1.0q There shall be a Labor-Management Committee of three representing the Union and
   three representing the Employers. lt shall rneet regularly at such stated time as it may decide. However,
   it shall also meet within forty-eight (48) hours when notice is given by either party. lt shall select its own
   Chairman and Secretary. The Local UnÍon shall select the Uníon representatives and the Chapter shall
   select the management representatives.

   SF_CT¡ON 1.00 All grievances or questions in díspute shall be adjusted by the duly authorized
   representative of each of the parties to this Agreement. ln the event that these two are unable to adjust
   any matter within forty-eight (48) hours, they shall refer the same to the Labor-Management Committee.

   S-EPJION 1.02 All matters coming before the Labor-Management Committee shall be decided by a
   majority vote. Four members of the Committee, two from each of the parties hereto, shall be a quorum
   for the transaction of business, but each party shall have the right to cast the full vote of its membership
   and it shall be counted as though allwere present and voting.

   SECTION 1.08 Should the Labor-Management Committee failto agree or to adjust any matter, such shall
   then be referred to the Council on lndustrial Relations for the Electrical Gontracting lndustry for
   adjudication. The Council's decisions shall be final and binding.

   SECTION 1.09 When any matter in dispute has been referred to conc¡liation or arbitration for adjustment,
   the provisions and conditions prevailíng prior to the time such matters arose shall not be changed or
   abrogated until agreement has been reached or a rulÍng has been made.

   SECTION 1,10 No complaint, dispute, orgríevance shall be consídered unless written notice is delivered
   by the aggrieved party to the Union and Chapter within thirty (30) consecutive days from the date on
   which the alleged complaint, dispute, or grievance firsl occurred, except in cases involvÍng fringe benefit
   payments.




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                                                     ARTICLE II

                                      EMPLOYER RIGHTS        -   UNION RIGHTS

    SFcTlOt{ 2'01 Certain qualifications, knowledge, experience, and proof of financial responsíbílity are
    required of everyone desÍring to be an Employer in the Electrical tndustry. Therefore, 'Empioyef as used
    is defined to rnean a person, firrn, or corporation having these quaiifications: A licensed Electrical
    Contractor maintaining a place of business for the conducting of an electrical construction and/or
    maintenance business with a business telephone, open to the puUtic during normal business hours. A
    place of business shall mean an established location, the addiess of whiõh is affìxed to the Letter of
    Assent accompanying this Agreement, where the Employer or his represenlative can be reached by
    personal call, where he transacts his business with the public and solicits electricalwork.

    The Employer shall display a sign announcing the name and character of his business and shalt maintain
    on said premises proper books, accounts, and records incidental to the conduct of said business- The
    Employer shall provide a place where the workmen under this Agreement may change their clothing,
    wash up, and store their belongings (tools and work clothes) foiwhich the Employe-r is responsible.
    Trailers, portable buildings, or an answering service shall not meet these requirements. All Employers
    shall display permanent Cornpany signs on both sides of their trucks in letters three (3) inches highi

    All recognized Efectrical Employers not having a place of busíness in San Luis obispo shall be
    óonsídered as having their temporary headquarteis in ifre City of San Luis Obispo and they shalt have the
    same privileges (same working conditions and wages) as Employers in the City of San Luís Obispo. This
    same condition shall apply to Joint Venture Contractors.

   SECTION 2.02 The Union understands the Employer is responsible to perform the work required by the
   ownet, The Employer shall, therefore, have no restrictions except thoèe specifically províded for iá the
   Collective_ Bargaining Agreement, in planning, directing, and conirolling the operatión'of all his work, ín
   deciding the number and
                              ,kind of Employees to properl¡r perform the work, ín hiring and laying off
   Employees, in transferring Employees from job to job within the Local Unionts gãographiðaljurisdiätio-n, in
   determining the need and number as well as the person who wilf act as-Foieman, ¡n requiring all
   Employees to observe the Employer's and/or owner's rules and regulations not inconsistent with this
   Agreement, in requiring all Empfoyees to observe all safety regulationé and in discharging Ëmployees for
   proper cause.

   S.EcTloN ?.03 The Employer shall be permitted to request, by name, any applicant the Employer desíres
   to employ as Foreman. The Union shafl refer such applicant to the Employer if the applicants name
   appears on the referral register, provided all other eligíble applicants in higher referal gioups have first
   been referred. The Employer shall immediately, upon employment of said applica-nt, classify said
   applicant (Employee) as Foreman and pay said applicant (Employee) Foreman wàles as establis-hed in
   this Agreement for the duration of employment.

   SECTION 2.04 For all Employees covered by this agreement, the Employer shalt carry Workrnen,s
   Compensation Insurance with a company authorized to do business in the-State, social security, and
   other such ínsurance as may be required by the laws of the State in which the work is performed. He
   shall also make voluntary contributions to the State Unemployment Compensation Commission
   regardless of the number of Employees.

   sEcTtoN 2.05


           A.   Each Employer shalf furnish a surety bond in the amount to secure payment of all amounts
                due on account of payroll and fund deduction, contribution, and reporting obligations of the
                Employer required by this agreement. The bond shall provìde that it may not be terminated
                without fìfteen (15) days prior written notice to the Einployer and the Local Unlon. Any
                employer who has had twelve (12) months of good standing without a default in the payment



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                   of fringe benefits will not have to post a surety bond unless he defaults in his payments' Any
                   defaulting Employer and all others who do not meet these requirements will have to post a
                   surety bond as fotlows: Any shop or project employing zero to flve (0-5) employees will have
                   to po-st a $5,000.00 bond or cash; any shop or project employing five (5-10) employees will
                   have to post a $7,500.00 bond or cash; any shop or project employing ten to fìfteen (10-15)
                   employees will have to post a $10,000.00.bond or cash; any shop or project employingfifteen
                   to tweñty (15-20) employees will have to þost a $12,500.00 ...etc bond or cash for employees
                   covered-by this agreement. Any Employer required to post a bond shall maintaín the bond
                   until the Employer has established performance satisfactory to the parties, but in no case for
                   more than twelve (12) months nor longer than the Employer employs Employees under this
                   Agreement. Said bond shall be in a form acceptable to the parties and guarantee payment of
                   fringe benefits provided for in ihis agreement.

              B. The Labor-Management Committee and/or the Council on lndustrial Relations, as the case
                   may be, shall have full power to determine the amount of money due, if any, and shall direct
                   payments of delinquent wages from the bond directly to the affected Employees and direct
                   payments of delinquent fund contributions from the bond directty to the Trustees of the
                   affected funds or to their designated agents.

              C.   lt is agreed that the Union retains the right to withhold the services of its members from a
                   contrãctor who fails to make timely payments to the Union's benefìts plans, or fails to pay its
                   weekly payroll, in accordance with its agreêments with the Union; provided however that the
                    Union shall give three days written notice to NECA prior to withholding the services of its
                   members.


   SECTION 2,OO Employers engaged in joint-ventúre jobs shall be considered as a new and separate
   ¡nOV¡¿ual ernptoyer, with all rights herein as apply to an individual participating Employer. There shall be
   no transfer oi wôrkmen between a joint-venture and any or all of the Employers comprising the joint-
   venture.

   SEGTISN 2rqz The U_nip¡ agrees that if, during the life of this Agreement, it grants to any other Employer
   in the Ëlectr¡Al Contracting lndus!ry on work covered by this Agreement, any better terms or conditions
   than those set forth ln thiJ Agreément, such better terms or conditions shall be made available to the
   Employer under this Agreement and the Union shall immediately notify the Employer of any such
   concession.

   sEcTloN 2.08

              A. The Ëmployer recognizes the Union as the sole and exclusive representative of all its
                   Employees performing work within the jurisdiction of the Union for the purpose of Collective
                   Bargaining in respect to rates of pay, wages, hours of employment, and other conditions of
                   employment.

              B.   The Employer understands that the Local Union's Jurísdiction, both trade and territoríal, ís not
                   a subject for negotiations, but rather is determined solely within the IBEW by the lnternational
                   President and, therefore, agrees to recognize and be bound by such determinations.

   sEcTroN 2.09

              A.   ln order to protect and preserve, for the Employees covered by this Agreement, all work
                   heretofore performed by them and in order to prevent any device or subterfuge to avoid the
                   protection and preservation of such work, it is hereby agreed as follows: lf and when the
                   Employer shalt perform any on-site construction work of the type covered by this Agreement,
                   under its own name or under the name of another, as a corpôratlôn, compãny, partnership, or
                   any other busíness entity, including a joint-venture, wherein the Empfoyer, through its


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                   off¡cèrs, directors, partners,  or stockholders, exercises either directly or índirec¡y,
                   management, control, or majority ownership, the terms and conditions of this Agreement shall
                   be appticable to all such work. All charges of violations of this Section shall be considered as
                  a dispute and shall be processed in accordance with the provisions of this Agreement
                  covering the procedure for the handling of grievances and the final and binding resóluilon of
                  dÍsputes.

             B.   As a remedy for violations of this Section, the Labor-Management Cornmittee, the Council on
                  lndustrÍal Relations for the Electrical Contracting lndustry, and/or an independent arbítrator,
                  as the case rnay be, are empowered, in their discretion and at the requeit of the Union, to
                  require an Employer to (1) pay to affected employees covered by this Agreement, including
                  registered applicants for emptoyment, the equivalent of wages tost Oy suõh employees as a
                  result of the violations; and (2) pay into the affected joint trust funds established únder this
                  Agreement any delinquent contributions to such funds which have resulted from the
                  violatìons. Provision for this remedy herein does not make such remedy the exclusive
                  remedy available to the Union for violation of this Section; nor does it make thâ same or other
                  'remedies unavailable to the Union for violations of other Sections or other Articles of this
                  Agreement.


            C.    lf, as a result of violations of this Section, ít is necessary for the Union and/or the trustees of
                  the joint trust funds to institute court action to enforce an award Ín accordance with
                  subsectÍon (b) above, or to defend an action which seeks to vacate such award, the
                  Employer shall pay and accountants' and attorneys' fees incurred by the Union and/or fund
                  trustees, plus the cost of the litigation, which have resulted from thà bringing of such court
                  action.

    sEcTloN 2-1q An Employer signatory to a Collective Bargaining Agreements or to a Letter of Assent to
    an agreement with another IBEW Local Union, who signs an assent to this Agreement, may bring up to
    four (4) bargaining unit employees employed in the Local Union's jurisdiction ¡nto tfris Localb
                                                                                                       ¡uriJOiction
    and up io two (2) bargaining unit employees per job from that LocaÍs jurisdiction to this Local's jurisdiction
    for specialty or service and mainlenance work. All charges of violations of this sectioñ shall be
    considered as a dispute and shall be processed in accordance with the provisions of this agreement for
    the handling of grievances with the exception than any decision of a locál labor-management committee
    that may be contrary to the intent of the parties to the National Agreement on Employeä portability, upon
    recommendation of either or both the appropriate IBEW lnternational Více presideni or NECA Rêgiónat
    Executive Director, is subject to review, modification, or rescíssion by the Council on lndustrial Relations.

    SEçTloN ?-11 only two (2) members of a firm (Employer) shall be per:mitted to work with the tools on
   work covered by this Agreement.

   sEcTloN 2-'l? Ernployers shall not loan their Employees to another,Employer without first securing the
   permissÍon of the Business Manager.

   sEcT¡oN,2'13 No applicant or Employee while he remains subject to employment by Employers
   operating under thís Agreement shall be recognized as a contractor ior the performance of any electiícal
   work.

   SECTION 2.U Journe¡rman Wireman shalf install all electrical work in a safe and workmanlike rnânner
   and in accordance with applicable code and contract specifications. When necessary to use temporary
   light and/or power on any foundatîon or building work, such temporary work shall be installed in a safe
   manner under the terms of this Agreement.

   sEcTloN 2.lg A Journeyrnan Wireman shall be required to make corrections on improper workmanship,
   for which he is responsible, on hio own time and during regular workirrg ¡ours, unleis errors wêre made




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   by orders of the Employer or the Employer's representatíve. Correction of workmanshîp to be made only
   after a fair investigation by the employer and the Busíness Manager of the Union.

   lf the Journeyman is no longer employed, employer may assign a Journe¡rman to make corrections on
   employer's time and during regular working hours. The Employer may submit a 'claimo to the LMCC for
   reimbursement of the cost of labor to make the correction. Reimbursement is to be made only after a fair
   investigation by the LMCC.


   S_ECTlO,ll,..2.-16- The Union shall have the right to appoint a Steward at any shop or any job where
   workmen are employed under the terms of this Agreement. Such Steward shall comply with the
   recognized duties of a Steward. He shall be allowed sufficient time to perform these duties during regular
   working hours.

   Under no circumstances shall the Employer dismiss or otherwise discriminate against an Employee for
   making a compfaínt or giving evidence with respect to an alleged violation of any provision of this
   Agreement.

   The Steward shall have tne fittowing duties: to insure that the Agreement, lBËW Constitution, and IBEW
   Local Union No. 639 ByJaws are adhered to; to work cooperatively with the Contractor, resolve any
   perceived problem by either the Employee or Employer; to insure harmonious relations between the
   Employer and Employees.

   The Business Manager shall notify the Empfoyer in writing of the appointment of a Steward.

   Whenever an Employer wishes to layoff or discharge a Steward, he shall contact the Business Manager
   of the Local Union not less than forty-eight (48) hours previous to taking such action. However, the
   Steward shall not be terminated except for just cause, and in such case, shall be handled as a grievance
   under Article I of this Agreement.

   The Steward shall be allowed to work when overtime is worked wheir more than one (1) man works.
   Stewards shall be notified not less than four (4) hours in advance of all changes, layoffs, discharges,
   reductions in force, and referrals to the job.

   SECTION 2.17 The Union reserves the right to discipline its members for violation of its laws, rules, and
   agreements.

   SECTION 2.18 The Representative of the Union shall be allowed access to any shop or job at any
   reãsonable time where workrnen are employed under the terms of this Agreement.

   sEcTtoN 2.19

           A.    lt shall not be a violation of this Agreement, and it shall not be a cause for discharge or any
                 other disciplinary action by the Employer against any Employee, for an Employee to refuse to
                 cross a lawfully established primary picket line, whether at the premises of another Employer
                 or the Employee's own Employer.

           B.   Any Employee exercising such right shall carefuliy put away alltools, materials, equipment,
                or any other property of the Employer in a safe manner. Each Employee will be responsible
                for any loss to the Employer for neglect in carryíng out this provision" but only when a safe
                 place is provided for by the Employer.

   $ECTIQN 2.20 There shall be no limit on production of workmen or restriction on the safe use of proper
   toofs or equípment and there shall not be any task or piece work.




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    sEGTloN 2.21 Journeyman shall provide themselves with the following tools:

    Tool Box    -20" x8 T,"x g" minimurn with fock
    Pliers:
    Wire  StrÍppers                         DiagonalCutters (2 allowed)     Long Nose
    side cutters, 8" or g" Klein Type       pump (channel Lock) (2 allowed)
                                                                            stakle-on
    Combination Wrench-Set, 3tg - gl4
    Crescent Wrenches - 6' and 12." (one of each)
    Box Wrench - For knock-out punch set
    Allen Wrenches - Small set not over7t16"
    Spin-Títe Wrench Set- Up to %'
    Tap Wrench - Up lo Y+ "
    Chisels: Wood, 1'maximum, Cold 1/z'maximum
    Center Punch
    Awl
    Ptumb Bob, I ounce
    Tri-Square
    Level- (1) 18" maximum
    Chalk LÍne Box
    Tin Snips   - (l) 10'Airplane Shears
    Knife
    Rules - 30" maximum
    Screwdrivers:
    stubby (2), 1 Blade and 1      Phiilíps   offset (2), 1 Blade and   I   phiilips   Blade (s), 6,',   I'and t2'
    Phillips (2), 6" and B"
    Hacksaw Frame
    Keyhole Saw
    Hammer-Claw
    I""!I - Voltage Squar.e 'D", Knopf, or equal
   'Tool Pouch (Optional)
   one-Piece Ëtashlignt   it   ¡
   Current NEC Code Book
   Cordless Screwdriver, Charger, and Batteries (optional) (not a battery operated drill motor)
                                                                                                [Note: see
           Section 2.22 for further referencel

   Journeyman may provide themselves with addîtional personal hand tools necessary to perform the
   normal classífication of work, not requiríng the use of what are generally classified as "siräp toä1s,,.

   IBEW Local 639 wilt not tolerate the theft of any tools that are furnished by the employer and will aid the
   employer in recovering such items from any employee not returníng company tools.

   The Employer will furnísh necessary locked storage to reasonably protect tools from the weather and
   vandalism and will replace such tools as listed above when tools aie-damaged on the job or stolen
                                                                                                     from
   the locked storage.

   SEcTloN 2-22 The Employer shall furnish all other necessary tools or equipment. Workmen will be held
   responsible for tools or equipment issued to tlrerl provi<jed the Employer fuinishes the necessary fockers,
   tool boxes, or other safe place of storage. Tools must be taken oui and put away during work hours.

   Ihe   Employer shall provide hard hats. Employees will sígn out hard hats from Employers; if hard hat is
   lost, Employee shall be responsible for replacement,

   lf the Contractor provides cordless screwdriver (including charger and batteries), Employer will sígn out
   tools; if lost or damaged, Employee shall be responsible for replàcement.




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    SECTION 2.23 The refusal by an individual Employee to install, service, or perform work on any sign,
    fixture, or other equipment which does not bear an IBEW Local Union Label, will not be cause for
    discipline or discharge of such Employee by his Employer, nor shall the Union be deemed to have
    breached this Agreement thereby.

    SECTI9¡| 2.24 All Employees covered by the terms of this Agreement shall be required to become and
    remain members of the Union as a condition of employment from and after the eighth day following the
    date of their employment or the effective date of this agreement, whichever is later.

    SECTTON 2.25 The Local Union is a part of the lnternational Brotherhood of Electrical Workers and any
    violation or annulment by an indivÍdual Employer of the approved Agreement of thís or any other Local
    Union of the IBEW, other than violations of Paragraph 2 of this section, will be sufficient cause for the
    cancellatíon of his Agreement by the Local Union, after a finding has been made by the lnternational
    President of the Union that such a violation or annulment has occurred.

    The sublefting, assigníng, or transfer by an índividual Employer of any work in connection with electrical
    work to any person, firm, or corporation not recognizing the IBEW or one of íts Local Unions as the
    Collective Bargaining Representative of his Employees on any electrical work in the jurisdiction of this or
    any other Local Union to be performed at the site of the construction, alteration, painting, or repair of a
    buifding, structure, or other work, will be deemed a material breach of this Agreement.

   The charges of víolations of Paragraph 2 of this Section shall be considered as a dispute and shall be
   processed in accordance with the provisions of this Agreement covering the procedure for the handling of
    grievances and the final and binding resolution of disputes.

    SEGTI-O-N  2¿6 The Employer agrees that, if it has not previously done so, it will recognize the Union as
    ihe exclusive bargaining agent for all Emptoyees performing electrical work within the jurisdiction of the
    Union on all present and future jobsites, if and when a majority of the Employer's Employees authori2es
   the Union to represent them in Coflective Bargaining.

   SECTION    2.27 Journeyman shall comply with the State of California requirement of 32 hours of
    continuing education in a three (3) year period. The employer shall not be required to pay wages and
    benefits for journeyman to obtain such trainÍng




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                                                      ARTICLE ¡II



    SFCTIO!{ q'.91 Eight (B) hours work between the hours of B:00 a.m. and 4:30 p.m., with thirty (30)
    rninutes for lunch period (between Noon and 12:30 p.m-) shall constitute a workday.

    By mutuaf agreement between the Employer and the Union, the starting and quitting iime may be varied
    by not more than tw9 (Z) hours. Five (5) such work days, Monday tnrough fiOay inclusive, shall
    constitute a work week. A workman required to work during his regular lunch period shall receive the
    established overtime rate for lunch period and shalt thereafter be allowed a reasonable opportunity to eat
    his lunch on the Employer's time. He shall not be required to work for rnore than six'('o) consLcutive
    hours without at least a thirty (30) minute lunch period on the Employer's time. A four ten-hour work day
    shall be permissible when mutualfy agreed upon between the Employer and lhe Union.

    When tíme clocks, brass etc. are required by the employer, employees shall punch such time clocks,
    brass etc. on the employer's time.

    lf the Employer does not provide employment for five (5) consecutive regular working days, unless on
    approved leave, the Employee shall be terminated.

   There shall be two (2) ten-minute (10) rest and nutrition breaks in each work day.

   SEçTION 3.02 All work performed in excess of a regular eight (B) hour day, Monday through Friday,
   shall be paid at l% times lhe regular siraight time rate of pay, and irre first eìght (8) fräurs on saturdáy
   shall be paid at IYz limes the regular straight time rate of pay. All work perfomieO' iñ excess of ten (10)
   hours a day, Monday through Friday, and all work performed on Saturday in excess of eíght (g) houis á
   day or on Sunday or on any of the following holîdays - New Yeais Day, Þresident's Day,-Memárial Day,
   lndependence Day, Labor Day, Veteran's Day, Thanksgiving Day, tne day following fnanksliving oay,
   Christmas Day, or days celebrated as such Holidays - shall be paid ai double (ã) times ine regutár
   straight time rate of pay, subject to the following exceptions: Èolidays falfing 'oá Saturday w¡n ne
   observed the previous Friday in lieu thereof. Holidays falling on Sunday will be ãbserveo the foltowing
   Monday in lieu thereof.

   When workmen are called out for maintenance work outside of regular scheduled working hours, as
   defined in this Article, they shall be paid from the time they teave home until they return at one and one
   half (.11/z ) tímes the regular straight time rate of pay, with a mínimum of one (1) hóur,s time. This shall be
   in addition to regular, established mileage payments when the workman uses his own transportation.
   Sunday and legal holidays shall be paid at double (2) times the straight time rate of pay.

   The above tíme-and-a-haft (1%) clause shall not apply on the construction projects where there is a
   regular maintenance crew performing maintenance qvork on temporary facilitiei uît¡t aftur completÍon of
   said project-

   SEcTloN     3.-0.3   No work shall be performed on Labor Day, except in case of emergency to save life or
   n^roqeft1' Such work shall be reported within twenty-four (24) hours to the Business fr4anager by men and
   Contractors performing wo rk.

   SFcTloN 3.04 Wages shall be paid weekly in cash or by check on or before quitting time on the payday
   9f 9ac!"t week. Employees may voluntarily allow for direct electronic deposit oi wages on a weekly basii
   to the bank or credit union of the employee's choÍce. This rnanner of payment, oncð adopted, may not be
   changed except upon 30-day advance written notification between the employee anà Employer with
   notification copied to the Union. Employees using direct electronic deposit shall ieceive an accoúnting of
   payroll and deductions no later than five (5) days of deposit. This option shail be voluntary on
                                                                                                    the pañ of
   the Employer and Employee".




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   ln the event an Employer fails (a) to pay a worker his wages, either in the fonn of cash, check draft or
   direct electronic deposit by quitting time on pay day; (b) in the event a worker does not receive his pay on
   the established pay day, waiting time at lhe regular straight time rate of pay shall be charged until
   payment is made. However, waíting time shall not exceed eight (S) hours in any one twenty-four (24)
   hourperiod. When an Employee's paycheck is shortbyten (10) percentorless, lhe Employerhas until
   theír next established pay day to conect the error in full or the previous penalty will be enforced from that
   next established payday.

   ln the event unusual circumstances cause payroll not to be met, the Labor-Management Committee shall
   rule.

   The Employer shall pay a workman 2O% of the amount of any payroll check that is returned to the bank
   for lack of funds, as an inconvenience payntent to the Employee. This amount must be paid on or before
   the next regular payroll period. This shall not apply if evidence can be shown that it was not the fault of
   the Employer.

   Any workman faid off or discharged by the Employer shall be paid for all of his wages immediately. Any
   workman laid off ín the afternoon shall be paid the full day. Any time spent waiting for pay after 4:30 p.m.
   shall be charged at the straight time rate of pay per hour until payment is made. The workman shall
   continue working if so directed by the Employer. Any workman laid off shall have one (1) hour notice at
   any tíme in order to gather his tools and personal belongings. Any workman discharged for cause shall
   have sufficient time to gather his belongings, not to exceed thirty (30) minutes. Such wages shall include
   applicable lravel tirne and mileage

   Any workman beíng terminated for any reason will be given a 'termination slip' clearly setting forth the
   reason for termínation and eligibÍlity for rehire- Termination slíps will be furnished to the employer by the
   union.

   SECTION 3.05 Effective.June 1,2009, the minimum rate of wages shall be as followS (fringes are not
   included in base rate). It is mutualfy agreed, upon sixty (60) days written notification to the Employer, any
   portion of the agreed wage settlement may be applied to any fringe benefit that exists, as stipulated by
   the membership of IBEW Local Unìon 639:

   Effective June   l,   ?,009

   Wages:
   Joumeyman Wireman                          $32.20          1st Period Apprentice     {40%)             $12.88
   Foreman             110% of JW Rate        $35.42          2nd Period Apprentice     (45%)             514.49
   General Foreman 120% of JW Rate            $38.64          3rd Períod Apprentice     (s5%)             817-7',1
   JW Splicing         110% of JW Rate        $35.42          4th Period Apprentice     (65%)             $20.93
   JW Welding          105% of JW Rate        $33.81          5th Period Apprentice     (75%)             $24.15
   JWWelding-Certified 110% of JW Rate        $3s.42          6th Period Apprentice     (eo%)             $28.98
   JW Technician 100% of JW Rate              $32.20

            Fringes:                                          Deductions:
            Health &Welfare (Plan B)          $9.65           Workíng Assessment 6%
            Health &Welfare (Plan A)          $3.25                    Co-op
                                                              Labor/Mgmt         $0.10
            Local Pension                     $4.90           ÇOPE  (Optional)   $0.0s
            Apprenticeship Fund               $0.70           401K (optional) $o.oo, $1.50, $3.00, $5.00, $6.00
            NEBF                                3%
            NEIF                                 1%
            Labor/Mgt Co-op Fund              $0.10
            Administrative Maintenance Fund     .9%




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     Effective June 1.2010

             The Journeyman Wireman hourly rate shall be increased an additional fìfty cents ($0.50)
             The Pension Contribution shall be increased an addilional twenty-five cenis (g0.2ò)

    Effective Januarv         l.   2011.

             The Journeyman-Wireman hourly rate shall be increased an addîtional one. dollar (g1 ,00)
             The Health and Welfare contribution shall be increased an addítional fifly cents ($ò.ZS¡ '

    Çffective June      l.   2011

            The Pension contribution shail be increased an additíonal fifty cents ($0.50)
            The Health and Welfare contribtrtion shall be increased an add¡tional hfty cents ($0.2S)

    -Effectiv-e Januqrv 1, 2011
            The Joumeyrnan Wjreman hourly rate shall be increased an additional one dollar ($1.00)
            The Health and Welfare contribution shall be increased an additional twenty-five cänts ($O.zs)

    Effective Midniqht. Mav 31.            201.2

            The Joumeyman Wireman hourly rate shall be increased an addifional fifty cents ($0.s0)


    NOTE!!!!!
    All starting Apprentices indentured and employed under the terms of this Agreement on or after July             1,
    1980 shalf have Pension Contributions made in their behatf direcfly proportionãte to the percentage ofihe
    Journeyman rate they receive. Said percentage payment shall increase with each incremental ráise and
    be directly proportÍonate thereto, until the 100% contribution level is attained.

   All Apprentices indentured and emptoyed under the terns of this Agreement on or afrer June                l,   2006
   shalJ have:
            1- Pension A only Contributions made in their behalf directly proportionate to the percentage of
            the Journeyman rate they receive. Said percentage payment shall increaée wÍth each
            incrernental raise and be dírectly proportionate thereto, unfil the 100% contribution level is
            attained.

            2- Plan A only Health and Welfare Contributíons made in their behalf at the listed rate.

   The only benefit plans in which first year Apprentice and unindentured must participate are local health
   and welfare plans and the National Electrical Benefìt Fund.

   SECTION 3.06 The Employer agrees to deduct and forward to the Financial Secrerary of the Local Union,
   upon receipt of vofuntary written authorization, the additional working dues from thé pay of each IBEW
   member.
   The amount to be deducted shall be the amount specified in the approved Local Union Bylaws. Such
   arnount shall be certified to the Employer by the Local Union upon request by the Employer.

   SFPTION 3'07 Any workman at a higher classification shalt receive the higher rate of pay for a minimum
   of four (4) hours. lf he works beyond the four (4) hours, he shall receive the higher rate of pay for the
   entire day.

   SEgI!-iN 3'08 on jobs where workmen are required to work from trusses, swinging scaffolds, open
   ladders, scaffofds, bosun chairs, stacks, or towers where subject to a direct fall frr:rñ thä ground floor or
   support structure from a distance of fìfty (50) feet to ninety (90) feet, the rate shail be time-and-a-half
   (1%). Over ninety (90) feet, the rate shalf be double (2) the regular straight time rate of pay.


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   Where workmen are required to work under compressed air or in areas where injurious gases, dust, or
   fumes are present in amounts necessítating use of gas masks or self-contained breathing apparatus
   (particle masks are not considered self-cqntained breathÍng apparatus) or where workmen work on poles
   at a distance of seventy-five (75) feet'or rnore from the ground, they shall be paid a bonus of straight time
   pay. This shall be at a minimum of one hour, and thereafter, each succêeding hour or fraclion thereof
   shall constitute an hour at the bonus rate. Foreman to receive bonus pay calculated by the same
   formula.

   SECJJO.,Ì{ 3.09 Journeyman Wireman when splicing    cable: All work of joining, splicing, and insulating
   and  placing flameproof covering, where  wiped  lead  joints are necessary, shall be performed by
   Journeyman Wireman only. Joumeyman Wireman when splicing cable shall not be required to work on
   wires or cables when the difference in potentials is over 300 volts between any two conductors or
   between any conductor and ground unfess assisted by another Journeyman. ln no case shall
   Journeyman Wiremen when splicing cable be required to work on energized cables in excess of 480
   volts. When using stress cones and shields with all synthetic cables regardless of voltage when shielded
   and when ceftification ís required by the owner or general contractor, splicing and connecting thereto will
   be done at the Cable Splicer's raie set forth in this Agreement only when splicing.

   Journeyman Wireman when splicing cables shallfurnish hand tools, but shall be permitted to rent splicing
   tools, other than hand tools, to the Employer at a minimum rate of $25.00 per day worked.

   SECTION 3.10 When workmen.are directed to report to a job and do not start work on the job due to
   weather conditions, lack of material or other causes beyond their control, they shall receive two (2) hours
   pay plus the applicable travel time and mileage unless notified at least one-half {Y") hour before show-up
   time that morning, if workmen can be reached by telephone

   Workmen shall remain available for work, under shelter during this two (2) hour period. lf the men are put
   to work during this two (2) hour period and work beyond their show-up time, they shall receive four (4)
   hours pay. lf they start to work after lunch, they shall receive eight (8) hours pay, plus all applicable travel
   time and mileage.

   Ernployers directing workmen to work in the rain or under other adverse conditions shall furnish the
   appropriate protective clothing.

   SECTION 3.11 ln the event there is a bomb threat on any job or project before the regular starting tíme,
   áÍi workmen shall receive two (2) hours pay at the straight time rate and applicable travel time and
   mileage or subsistence. lf any workman chooses to leave the job or project prior to the end of the two (2)
   hour period, he shall receive pay at the straight tirne rate only for the time he remained on the job or
   project plus the applícable time and mileage or subsistence.

   lf there is a bomb threat after the start of the regular work shift and after the first two (2) hour period, all
   workmen shall be paid actual tirne worked plus applicable travel time, and mileage or subsistence. Time
   spent in holding areas as directed by the Employer shall be considered as time worked and paid
   accordingly.

   SEGTION 3.12 When workmen are required to perform work outside lhe jurisdiction of the Union, where a
   higher wage rate prevails, they shall be paid the higher scale.

   SËCTION 3.13 SHIFT WORK

   When so elected by the Contractor, multiple shifts of at least five (5) days duration may be worked. When
   two (2) or three (3) shÍfts are worked:

   The first shift (day shift) shall be worked between the hours of 8:00 a.m. and 4:30 p.m. Workmen on the
   "day shift shall receive eight (8) hours pay at the regular hourly rate for eight (8) hours work.


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    The second shift (swing shift) shall be worked between the hours of 4:30 p.m. and 12:30 a.m. Workmen
    on the "swing shift" shall receive eight (8) hour:s pay at the regular hourly rate plus 10% tor seven-and-
    one-half (7%) hours work.

    The third shift (graveyard shift) shall be worked between the hours of 12:30 a.m. and B:00 a.m. Workmen
    on the "graveyard shíft" shall receive eight (8) hours pay at the regular rate plus 15o/o for seven
    work.
                                                                                                            f/)
                                                                                                        hours


    A lunch period of thirty (30) minutes shall be allowed on each shift. All overtime work required afte¡ the
    completion of a regular shift shall be paid at one-and-one.haff times the lshift" hourly rate.

    There shall be no pyramiding of overtime rates and double the straight time rate shall be the maximum
    cornpensation for any hour worked

    There shall be no requirement for a day shift when either the second or the third shift is worked.

    SEGTION 3.14 Carrying tools or materials to and from the job is considered working, No workman shall
    carry tools or material outside of working hours except when using Ernployer's vehicle for Emptoyee's
    own convenience.

    sEC'IoN-3Jg On any job where workmen are exposed to radioactive materials and/or radiation in
    excess of one-tenth of the maxìmum possible timits (MPL), as established by the lnternational
    Commission on Radiation Protection, the Employer shall employ a qualified Journeyman Radiation
    Monitor working under the terms of this Agreement.

    Such radiation monitors shall determine the tocation of hazardous zones and shall be responsible for the
    radiation hazards therein. He shall maintain permanent and accurate time checks on all workmen
    entering and leaving such zones, including radiation dosages of all personnel emergíng from the radiation
   zone' He shall also be in charge of a decontamination of þersonnel, their tools, matãrial, or equipment.
   The radiation monitor shalt report to and be subject to tne dtewarã anu the supervising electrician on the
   job. Film badges and test equipment to be supplied by the Ëmptoyer.

   SeçflO¡¡ g.f o Workmen employed under the terms of this Agreement shall do all electrical construction
   and installation of electrical and electronic work and all electrical maintenance thereon. This shall ínclude
   the setting, processing, weldlng, cutting, burning, handling, and moving of all electrical materials,
   electrical equipment, and electrical apparatus, and the rnaking of the final running test and the installation
   of alf underground raceways. This shall afso include the installation of all electñtat fighting, heating and
   power egulpment, photovoltaic systems, solar systems, fuel cells, all power generatini grein technãlogy
   systems, electronic equipment, telemetering equipment, or any other electrical instrumãntal equipmeñ[
   with the installation of all related wiring, control wiring, fixtures, instruments, and devices. All conduit shall
   be cut, threaded, and bent, other than 6" and less nipples and factory 45-degree and gg-degree bends.
   The drilling, chasing; and channeling necessary to complete electrical ínstallãtion shall be performed by
   workmen employed under the terms of this Agreement. Afier material used in electrical work has reached
   a job site, it shall from thereon, be handled only by workmen employed under the terms of this
   Agreement. This shall not preclude the Union from furníshíng workmen to olher Employers for completion
   of electrical installation which are not íncluded by the electrical contract.

   It shall be understood that the scope of work covered by this Agreement does include the installation of
   telephone or communication work and the installation of all electronics or instrumentation equipment and
   related wiring.

   SEC.-TloN 3.17 The cutting and threading of all conduit and nipples shall be perforrned by workmen under
   the terms of this Agreement.




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   SECTTON 3.19 A Foreman shall be designated on all jobs having five (5) or more workmen of any
   classificat¡ôn covered by this Agreement and shall be paid per hour worked in this ctassification' No job
   Forman shall be allowed to supervise more than one (1) project at a time where workmen are in
   continuous employment on these projects. A job Foreman may work with the tools until seven (7)
   workrnen exclusive of Foreman who is on the job, then he shall act in a supervisory capaci$ only and
   then for not more than ten (10) workmen. He shall be permifted to drlve a vehicle containing workmen
   and/or material. Foreman or General Foremen will be allowed and shall not be precluded from incidental
   handfÍng of materials or accessing enclosures for inspection'

   ln cases where workmen are not readily available to handle and transport hand tools, the Foreman shall
   be permitted to perform this work. On all jobs requiring three (3) or more Foremen or in excess of twenty
   (20) workmen, a General Foreman shall be required. A General Foreman shall not supervise more than
   four (4) Foremen and shall be of the same classificatíon as the Foreman-

   On all jobs having Foremen, workmen, except in an emergency, are not to take orders or accept the
   tayout of work from anyone except theír assigned Foreman. Likewise, on a job having a General
   Foreman. Foremen are not to accept orders, except in an emergency, from anyone but their assigned
   General Foreman. General Foreman shall give orders only to his assígned Foreman, except ln case of
   an emergency.

   On alf jobs requiring more than four (a) Cable Splicers, a Cable Splicer Foreman shall be placed in
   charge of this work and receive General Foreman pay.

   ln any shop where the owner is acting as shop Foreman, he shall not act as job Foreman on jobs
   normally requiring such, under the terms of the Agreemenl, unless he empfoys only one       (1   ) Journeyman
   Electrician in his shop.

   Also, a working partner (as defined) under the terms of this Agreement shall not act as the shop Foreman
   in any shop employing tess than eight (8) Journeymen. ln all shops where the working partner is shop
   Foreman, he shall not, in any instance, act as job Foreman. Non-working Foreman does not apply to
   Residential work.

   SECTION 3.I9 TRAVEL

   The Union will refbr to all Electrical Employers at their recognized place of business as shown on their
   Letter of Assent at no expense to the Employer. Therefore, the Employer has the following options:

           A.   All Employers may request workmen to report direct to a job within a free zone to include
                everything west of ten (10) miles east of Highway 101, as the crow flies, and ten (10) miles
                north and south of Highway 46, as the crow flies, to the junction of Highway 41 and Highway
                46.  Everything outside this area shall be paid at full subsistence provided said job is of fìve
                (5) days duration or more and provided there is storage on the job for the EmployOee's tools.
                The Employer witl be responsible for loss of tools under such c¡rcumstances. (Road: The
                most direct route on a surfaced road.)

           B.   On all jobs or projects outside the free zone, as stated in ¡A' above, Employees may be
                required to report to the job site in their own transportation at the regular starting time and
                remain on the job site until the regular quitting time and these shall be paid at thirty-eight
                dottars ($38.00) per day or thirty-eight cents ($0-38) per mile for each road mile from shop to
                job and job to shop (round trip). (Day worked shall mean at least four (4) hours on the job
                 unless sent home on account of weather, emergency, sickness, or injury.)

           C.   The Employer shall pay for traveling time and furnish transportation from shop to job, job to
                job, and job to shop. Travel time shall be at the appropriate rate of pay for that day of the
                week. (Monday through Friday, straight time; Satrrrday ancl .Sr,rnrJay, double time.)



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    sEcTloN 3.20 Overtime is to be worked only Ín an ernergency or for short durations, or on jobs of
    unusual circumstances, which make sustaÍned overtime appropriate. The Employer and workmen
    contemplating scheduled overtime work shall first notiff the Business Manager. ln'caóes of emergency,
    such as the preservation of life or property, or to complete a job or project, such work shall be repoieo io
    the Business Manager not later that the next regular working day.

    lnsofar as practical, all overtíme in a shop or on the job shall be divided equalfy among the workmen
    regularly ernployed there. Under no circurnstances shall the workman not emplóyeo oritne job duríng
    regular workíng hours be placed on overtime work while any of the regular cre* í" not working, if the!
    desire to work on such overtime.

    SECTION 3-21 The Employer of workmen, or their agents, shall not give or accept direcfly or indirec¡y
    any rebate on wages. The Employer shall not directly or indirectly, or by any'subterfuge, sublet or
    contract with any workman, any or all of the labor services required by such ôonfact of the Êmployer. lf
    the Employer is found violating this provision, he shatl be subject to having this Agreement termínated
    upon written notice being given by the Union afterthe facts hàve been deüermined'Uy the lnternational
    Office.

    SECTION 3.22 UNDERGROUND DUCT WORK

    Shall include the instalfation of all Çpes of underground ducts or raceways used as enclosure for
    electrical conductors (either power, control, communication). lt shall include all cutting and rodding of
    saine and the installation of "Fish or Pull" wires and accompanying ground wires. Thã handling oi all
    material frorn the first point of delivery on the job site to the final ¡nstàlLat¡on of the ducts shall be covered
    under the Agreement, as well as the supervision of pouring the concrete envelope.


   SECTION 3.23 TUNNELS

              A. The minimum rate        of pay for tunnel work shall be paid at the time-and-one-quarter (1%)
                   hourly rate- Whenever there is electrical construction, maintenance, or tempoiary work of
                   either power, lighting, or communication to be performed in or about a tunnel shaft-or adit, it
                                                                                                              -be
                   shall be done by workmen employed under the terms of this Agreement. This shall also
                   interpreled to include all electrical maintenance or repair woik and battery charging and
                   chargíng on battery-operated electrical motors.

              B-   Whenever a shift crew, or a major portion thereof, or two (2) other crafts, one (1 working in a
                                                                                                     )
                   tunnel where there is electrical fight or power, at least one Journeyman Wiieman shall be
                   employed to rnaintain and perform the etectrical installation for that crew.

              C'   When more than one (1) heading ís worked from one (1) adit or shaft, a wireman shall be
                   assigned to each crew.orshift, and one (1) to each heading unless both headings are readíly
                   available to that one (1) wireman.

              D.   Workmen shalinot be required to enter the heading after a blast until all the requirements of
                   the State Safety Codes have been fully complied with.

              E- All electrical   work being performed under the terms of this suppfement shall be governed by
                   Tunnel Safety orders issued by lndustrial Safety; Electricai Safety Orders ¡sðued by thè
                   DÍvision of lndustrial Safety; and, when applicable, General Order No. 95, issued by the State
                   Public Utilities Commission.

              F.   The daily reporting, or starting, point shall be the electrical shop of tunnel entrance, if
                   adjacent to a stritable, avaîJable parking lot, otherwîse from such parking lot. The workmen's
                   daily pay shall start and end at thís reporting place. However, workmen shall receíve a daily




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                compensation for clothing change time and for travel time in and out of tunnel with regular
                tunnel crew, before and after regular shift hour as follows.

           G.   Workmen shall not be required to work more than five (5) hours without        a meal, and if
                workmen do, they will receive one-half (%)hou¡ bonus at the tunnel rate of pay.

           H.   The Employer shall furnish workmen with rubber boots, raincoats, proteclive helmets, and
                clothing without charge where required and needed in and about tunnel. The Employee shall
                be responsible for these iterns and shall return them to the Employer at the time of
                termination.


   SECTION 3.24 OFF-SHORES WORK

   An additional 18% per hour Ín pay shall be paid to all Employees for work on all off-shore installations
   away from the mainland when the Employees are required to remain away from home'overnight, plus
   room and board. The Contractor shall also furnish tswels, soap, and linens daily. Clean, sterilized
   blankets shall be furnished at the beginning of each job and every thirty (30) days thereafter. All
   Employees will be furnished with a locker, lock, and at least one-hundred (100) square feet of living
   quarters, which shall comply with the California State Housing Code.

   When practical, Employees working under the terms of the Agreement shalf be housed together. When
   working under the terms of this Agreement, Employees shall eat theii meals in the facilities provided them
   by a civilian catering service when available.

   Also, when working on off-shore installations and the workmen are required to remaín overníght, no
   workman shall receive less than eight (B) hours pay each day. The point of embarkation for all ofüshore
   facilities shall be considered job site for the purpose of establishing working hours and/or daily travel
   expense. The Employer is to be responsíble for belongings left at.the point of embarkation.

   SECTION 3.25 MAKE-UP TIME

   lf an employer approves a written request of an employee to make up work time that is or would be lost
   as a result of a personal obligation of the employee, the hours of that makeup work time, if performed in
   the same workweek whÍch the work time was lost, will not be counted toward computing the total number
   of hours worked in a day for purposes of the overtime requirements, except for hours in excess of B hours
   worked in one day or 40 hours worked in one workweek. An employee shall provide a signed written
   request for each occasion that the employee makes a request to makeup work time pursuant to this
   section. The Employer shall forward a copy of the request to the union hall. lf an employee knows in
   advance that he will be requesting makeup time for a personal obligation that will recur at a fixed time
   over a succession of weeks, the employee may request to makeup work time for up to four weeks in
   advance; provided, however, the makeup work must be performed in the same week that the work time
   was lost.




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                                                    ARTICLE IV

                                            REFËRRAL PROCEDURE

    SEçTION 4.:01 [n the interest of maintaíning an effìcient system of production in the industry, providing for
    an orderly procedure of referraf of applicants for employment, preserving the legitimate interest of
    Employees in their empfoyment status within the area and of eliminating discrimination in emptoyment
    because of membership or non-membership in the Union, ihe parties hereto agree to the following
    system of referral of applicants for employment.

    SECTION 4'02 The Union shall be the sole and exclusive source of referal of applicants for employment.

    SECTION 4.03 The Employer shall have the right to reject any applicant for employment.

    SECTION 4.04 The Union shall select'and refer applicants for employment without discrimination against
    such applicants by reason of membership or non.membership in the Union and such sefection and
    referal shall not be affected in any way by rufes, regulations, bylaws, constitutional provisions, or any
    other aspect or obligation of Union membership policíes or requÍrements. All such selection and referraf
    shall be in accord with the folfowing procedure.

    SECTIO.N 4.05 The Union shall maintain a register of applicants for employment established on the basis
    of the Groups listed below. Each applícant for employment shall be registered Ín the highest priority
   group for which he qualifies.


                          JOURNEYMAN WIREMAN            -   JOURNEYMAN TECHNICIAN

   GROUP     I      Alt applicants for employnent who have four or more years experÍence in the trade, are
    resídents of the geographical area constituting the norrnal constructlon laboi market, have passed a
   Journeyman Wireman's examination given by a duly constituted lnside Construetion Local Union of the
    |.B.E,W. or have been certified as a Journeyman Wireman by any lnside Joint ApprentÍceship and
   Training Committee and who have been employed in the trade for a period of at least one year in the last
   four years ín the geographical area covered by the collective bargaining agreement- Group I status shall
   be limited to one Locaf Union at a time. An applicant who qualifies for Group I in a focal union shall be so
   registered electronically and remain on Group I ín that local union unless and until the applicant
   designates another local union as his or her Group I local union. lf an applicant qualifìes for Group I
   status in a local union other than his or her home local union and designates that as hís or her Group I
   local union, the business manager of the new Group I status local union shall by electronic means notify
   the business manager of the applicant's former Group I status local union.

   GROUP ll        All applicants for employment who have four or more years experience în the trade and
   who have passed a Joumeyman Wireman's examination given by a duly constituted lnside Construction
   Local Union of the I.B.E.W. or have been certifìed as a Journeyman Wireman by any lnside Joínt
   Apprenticeship and Training Committee.

   GROUP    lll     All applícants for employment who have two or more years experience in the irade are
   residents of the geographical area constituting the normal construction tabor market and who have been
   employed in the trade for at least six months in the last three years in the geographical area covered by
   the collective bargaining agreement.

   GROUP    lV     All applicants for employment who have worked at the trade for more than one year.

   SecflO¡l  ¿.09- lf the registration list is exhausted and the Local Union is unable to refer applicants for
   employment to the Employer within forty-eight (48) hours frorn the tíme of receiving tho Employer's
   request, Saturdays, Sundays, and HolÍdays excepted, the Employer shall be free to secure applicants




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   without us¡ng the Refenal Procedure, but such applicants, if hired, shall have the status of "Temporary
   Employees.'

   SEGT¡ON 4.02 The Employer shall notify the Business Manager promptly of the names and Social
   Security numbers of such 'Temporary Empfoyees' and shall replace such "Temporary Employees" as
   soon as registered applicants for employment are available under the Referral Procedure.
   SE9TI_O-N- 4!08 'Normal construction labor market" is defined to mean the following geographical area
   plus the commuting distance adjacent hereto which includes the area from which the normal labor market
   is secured:

                                  SAN LUIS OBISPO COUNTY, CALIFORNIA

   The above geographical area is agreed upon by the partíes to include the areas defined by the Secretary
   of Labor to be the appropriate prevailing wage areas under the Davis-Bacon Act to which this Agreement
   applies.

   SECTION 4.09 'Resident' means a person who has maintained his permanent home in the above-
   defined geographical area for a period of not less than one year or who, having had a permanent home in
   this area, has temporarily left with the intention of returning to this area as his permanent home.

   SECTTON 4.10 An "examination" shall include experience rating tests if such examinations shall have
   been given prior to the date of this procedure, but from and after the date of this procedure, shall include
   only written and/or practical examinations given by a duly constituted lnside Construction Local Union of
   the LB.E.W- Reasonable intervals of time for examinatíons are specÌfied as ninety days. An applicant
   shall be eligible for examination if he has had four years experience in the trade.

   SECT¡ON 4.11 The Union shall maintain an 'Out of Work List" which shall list the applicants within each
   Group in chronological order of the dates they register their availability for employment.

   SECTTON    f.f 3 An applicant who is hired and who receives, through no fault of his own, work of forty (40)
   hours or less shall, upon.re-registration, be restored to his appropriate place within his Group.

   SECTION 4.14fa). Employers shall advise Business Manager of the Local Union of the number of
   applicants needed, The Business Manager shall refer applicants to the Employer by flrst referring
   applicants in Group I in the order of their place oh the 'Out of Work List" and then refering applicants in
   the same manner successively from the 'Out of Work List' în Group ll, then Group lll, and then Group lV.
   Any appficant who is rejected by the Employer shall be returned to his appropriate place within his Group
   and shall be referred to other employment in accordance with the position of his Group and his place
   within his Group.

   SFCTIOI| 4.f 4(b).. An applicant who is discharged for cause two times within a 12-month period shall be
   referred to the neutral member of the Appeals CommÍftee for a determination as to the applicant's
   continued efigíbilÍty for referral. The neutral member of the Appeals Committee shall, within three
   business days, review the qualifications of the applicant and the reasons for the discharges. The neutral
   member of the Appeals Committee may, in his or her sole discretion: (1) require the applicant to obtain
   further training from the JATC before again being eligible for referral; (2) disqualify the applicant for
   referral for a period of four weeks, or longer, depending on the seriousness of the conduct and/or
   repetitive nature of the conduct; (3) refer the applicant to an employee assistance program, if available,
   for evaluation and recommended action; or (4) restore the applícant to his/her appropriate place on the
   referral list.

   SECTION 4.15 The onfy exception which shall be allowed in thís order of referral is as follows:
   (a). When the Employer states bona fide requirements for special skills and abilities in his request for
   applicants, the Business Manager shall refer the first applicant on the register possessing such skills and
   abilities.




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    (b).The age ratio clause in the Agreement calfs for the employment of an addítional employee or
    employees on the basis of age. Therefore, the Business Manager shall refer the first applicant on the
    regisler satisñ7ing the applicable age requirements provided, however, that all names in higher priority
    Groups, if any, shall first be exhausted before such overage reference can be made.

    SECTION-4-19 An Appeals Committee is hereby established composed of one member appoínted by the
    9_niol, one member appointed by the Employer or by the Association, as the case may be, and a public
    Member appointed by both these members.

    SE-CTION 4.17 lt shall be the function of the Appeals Committee to consider any comptaint of any
    Employee or appficant for employment arising out of the admínistration by the Local Uñion of Section 4.04
    through 4.14 af this.Agreement. The Appeals Committee shall have the power to make a final and
    bÍnding decision on any such complaint which shall be complied with by the Local Union.

    The Appeals Committee is authorized to issue procedural rules for the conduct of its business, but it is not
    authorized to add to, subtract from, or modíS any of the provísions of this Agreement and its decísions
    shall be in accordance with Agreement.

    SECTI9N    4.18-   A representative of the Employer or of the Association, as the case may be, designated to
    the Union in writing, shall be permitted to inspect the Referral Procedure records ãt any time ouring
    normal business hours.

    SEçTION 4.19 A copy of the Referal Procedure set forth in this Agreement shail be posted on the
    Bulletin Board in the offices of the Local Union and in the offices of the Employers who are parties to this
    Agreemenl

    SEGTION 4.20 Apprentices shall         be hired and transferred in accordance with the       Apprentíceship
    Provisions of the Agreement between the parties.




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                                                         ARTICLE V

                                          APPRENT¡CESHIP AND TRAINING



       SECTION 5.01 There shall be a local Joint Apprenticeship and Traíning Committee (JATC) consisting of a
       total of either 6 or I members who shall also serve as Trustees to the local apprenticeship and training
       trust. An equal number of members (either 3 or 4) shall be appointed, in writing, by the local chapter of
       the National Electrical Contractors Association (NECA) and the local qnion of the               lnternational
       Brotherhood of Electrical Workers (IBEW).
       :



       The local apprenticeship standards shall be in conformance with national guideline standards and
       industry policies to ensure that each apprentice has satisfactorily completed the NJATC required hours
       and course of study. Atl apprentíceship standards shall be registered with the NJATC before being
       submitted to the appropriate regístratíon agency.

       The JATC shall be responsible for the training of apprentices, journeymen, installers, technicians, and all
       others (unindentured, intermediate journeymen, etc.)

       SECJI-O.N-5.02 All JATC member appointments, reappointments and acceptance of appointments shall
       Ue ¡n writ¡nõ: each member shall be appointed for a three (3) year term, unlèss being appointed for a
       lesser period of time to complete an unexpired term. The terms shall be staggered, with one (1) term
       from each side expiring each year. JATC members shall complete their appointed term unless removed
       for cause by the party they represent or they voluntarily resign. All vacancies shall be filled immediately.

       The JATC shall select from its membership, but not both from the same party, a Chairman and a
       Secretary who shall retain voting privileges. The JATC will maintain one (1) set of minutes for the JATC
       cornmittee meetings and a separate set of minutes for
       Trust meetings.

       The JATC should meet on a monthly basis, and afso upon the call of the Chairrnan.

       SECTION 5.03 Any issue concerning an apprentice or an apprenticeship matter shall be referred to the
       JATC for its review, evaluation, and resolve; as per standards and policies. lf the JATC deadlocks on any
       issue, the matter shall be refened to the Labor-Management Committee for resolution as outlíned in
       Article I of thís Agreement; except for trust fund matters, which shall be resolved as stipulated in the local
   .   trust fund instrument.

       SECTION 5.04 There shall be only one (1) JATC and one (1) local apprenticeship and traíning trust. The
       JATC may, however, establish joint subcommittees to meet specifìc needs, such as residential or
       telecommunication apprenticeship. The JATC may also establish a subcomrnittee to oversee an
       apprenticeship program withín a specified area of the jurísdíctíon covered bythis Agreement.

       All subcommittee members shall be appointed, in writing, by the party they represent. A subcommittee
       member may or may not be a member of the JATC.

       SECTION 5.05 The JATC may select and employ a part-time or a full-time Training Director and other
       support staff, as lt deems necessary. ln considering the qualifications, duties, and responsibilities of the
       Training Director, the JATC should review the Training Director's Job Descriptio n provided by the NJATC.
       All employees of the JATC shall serve at the pleasure and discretion of the JATC.

       SECTION 5.86      To help insure     diversity   of training, provide reasonable    continuous employment
       opportunitÍes, and comply wiih apprenticeship rules and regulations, the JATC, as the program sponsor,
       shatt have full authority for issuÍng all job training assignments and for transfening apprentices from one
       employer   to another. The      employer shall cooperate      in   providing apprentices with needed work



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    experiences. The local union referral offìce shall be notified, in writing, of alljob training assignments. lf
    the employer is unable to províde reasonable continuous employment for apprentices, ihe JATC is to be
    so notified.

    SECTION q.07 All apprentices shall enter the program through the JATC as provided for ín the registered
    apprenticeship standards and selection procedures.

    An apprenlice may have theÍr indenture canceled by the JATC at any time príor to completion as
    stipulated in the registered standards. Time worked and accumulated in apprenticeship shall not be
    considered for focal union referral purposes until the apprentice has sãtisfied all conditíons of
    apprenticeship. lndividuals terminated from apprenticeship shall not be assigned to any job in any
   classifìcation, or participate in any related training, unless they are reinstated in apprenticeshìpas per, thé
   standards, or they qualifo through means other than apprenticeship, at some time in the future, but no
   sooner that two years after their class has completed apprenticeship, and they have gained related
   knowledge and job skills to wanant such classificalion.

    qEcT¡gN 5.08 The JATC shall select and indenture a sufficient number of apprentices to meet local
    manpower needs. The JATC is authorized to indenture the number of apprenlices necessary to meet the
   job site ratio as per Section 5.12.

   sËcTl9N 5.09 Though the JATC cannot guarantee any number of apprentices; if a qualÍfied employer
   requests an apprentice, the JATC shall make every effort to honor the request. lf unable to fill the requêst
   within ten (10) working days, the JATC shall select and indenture the next available person from the
   active list of qualified applÍcants. An active list of qualífied applicants shatl be maintained by the JATC as
   per the selection procedures.

   SECT¡ON 5.10 To accommodate short*ferm needs when apprentices are unavailable, the JATC shall
   assign unindentured workers who meet basic qualification for apprenticeship. Unindentured workers shall
   not remain employed if apprentices become available for OJT assignment. Unindentured workers shall
   be used to meet site ratios except on wage and hour (prevailing wagé) jou sites.

   Before being emptoyed, the uníndentured person must sign a letter of understanding with the JATC and
   the. employer- agreeing that they are not to accumulate more than two thousand (Z,ooo¡ hours as an
   unindentured, that they are subject to replacement by indentured apprentices and tfrat tttey are not to
   work on wage and hour (prevailing wage) job sites.

   Should an unindentured worker be selecJed for apprenticeship, the JATC will determine, as provided for
   in the apprenticeship standards, if some credit hours worked as an unindentured will be applied toward
   the minimum OJT hours of apprenticeship.

   The JATC may elect to offer voluntary related training to unindentured; such as Math Review, English,
   Safety, Oríentation/Awareness, and lntroduction to OSHA, First-Aid and CPR. participat¡on shall be
   voluntary.

   SECTION 5.11 The employer shall contribute to the focal health and welfare plans and to the National
   Electrical Benefit Fund (NEBF) on behalf of all apprentices and unindentured. Contributions to other
   benefit plans may be addressed in other sections of this agreement.

   SECTION Þ.12 Each job site shall be allowed          a   ratio of two (2) apprentíces for every three (3)
   Journeyman Wiremen (man).

           Number of Journeymen                      Maximum Number of Apprentices/Unindentured
                   1to3                                               ¿
                   4to6                                              4
                    etc.                                             etc.




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   The {ìrst person assigned to any job site shall be a Journeyman Wireman.
   A job site is considered to be the physical location where employees report for their work assignments.
   The employer's shop (service center) is considered to be a separate, single job site. Alt other physical
   locations where workers report for work are each considered to be a single, separate job site.

   SECTION 5.13 An apprentice is to be under the supervision of a Journeyman Wireman at all times. This
   does not imply that the apprentice must always be in sight of a Journeyman. Journeymen are not
   required to constantly watch the apprentice- Supervision will not be of a nature that prevents the
   development of responsibility and initiative. Work may be laid out by the employer's designated
   supervisor or joumeyman based on their evafuation of the apprentice's skills and ability to perform the job
   tasks- Apprentices shall be permitted to perform job tasks in order to develop job skills and trade
   competencies. Journeymen are permifted to leave the immediate work area without being accompanied
   by the apprentice.

   Apprentices who have satisfactorily completed the first four years of related classroorn training using the
   NJATC curriculum and accumulated a minimum of 6500 hours of OJT with satisfactory performance shall
   be permitted to work alone on any job site and receive work assignments in the same manner as a
   Journeyman Wireman. An apprentice shall not be the first person assigned to a job site and apprentices
   shall not supervìse the work of others.

  'SEeTION 5.14 Upon satisfactory comptetion of apprenticeship, the JATC shalf issue all graduating
   apprentices an appropriate diploma from the NJATC. The JATC shall encourage each graduating
   apprentice to apply for college credit through the NJATC. The JATC may also require each apprentice to
   acquire any electrical license required for journeymen to work in the jurisdiction covered by this
   agreement.

   SECTION 5.15 The parties to the Agreement shall be bound by the Local Joint Apprenticeship and
   Training Trust Fund Agreement which shall conform to Section 302 of the Labor Management Relations
   Act of 1947 as amended, ËRISA, and other applicable regulations.

   The Trustees authorized under this Trust Agreement are hereby empowered to determine the reasonable
   value of any facilities, materíals or servíces fuinished by either party. Alt funds shall be.handled and
   disbursed in accordance with the Trust Agreement.

   SECTION 5.16 All Employers subject to the terms of this agreement shall contribute the amount of funds
   specified by the party's signatory to the locat apprenliceship and training trust agreement. The current
   rate ís referenced in Section 3.05. This sum shall be due the Trust Fund by the same date as their
   payment to the NEBF under the terms of the Restated Employees Benefit Agreement and Trust.




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                                                   ARTICLE VI

                                    FRINGE BENEFITS AND DEDUCTIONS

    SFCIlolt= 6.01- lt is agreed that in accord with the Employees Benefit Agreement of the Nationat
    Electrícal Benefit Fund ("NEBF'), as entered into between the Ñational Electricál Contractors Association
    and the lnternational Brotherhood of ElectrÍcal Workers on September 3, 1946, as amended, and now
    delineated as the Restated Employees Benefìt Agreement and irust, that unless authorized otherwise by
    the NEBF, the individual Employer will forward monthly to the NEBF's designated local collection ageni
    an amount equaf to 3o/o of his gross monthly labor payroll paid to, or accrued by, the employees inlhis
    bargaining unit, and a completed payroll report prescribed by the NEBF. The payrment srrält úe made by
    check or draff and shall constítute a debt due and owing to the NËBF on the'lait day of each calendar
    month, which may be recovered by suit ínitiated by the NEBF or íts assignee. Thé payment and the
    payroll report shall be maíled to reach the office of the appropriate local colleclion ageni not later than
    fifteen (15) calendar days following the end of each calendar month.

    The individual Ëmptoyer hereby accepts, and agrees to be bound by, the Restated Employees Benefit
    Agreement and Trust.

    An indÎvidual Emptoyer who fails to remit as provided above shall be additionalty subject to having his
   agreement terminated upon seventy-two (72) hours notice, in wriling, being served by the Unjon, proviOeO
   the indivídual Employer failç to show satisfactory proof that the requíred pãyments hãve been paio to tne
   local collection agent.

   The failure of an individual Employer to comply with the applicable provisions of the Restated Employees
   Benefìt Agreement and Trust shall also constítute a breach of this labor agreement.

   SEcTlgU6-A¿ The individuat Employer shall contribute and forward monthly to the Local Union Heatth &
   Welfare Trust Fund a contribution amount as specified in Article lll, Sectioñ.3.05 per hour paid. Travel
   time hours, over time hours, high time hours, hazardous hours, and bonus differentials shaU also be
   calculated and paid as additional hours worked. The payment and payroll report shall be rnailed to reach
   the Trustees or their designated agent not later than fifteen (15) caiendar days following the end of each
   calendar month.

   Alf Contractors signatory to this Agreement shall be bound by the terms and condjtions of the Electrical
   Workers Area Long Term Disability Trusf Plan.

   SECTION 6.03 San Luis Obispo County Electrical Joint Apprentíceship and Trainíng Fund: Employer
   contribution equal to the amount specified ín Article lll, Section 3.0s per hour paíd.

   The payment and payroll report shall be mailed to reach the Trustees or their designated agent not later
   than fifteen (15) calendar days following the end of each calendar month.

   9EG'T!ON .P-q4 The indivídual Employer shall contribute and forward monthly to the Central Californía
   IBEW-NEGA Pension Trust Fund a contribution as specified in Article lll, Sáction 3.0S per hour paid.
   (Overtime hours and bonus differentials shall also be calculated and paid as addÍtíonaf hours woried).
   The payrnent and payroll report shall be mailed to reach the Trustees or their designated agent not later
   than fifteen (15) calendar days followlng the end of each calendar month,

   SEçTloN 6.05. The individual Employer shall contribute and forward monthly to the San Luis Obispo
   Labor Management Cooperative Fund a contribution amount as specified in Árticte lll, Section 3.05 per
   hours paid. The payment and payroll report shall be mailed to reach the Trustees or their designaied
  agent not later than fifteen. (15) calendar days following the end of each calendar month.

  SECT¡ON 6.0.6 The Employer shall make all legal payroll withholdings for tncome Tax, Social Security,
  Unemployment lnsurance, etc., from the total wages.



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            A. The monthly      transmittal shall cover every Employee subject to this Agreement on the payroll
                 for all payrollweeks ending within the calendar month.

            B. On the monthly transmittal form as provÍded form in ArticlelV, the followíng information
                 concerning each Employee shall be set forth in separate columns:   (1) Socíal Security
                 Number, (2) Name of Employee, (3) the number of hours worked, and (4) the gross earnings.
        '        The total of these amounts shall be given together with the check number and date of
                 payment.

            C.   The employer agrees to be bound by all the terms and conditions of the Agreement and the
                 Declaration of Trust of the following Trusts: Health and Welfare, Electrical Apprentice and
                 Manpower TraínÍng.Fund, National Electrical Benefit Fund, and Central California IBEW-
                 NECA Pension Trust Fund, and agrees further to be bound by all of the obligations imposed
                 there under and any modifications or changes therein.

   9ECTION 6.07 lndividual Employers who failto remit as provided for in Sections 6.02, 6.03, 6.04, 6.05,
   and 6.06 shall be additionally subject to having this Agreement terminated upon seventy-two (72) hours
   notice, in writing, being served by the Union, provided the individual Employer fails to show satisfactory
   proof that the required payments have been made.

   sEcTtoN 6.08

            A. Failure of an individual Employer to comply with the provisions of Sections 6.02, 6.03, 6.04,
                 6.05, 6.06 and 6-07 shall also constitute a breach of thís Labor Agreement As a remedy for
                 such a violation, the Labor-Management Committee and/or the Council on lndustrial
                 Relations for the Electrical Contracting Industry, as the case may be, are empowered, at the
                 rèquest of the Union, to require an Employer to pay into the affected Joint Trust Funds
                 established under this Agreement any delínquent contributions to such tunds whích have
                 resulted from the violation.

            B. lf, as a result of violations of this Section, it is necessary for the Union and/or Trustees of the
                 Joint Trust Funds to institute court action to enforce an award rendered in accordance with
                 subsection A, above, or to defend an action which seeks to vacate such award, the Ëmployer
                 shalf pay any accouniants and attorneys fees incurred by the Uníon and/or fund Trustees,
                 pfus the cost of the litigation, which have resulted from the bringing of such court action.

            C.   All payments required by Article V, Section 5.11 and 5.16, and Article Vl, Sections 6.02,,6.03,
                 6.04, 6.05, and 6.06 snált Ue forwarded to the depository not later than the fifteenth ltSth¡ Oay
                 of the following month. lf these payments and reports are not mailed to the depository by the
                 2Oh day of the following month, liquidaied damages equal to 1Ùolo of the amount owed will
                 become immediately due and owing. lf suit is brought to collect said unpaid contributíons,
                 liquídated damages equal to 2O% of the amount owed will ímmedíately become due and
                 owing.

   sEcTtoN 6.09

   The Employer agrees to deduct and transmit to IBEW-COPE an amount of five cents ($0.05) per hour
   from the wages of each Employee who voluntarily authorizes such contributions on the forms provided for
   that pufpose by IBEW-COPE. These transmíttals shall occur monthly an<J shall lre accompanied by a list
   of names of those Employees for whom such deductions have been made and the amount deducted for
   each such Employee.




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                                                      ARTICLE VII

                                   NATTONAL ELECTRTCAL |NDUSTRY FUND (NE|F)

    SESIQN¿9.I. Each individual Employer shallcontribute an amount not to exceed one percent (l%) nor
    less than -2 of 1% of the productive electrical payroll, as determined by each local Chapier and approved
    by the Trustees, with the following exclusions:

             A. Twenty-five percent   (25o/o) ofall productive electrical payroll in excess of 75,000 man-hours
                 paid for electrical work in any one Chapter area during any one calendar year, but not
                 exceeding   1   50,000 man-hours.

             B. one   hundred percent (100%) of all productive efectrical payroll in excess of 150,000 man-
                 hours paid for electrical work in any one Chapter area during any one calendar year.

    (Productive electrical payroll is defined as the total wages, including overtime, paid with respect to
                                                                                                                all
    hours worked by all classes of electrical labor for which a wage is estãblished in ti're prevailing iabor areâ
    where the business is transacted.)

    Payment shall be forwarded monthly to the National Electrical lndustry Fund in a form and manner
    prescribed by the Trustees no faterthan fifteen (15) calendar days following the last day of the
                                                                                                     month in
    which-the
                þ091 ya9 ¡erformed. Failure to do so wiJl be considéred a breãch of this Agreement on the
    part of the individual Ernployer.




                                                     ARTIGLE VI¡I

                                                       SAFETY

   ÊECTAN-g.gL There shall be a Joint Safety Committee consisting of three members representing the
    Employer and three mernbers representing the Union. The duties or this Committee shall be to deüelop
    and recommend safe work rules that are equal to or greater than the standards of construction as
   established by the Occupational-safety and Health Act of 1970, or other applicabfe Federal or State laws.
   Such rules, and other safety rules provided in the Artícle, are minimum iufes and not intended to imply
   that the Union objects to the establishment and ímposition by the Employers of additional or more
   stringent safety rules to protect the health and safety oi the Emplóyees.

   SEcTloN 8.02       lt shall also be a function of this Committee to study these safe work rules and
   recommend their update to the parties to this Agreement for possible inclusion in this Agreement. This
   Committee shall meet at least once each quarter and also when called by the Chairmarior when called
   by a majority of the current Committee members.

   SEcTloN 8.03 Members of the Joint Safety Committee shall be selected by the party they represent.
   Their term of office shall be three (3) years unless removed by the parÇ they iepresent. The terrn of one
   (1) Employerand one (l) Union representatÌve shall expire each yearwith successors to be determined
   in the same manner as the origínal appointments were made. A Committee member is elgÍble to
   succeed himself.

   SECTI9N 8.04 Two (2) Journeyrnen shallwork together on att energized circuits of 440 volts AC or 250
   volts DC, or respective higher voltages. Journeymen shall be usedJn assisting a Journeyman Wireman
   while splicing cable.

   sËcTloN 8'q5 Journeyman Wireman, while splicing cable shall not be required to work on wires or
   cables when the difference in potentials is over 240 volts between any two conductors or between any




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   conductor and ground, unless assisted by one (1) Journeyman. ln no case shall Journeyman Wiremen,
   while splicing, be required to work on energized cables carrying in excess of 480-volt circuits.

   SECTION 8.06 No Employees shall be compelled to use                 a   powder'actuated   tool.   Only qualified
   Employees shall be permitted to use powder-actuated tools.

   SECTIO_I)! 8.07   The Employer shall furnish hard hats when such are required and shall also furnish
   proper individual protective gear to workmen engaged in burning and welding operations.

   SECTION 8.08 The safe practices that are in effect on utility company property which are more stringent
   than those in thÍs Agreement shall apply to work which is performed on that property under the terms of
   this Agreement.

   SECTIO¡| 8.09 lt ís the Employer's exclusive responsibility to ensure the safety of its Ëmployees and their
   compliance with these safety rules and standards-

   SECTION 8.10 Adequate safety and protective devices shall be supplied workmen by the Employer on all
   hazardous work in accord with the Safety Orders of the lndustrial Accident Commission and the rules of
   the Union. They shall also observe instructions of the Employer ín matters of safety, provided such
   instructions are not in conflict with safety orders of the lndustrial Accident Commission as recognized
   practices in the Trade.

   Contractors shall furnish the Local Union Business Manager a copy of each accident report made to the
   Compensation lnsurance Carrier as a result of injury to any workman employed under the terms of the
   Agreement. ln the event of a fatal Ínjury, the Employer shall immediately inform the Local Business
   Manager by telephone and all available information shall be given to him.

   The Employer shall be responsible for furnishing First Aid Kits, sanitary facilities, and drinking water on all
   jobs.

   The Steward shall support the Employer's Safety Procedures.


                                                   ARTICLE IX

                     LOGAL LABOR-MANAGEMENT COOPERATTVË COMMTTTEE (LMCG)

   SECTION 9.01 The parties agree to participate in a Labor Management Cooperatíon Fund under the
   authority of Section 6(b) of the Labor Management Cooperative Act of 1978, 29 U.S.C. $175(a) and
   Section 302(cXg) of the Labor Management Relatíons Act, 29 U.S.C. $186(cX9). The purposes of thís
   Fund shall ínclude the following:

           1    to improve communications between representatives of Labor and Management;

           2    to   provide workers and employers with opportunities          to study and explore new ,and
                innovatÍve joint approaches to achieving organizational effectiveness;

           3.   to assist workers and ernployers in solvíng problems of mutual concern not susceptible to
                resolution within the collective bargaining process;

           4. to study and explore         ways    ofeliminating potential problems which reduce the
                competitiveness and inhibit the economic development of the electrical construction industry;

           5. to sponsor      programs which improve      job security, enhance economic and community
                development, and promote the general welferc of the community and industry;




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            6.     to engage in research and development programs concerning various aspects of                 the
                   industry, including, but not límited to, new technoiogies, occupatioñal safety and health, labor
                   relations, and new methods of improved production;

            7.    to engage in public education and other programs to expand the economíc development of
                  the efectrical construction industry;

            8.    to enhance the involvement of workers in making decisions that affect their working lives;
                  and,

            9.    to engage in any other lav¡'ful activities incidental or related to the accomplishment of these
                  purposes and goals.

    SECTION 9-02 The Fund shall function in accordance with, and as provided in, it's Agreement
                                                                                                    and
    Declaratíon of Trust, and any amendments thereto and any other of its governing documents. Each
    Emp]gyg! hereby accepts, agrees to be bound by, and strai ¡e entifled ti participãte in the LMGC, as
    provided in said Agreement and Declaratíon of Trust.

    SECTloNl.0S Each empfoyer shall contribute the amount as specified in Articte !il, Section 3.05 per
    hour paid under the AgreeTent on a monthty basis. Payment sháll be forwarded roÑnty, in a form
                                                                                                         and
    manner prescribed.by the Trustees, no later tha¡ fifteen (15) calendar days following tne iast day
                                                                                                       of the
    month in which the labor was performed. The California-Central Coast Cirapter, NEbA, or its designee,
    shall be the collection agent for this fund.

    sECTlgN 9.04 lf an Empfoyer fails to make the required contributíons to the Fund, the Trustees shall
    have the right to take whatever steps are necessaryto secure compliance. ln
                                                                                ne eventihl Employer is in
    default, the Employer shall be liable for a sum equal lo 15% of the delinquent payment; but not
                                                                                                    less than
   the sum of twenty dollars ($20), for each month payment of contributions is a"iinquent io the Fund, such
   amount being liquidated damages, and not a penalty, reflecting the reasonable dåmages Íncurred 6y the
   Fund due to the delínquency of the payments. Suclr amount s'ñall be added to and bãcome a part
                                                                                                       of the
   contrjbutions due and..payable, and the whole amount due shall bear interest at the rate of tén percent
   (1o%) per annum until_paid. The Employer shall also be liable for all costs of colfecting the payment
   together with attomeys' fees.


                                                     ARTICLE X

                   ATIONAL LABOR.MANAGEMENT COOPERATIVE COMMITTEE (NLMCC)

   EECTION    10-01 The parties             to participate in the NECA-IBEW National Labor-Management
                                    .3Sr9e_
   Cooperalion Fund, under authority of Section 6(b) of the Labor Management Cooperation Act of
                                                                                                197g, 29
   U.S.C. $175(a) and Section 302(c)(9) of the Labor Management Retaions Act, 29 U.S.C.             The
   purposes of this Fund include the followingl
                                                                                        ç1s6(c)(9).

          1. to improve communication between representatives of labor and management;
          2' to provide_ workers and employers with opportunities to study and explore new and
                 innovative joint approaches to achieving organization effectivenessi

          3.     to assist worker and employers in solving problems of mutual concern not susceptible to
                 resolution within the collectÍve bargainÍng process;

          4. to study and explore ways of                 eliminating potential problems which reduce the
                 competitiveness and inhibit the economic development of the electrical construction industry;




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             5. to sponsor      programs which improve      job security, enhance economic and        community
                  development, and promote the general welfare of the community and the industry;

            6.    to encourage and support the initiation and operation of similarly constituted local labor-
                  management cooperation committees;

            7. to engage in research and development programs conceming various aspects of the
                  industry, including, but not limíted to, new technologies, occupational safety and health, labor
                  relations and new methods of improved production;

            8.    to engage in public education and other programs to expand the economic development of
                  the electrical construction industry;

            9.    to enhance the involvement of workers ín makíng decisíons that affect their working lives;
                  and

             10. to engage  in any other lawful activities incidental or related to ihe accomplishment of these
                  purposes and goals.

    SECTION 10.02 The Fund shall function in accordance with, and as provided in, it's Agreement and
    Declaration of Trust, and any amendments thereto and any other of its governing documents. Each
    employer hereby accepts, agrees to be bound by, and shall be entitled to participate in the NLMCC, as
    provided in said Agreement and Declaration of Trust.

    SECTION 10.03 Each employer shall contribute one cent ($0.01) per hour worked under this Agreement
    up to a maximum of 150,000 hours per year. Payment shall be forwarded monthly, in a form and manner
    prescrìbed by the Trustees, no later than fìfteen (15) calendar days following the last day of the month in
    which labor was performed. The California Central Coast Chapter, NECA, or its designee, shall be the
    collection agent for this fund.

    gEqTlON 1,0.04 lf an Employer fails to make the required contributions to the Fund, the Trustees shall
    have the right to take whatever steps are necessary to secure compliance. ln the event the Empfoyer is
    in default, the Employer shall be liable for a sum equal to fifteen percent (15%) of the delinquent payment,
    but not less than the sum of twenty dollars ($20.00), for each month payment of contributions is
    delinquent to the Fund, such amount being liquidated damages, and not a penalty, reflecting the
    reasonable damages incurred by the Fund due to the delinquency of the payments. Such amount shall
    be added to and become a part of the contributions due and payable, and the whole amount due shall
    bear interest at the rate of ten percent (10%) per annum untit paid. The Employer shall also be liable for
    all costs of collecting the payment together with attorney's fees.

    SECTION 10,05 The one cent ($0.01) per hour contribution for the National LMCC is to be paid from the
    local LMCC Fund. There will be no increase in the wage/fringe benefìi package for this contribution.




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                                                      ARTICLE XI

                                                 SUBSTANCE ABUSE

     sEcTtoN 11.01
     The dangers and costs thàt alcohol and other chemical abuses can create in the electrical contracting
     industry in terms of safety and productivity are significant. The parties to this Agreement resolve
                                                                                                         to
     combat chemical abuse. in any form and agree that, to be effective, prograrns to êfíminate
                                                                                                 substance
     abuse and impairment should contain a strong rehabilitatíon component.       Tie   local parties recognize that
     the ímplementation of a drug and alcohol policy and program must be subject to å¡ applicaoiä federal,
     state, and local laws and regulations. Such policies ând programs rnust also be administered in
     accordance with accepted scientific principles, and must incorpoiate procedurat sareguàros to ensure
     fairness in application and protection of legitimate interests of privacy änd confidentiali-ty. To provide
                                                                                                                 a
     drug-free,workforce forthe Efectrical conslruction lndustry,          leew local union and ruecRchapter
     shall implement an area-wide Substance Abuse Testing Policy.   "ubh The policy shall include minímum
     standards as required by the IBEW and NECA_ Should ãny of ihe requiieO m¡nimum standards
                                                                                                           fait to
     comply with federal, state, and/or local laws and regulations, ihey shall bä modified ny tnerocaiunion
     chapter to rneet the requirements of those laws and regulations_
                                                                                                                ä"i



                                                         ARTICLE XII
                                              CODE OF EXCELLENCE
    sEGT¡ON 1?.01
    The,parties to this Agreement recognize that to meet the needs of our customers, both
                                                                                            employer and
    employee must meet the highest levels of performance, professionalism and proã"är¡r'tv.
                                                                                             The Code of
    Ffqlgnce has proven to be a vital element in meeting the custome/s expéctations. îherefore each
    IBEW local union and NECA chapter shall implement a õode of Exce¡enc" Ërogi"r. ihe program
                                                                                                    sha¡
    include mÌnimum standards as designed by the IBEW and NECA.



                                                    ARTICLE XIIÍ

                                    ADM INISTRATTVE MAINTENANCE FUN D

    qFçTloN 13.01 AII employers signatory to this labor agreement with the Calífornia centrat coast
                N_ECA designated  as their collective bargaining agent shail contribute the amount specifìed in
    9lg?t"lr.
    Article   lll' section 3.05 for each hour paíd by eaðn   emþloyee covered by this labor agreement to the
    Administratíve Maínlenance Fund. The moneys are for thä purpose of administration of the
                                                                                                      collective
    bargaining agreernent, grievance handling, and all other management duties and re"ponrinititi¿"
    agreement' The fund is to be administered solely by the Chaptér. Enforcement for deìinluent payments "iini,
    to the fund shall be the sole responsibility of the fund or the ihapter and not the Local
                                                                                              Union. ruã'Jart o]
    the funds collected under this trust shall be used for any prrpo"" which is frJi to oã ¡n cãnnict
                                                                                                       wíth the
    interests of the lnternationaf Brotherhood of Electrical WórÈeri and its local unions.




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                                             SEPARABIL¡TY CLAUSE


   Should any provision of the Agreement be declared illegal by any court of competent jurisdiction, such
   provísions shall immediately become null and void, leaving the remainder of the AQreement in full force
   and effect and the parties shall, thereupon, seek to negotiate substitute provisions which are in conformity
   with the applicable laws.

                                              GENDER LANGUAGE

   Whenever the male gender is used in thís Agreement, the female gender is also intended.

   SUBJECT TO THE APPROVAL OF THE INTERNATIONAL PRESIDENT, IBEW.




   Signed:
   Title:       Jo¡¡             CHRtnn¡R¡'t
   Sn¡¡ Luts Ogrspo DtvtsroN, CRulroRrurR CerurnRt CoRsr Cnnpren
   Nnr¡o¡¡at ErccrRlcnt Co¡ttnncroRs AssoctAT¡oN


   Signed:
   Title:                L. CHn¡¡pt-lt¡       Me¡¡¡oçR
   SAN LUIS       Dvtslor'¡, CRTIronrun CENTRAL CoAsT CHRprrn
   NRloNnl ElecrRrcRL Cor.¡rnRcroRs AssoctATtoN


   SÍgned
   Title:       DRt'¡   MlteR.   PRESIDENT
   Locel Uuoru 639,     lrurrR¡¡ATtoNAL Bnoft¡gRHooD oF ElEcrRlcnl_ WonreRs


   Signed:
   Title:        Hnrur       S, BUSINESS MANAGER
   LocRr- Uruoru 639, lrurenruAïoNAL BRornr RHooD oF ELEcTRIcnI WoRxeRs



                                                                                 APPffiÕVHM
                                                                                INÏËIÌNAT'IÛNAL OËFðTE -        I.8.   E.   rOJ.




                                                                                           JUN 1 7         2009

                                                                                                 Edwin D. HÍil, president
                                                                                    ïhis   approval does not tnake Ute
                                                                                 lnternafional a pafty t0 th¡s agreement




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                                                       Exhibit 2
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                          INSIDE AGREEMENT

                                    Between

                              LOCAL UNION 639

                                      of the

        INTERNATIONAL BROTHERHOOD OF ELECTRIGAL WORKERS,
                    SAN LUIS OBISPO, CALIFORNIA

                                       and

                CALIFORNIA GENTRAL COAST CHAPTER

          NATIONAL ELECTRICAL CONTRACTORS ASSOCIATION




                          AMENDED JUNE 1, 2012




                                                                     cst   0056
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                 Cutting and Threading                     3.17       13




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                   Ratio of Foreman to Journeymen                  3.18       14
                   Travel                                          3.19       14
                   Overtime Scope                                  3.20       15
                   Rebates of Wages                                3.21       15
                   Underground Work                                3.22       15
                   Tunnels                                         3.23       15
                   Off Shore Work                                  3.24       16
                   Make up Time                                    3.25       16
   ARTICLE IV
                   Referral Procedures                          4.01-4.20     17     Category       1


   ARTICLË V
                  Apprenticeship Training                       5.01-5.16    20      Category       I
   ARTICLE VI
                  NEBF (Monthly)                                   6.01      23      Category   1
                  Health and Welfare                              6.02       23
                  Apprenticeship                                  6.03       23
                  Pension                                         6.04       23
                  Labor Management Fund                           0.05       23
                  Withholdings                                    6.06       23
                  Termination                                     6.07       24
                  Fringe Benefit Remedies                         6.08       24
                  COPE                                            6.09       24

   ART¡CLE VII
                  National Electrical lndustry Fund   (NE|F)     .7.O1       25     Category    1


   ARTIGLE VIII
                  Safety                                        8.01-8.10    25

   ARTICLE IX
                  SLO Labor Management Coop Fund                9.01-9.04    26     Category    1


   ARTICLE X
                  National Labor Management Coop       Fund    10.01-10.05   27     Category    1


   ARTIGLE XI                                                                       Category I
                  Substance Abuse                                 11.O1      29
   ARTICLE XII
                  Code of Excellence                             12.01       29     Category    1
   ARTICLE XIII
                  Adm ínistrative Maintenance Fu nd              13.01       29

   SEPARABILITY CLAUSE
                                                                             30     Category    1


  SIGNATURE PAGE
                                                                             30




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                                                INSIDE AGREEME.NT

   Agreement by and between the San Luis Obispo Division of the California Central Coast Ghapter,
   National Electrical Contractors Association, lnc., and Local Union No. 63g, lnternational Brotherhood of
   Electrical Workers.

   It shall apply to all firms who sign a Letter of Assent to be bound by the terms of this agreement,

   As used hereinafter in the Agreement, the term "Chapter'' shall mean the California Central Coast
   Ghapter, Natíonal Electrical Contractors Association and the term "Union" shall mean Local Union No.
   639, lnternational Brotherhood of Electrícal Workers.

   The term "Employer" shall mean an individual firm who has been recognized by an Assent to this
   Agreement.


                                                BASIC PRINCIPLËS

   The Employer and the Union have          a   common and sympathetic interest in the Electrical lndustry.
   Therefore, a working system and harmonious relations are necessary to improve the relationship between
   the Employer, the Union, and the Public. Progress in lndustry demands a mutuality of confidence
   between the Employer and the Union. All will benefít by continuous peace and by adjuSting any
   differences by rational, common sense methods. Now, therefore, in consideration of the mutual promises
   and agreements herein contained, the parties hereto agree as follows:



                                                     ARTICLE    I


                         EFFECT¡VE DATE _ GHANGES            - GRIEVANCES -      DISPUTES

   SECTION 1.01 This agreement shall take effect June 1,2012 and shall remain in effect until May 31,
   2015, unless othenivise specifically provided for herein. lt shall continue in eflect from year to year
   thereafter, from June 1 through May 31 of each year, unless changed or terminated in the way later
   provided herein.

   sEcTtoN 1.02

          A.    Either party or an Employer withdrawing representation from the Chapter or not represented
                by the Chapter, desiring to change or terminate this Agreement must provide                 written
                notification at least 90 days prior to the expiration date of the Agreement of any anniversary
                date occurring thereafter.

          B.
          '     Whenever notice is given for changes, the nature of the changes desired must be specified in
                the notíce, or no later than the firstiegotiating meeting unlesimutually agreed otherwise.

          C. The existing provisions of the Agreement,       including this Article, shall remain in fullforce and
                effect until a conclusion is reached in the matter of proposed changes.           :



          D.    Unresolved issues or disputes arising out of the faílure to negotiate a renewal or modification
                of this agreement that remain on the 20'n of month preceding the next regular meeting of the
                Council on lnduslrial Relations may be submitted joíntly or unilaterally to the Council for
                adjudication. Such unresolved issues of disputes shall be submitted not later than the next
                regular meeting of the Council following the expiratíon date of this agreement or any
                subsequent anniversary date. The Council's decision shall be final and binding.




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            E.   When a case has been submitted to the Council, it shall be the responsibility of the
                 Negotiating Committee to continue to meet weekly ín an effort to reach a settlement on the
                 local level prior to the meeting of the Council.

           F. Notice by either party of a desire to terminate       this Agreement shall be handled in the same
                 manner as a proposed change.

   SFCTION 1.03 This agreement shall be subject to change or supplement at any time by mutual consent
   of the parttes hereto. Any such change or supplement agreed upon shall be reduced to writing, signed by
   the parties hereto, and submitted to the lnternational Offïce of the IBEW for approval, the samg as thiô
   Agreement.

   çECTION 1.04 There shall be no stoppage of work by strike or lockout because of any proposed changes
   in this Agreement or disputé over matters relating to this Agreement. All such matters must be handled
   as stated herein.

   SECTION 1.05 There shall be a Labor-Management Committee of three representing the Union and
   three representing the Ëmployers. lt shall meet regularly at such stated time as it may decide. However,
   it shall also meet within forty-eight (4S) hours when notice is given by either party. lt shall select ils own
   Chairman and Secretary. The Local Union shall select the Union representatives and the Chapter shall
   select the management representatives.

   S-ECTION 1.06 All grievances or questions in dispute shall be adjusted by the duly authorized
   representative of each of the parties to this Agreement. ln the event that these two are unabfe to adjust
   any matter within forty-eight (48) hours, they shall refer the same to the Labor-Managernent Committee.

   SECTION 1.07 All matters coming before the Labor-Management Committee shall be decided by a
   majority vote. Four members of the Committee, two from each of the parties hereto, shall be a quorurn
   for the transaction of business, but each party shall have the right to cast the full vote of its membership
   and it shall be counted as though all were present and voting.

   SECTION 1.08 Should the Labor-Management Committee fait to agree or to adjust any matter, such shall
   then be referred to the Council on lndustrial Relations for the Electrical Contracting lndustry for
   adjudication. The Council's decisions shall be final and binding.

   SECTION 1.09 When any matter in dispute has been referred to conciliation or arbitration for adjustment,
   the provisions and conditions prevailing prior to the time such matters arose shall not be changed or
   abrogated until agreernent has been reached or a ruling has been made.

  SECTION 1.1q No complaint, dispute, orgrievance shall be considered unless written notice is delivered
  by the aggrieved party to the Union and Chapter within thirty (30) consecutive days from the date on
  whÍch the alfeged complaint dispute, or grievance first occurred, except ín cases invofving fringe benefit
  payments.




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                                                       ARTICLE II

                                       EMPLOYER R]GHTS. UNION RIGHTS

     sEcrloN 2'01 certain qualifications,      knowledge, experience, and proof of
    required of everyone desiring to be an Employeñn                              fínancial responsíbility are
                                                     the'Efectricar lndustry. Therefore, 'Employe/, as used
    is defined to mean a persón, fÍrm, or corporation having
                                                                 ihese qualifícations: A licensed Electrícal
    contractor maintaining'a place of business for the
                                                          con*ducting of an electrical constructíon and/or
    maintenance business with a business telephone,
                                                      op"n ioìrru public     during normal business hours. A
    place of business shall mean an establishäo
                                                   tocåtion, tnã å¿or"ss of which is affixed to the Letter of
    Assent accompanying this Agreement, where
    personal call, where he transacts his business i|e.È;pìoyer
                                                                    or his representat¡và can be reached by
                                                  with the puofic rnu solicits electrical    work.
    The Employer shall display a sign announcing the name
                                                               and character of his business and shall maintain
    on said premises proper books, accounts, añd records
                                                              incidental to the conduct or saio business. The
    Employer shall provide a place where tnã       worr<men-;il;il"-ö".r;,#rinunn"
    wash up' and store.,their belongings (tools and work cioirtes)                                    rheir ctorhing,,
    Trailers, portable buildíngs, o. añ a-n"*ering servíce
                                                                        for which the Emptoyer is responsible.
                                                           snau not meet these requirements. All Employers
    shall display permanent company signs on olotn
                                                     siue= ãiir'reiitru"r.. in letters three (3) inches high.

   All recognized Electrical Employers              a
                                             not. having     place
                                                              of business in san Luis obispo shall be
   considered as having their tempoiary headquart;"
                                                    i" ih; ðity or san Luis obíspo and they sha¡ have the
   same privileges (same working cond¡t¡ons and wages)
                                                        ur Ènípìoy"rs in! the
                                                                          " 'v city
                                                                               v'!r¡ of  san Luis obispo. This
                                                                                     v'| v,
   same conditÍon shail appry to Joint venture    contraõtois
   sEcrloN    2'q2 The union understands t!9 Emorwgr. is. responsible
   owner' The Employer,shall, therefore, have no restrictions'except to perform the work required by the
   Collective Bargaining Agreement, in píanning, a¡rectinô,-anì
                                                                         those specifically provided for in the
                                                                   controlling the operation of all his work, in
   deciding the number añof<ind of Employees to proþerly perform
   Employees, in transferring Employees from job
                                                                            tnä worli-in-t,iring and laying off
                                                 to iob w¡ttriri the Local lJnion's geographical jurisdiction,
   determining the need and number as wei                                                                      in
                                                    th" ó"i"on wno wiil act u""råieman, in requiring all
   Employees to observe the-Employer's and/or  ""o*nuir rrru" ånd regulations not inconsistent with this
   Agreement, in requiríng all Empioyóes to observ.
                                                     ãrir"råtviãgìlutionã and in disciãrging Employees for
   proper cause.

  sEcrloN 2'03 The      Employer shall be permitted to request, by
   to employ as Foreman. The union s'hall refer such'àpóli"*iname, any applicant the Employer desires
                                                                     to the Employer íf the applicants name
  appears on the referral register, províded all.other
                                                       eligiËtä appiicants in higher referrat groups have first
  been referred' The Employur             immediately,
  applicant (Employee) as Foreman"t'talt                .yäon ãñiploy*unt of said appticant, classify said
                                      and pay said aþplicant fembloveei F*";;; *äðu. as estabtished
  this Agreement   for the duration of employment.                                                           in

  sEcTlqN 2'04 For all Employees covered by this.agreement, the
                                                                    Employer shall carry workmen's
  compensatíon lnsurance with. a company authorized tä
                                                        oo uus¡ness in the state, social security, and
  other such insurance.as.may ne requireo by the taws orir,LGat*
                                                                 in which the work is performed. He
  shall also make votuntary- contribut¡on" io the state unemproyment
  regardless of the number of Employees.                                 compensat¡on commÍssion

  sEcTtoN 2.0s


          A'   Each Employer shall furnish a. surety bond in the amount
                                                                         to secure payment of all amounts
               due on account of payrofl and fund deduction, ."Ãiii¡"iiãn,
                                                                           and reporting obligations of the
               Emplover requíred.by this agreement. The bond sháù prãîo"
                                                                              that  it ;;;;iË;     rerminared
               without fifteen (15) days prior written notice to the ri"óräver
                                                                                and the Locaf union. Any
               employer who has had twelve (12) months ot gooJ
                                                                   .t""áiãõ *ithout a default in the payrnent


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                     of fringe benefíts will not have to post
                                                               a surety bond unless he defaults in his payments.
                     defaulting Emplover and all otheis                                                               Any
                                                           *t.,o ¿o
                     surety bond as follows: Any shop or project
                                                                     r;i;";iil;;       requirements wi¡'.háve ro post a
                    to post a $5,000'00 bond or c"sr'; unv                         .*  to five (0-s) employees wi¡
                    have to post a $7,s00.00 ¡ono ãr'cãs*-:lr
                                                                       oiïiói"åãäpbying five (5-10) emptoyeeshave
                                                                 ér,op"rprovlng
                                                                                                                       wiil
                    employees will h.ave to post a                    {Jp;ñ;ött         emptoyins ten to fifreen (10-1s)
                                                     $1o,ooo.o0 bónd gi""i'ãñv shop or project
                    to twenty (1s_20) emptoyees *ìll fru*                                               emptoying fifteen
                                                              to post a Srz"sõCi.oô,...etc UonO ó
                    covered by this agreement' Any Employ"iiùr¡ãã"t"'õã.,                                     emptoyees
                    until the Employer,has establ¡snáo pËrrormance                        bond shail""sÀio¡.
                                                                                                      maintain the bond
                    more than twelve (12) months not ionsãi
                                                                                        " the parties, but in no case for
                                                                          satisfaciory to
                   Agreement' said bond shall be ín a form
                                                                   iü;lËË;;üryàr        emproys Emproyees under this
                                                                  acceptable to'irrË parties and guarantee payment
                   fringe benefits províded for in tÀis agiJerent.                                                      of

              B' The   Labor-Management committee and/or
                                                                the councilon lndustrial Relations, as the case
                  may be' shall have full power to deteimine
                                                               Û,e amóuniäiron"v due, if any, and
                  payments of delinquent wages                                                       shall direct
                                                   from the ¡onJ Jiråãflv'ü iË affected Emproyees
                  payments of delinquent fund contributions                                           and direct
                                                              from the oänJ J¡iãmy to the ïrustees of
                  affected funds or to their Oes¡gnaieã                                                the
                                                        ;genrs.
             c'   lt is agreed that the union retaíns
                                                      the right to withhold the services of its members
                  contractor who fails to make timely payments                                             from a
                                                                  to the union;s-benefits pt";;, ;;äil" to pay
                  weekly payroll, in accordance with itrãgr"urunì;;¡fl-;'ih;ïníon;                             its
                                                         'nãt¡"e                       provided however that the
                                sive rhree oav. wr.ìti*          to ñÈcÀ p;iiìo w¡*¡r¡ording rhe services
                  H:HiJl:"                                                                                        or its


   sEcTloN 2'06 Employers..     e.ngaged in joint-venture jobs shall
   indivídual Employer, w¡in att                                     be considered as a new and separate
                                t¡gËdilr;í;às appty to an indiv¡du.at participating Emptoyer. .There shalt be
                  of workmen betwãen a ¡oìnt-ventuis anu
  i:r[?::t*                                                          of the Emproyers comprisins the joint-
                                                                 "nv-orãr
                   ì


  sEcTloN 2'07 The union agrees that if,
                                         during the life of this Agreement, it grants
  in the Electrical contractinsìndusw                                                 to any other Employer
                                 ;;';;;k ;;;ä;ö
  than those set forth in.thís"Agie#";i;                    iÅi:Tsr."rent, any better rerms or condirions
                                         such netter terÉs å-i ctno¡t¡ons shair be
                this Asreemänf ;.d''tü un¡on shãu i*ü"ãi"t"ry                         made          avaírabre to rhe
  *:3J-::rinder                                                                    notiry rhe Emproyer of any such

  sEcTtoN 2.08

          A' The Ernployer        recognizes the
                                               union as the sole and exclusive representative
               Employees performíñg work within
                                                  the jurísdiction oiirre Ùn¡on ror the purpose
                                                                                                         of all its
               Bargaining in respectlo rates or                                                      of collective
               employment.                      ó"v,-r"ges, hours oiãmproyment,
                                                                           'ruyrtrEf lt' alìq
                                                                                         and olngr
                                                                                              other cconditions of

         B'   The Employer understands that the Local
                                                          union's Jurisdiction, both trade and territorial,
              a subject for negotiations, but ratnerli                                                      is not
                                                       oeterminea so!ã,u *n,r rhe BEW by
              President and, therefore, agrees to                                          f  the rnternationar
                                                  reãognize uno uu oóilnJ'uy sucn determinatìons.
 sEcTtoN ?.0e

        A'    ln order to protect and preserve, for the
                                                         Employees covered by this Agreement,
              heretofore performed nv ìnem       ;å
                                                 l;                                                  all work
                                                    oroer to iiJu-""n-t ããiï"uir" or subrerfuge
              protection and preservãtion of
                                             such y9.rk, Ë hereÜy-;óreed as foilows:             to avoid the
                                                          i!
              Employer shall perform any on-.itu-"onrtruction                               liand when the
                                                                work óf inä typg covered by this Agreement,
              under its own name or under the nur"
                                                     ãiãnä,¿;;,
             any other business entity, including a joint-venture,                 company,
                                                                                      parrnership, or
                                                                "äl[oration,
                                                                   wi"Ëre¡n the Employer, through its


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                 officers, directors, partners,   or stockholders, exercises either directly indirecily,
                                                                                                     or
                 management, control, or majority ownership, the terms and conditions of this Agreement shall
                 be applÎcable to all such work. All charges of violatíons of this Section shall be considered as
                 a dispute and shall be processed in accordance with the provîsions of thís Agreement
                 covering the procedure for the handling of grievances and the final and binding resólution of
                 diSputes.

            B.   As a remedy for violations of this Section, the Labor-Management Committee, the Council on
                 lndustrial Relations for the Electrical Contracting lndustry, and/or an independent arbitrator,
                 as the case may be, are empowered, in their discretion and at the request of the Unîon, to
                 require an Employer to (1) pay to affected employees covered by this Agreement, including
                 registered applicants for ernployment, the equivalent of wages lost by such employees as a
                 result of the violations; and (2) pay into the affected joint trust funds established under this
                 Agreement any delinquent contributions to such funds which have resulted from the
                 violations. Provision for this remedy herein does not make such remedy the exclusive
                 remedy available to the Union for víolation of this Section; nor does it make th-e same or other
                 remedies unavailable to the Union for violations of other Sections or other Articles of this
                 Agreement.


            C' lf, as a result of violations of this Section, it is necessary for the Union and/or the trustees of
                 the joint trust funds to institute court action to enforce an award in accordance with
                 subsection (b) above, or to defend an action which seeks to vacate such award, the
                 Employer shall pay and accountants' and attorneys' fees íncurred by the Union andlor fund
                 trustees, plus the cost of the litigation, which have resulted from the bringing of such court
                 action.

   SEGTION 2.10 An Employer signatory to a Collective Bargaining Agreements or to a Letter of Assent to
   an agreement with another IBEW Local Union, who signs an assent to this Agreement, may bring up to
   four (4) bargaining unit employees employed in the Loóal Union's jurisdiction ¡-nto tf,¡s Locars
                                                                                                      ¡uris-àiciion
   and up to two (2) bargaining unit employees per job from that Local's jurisdiction to this Local's jurisdiction
   for specialty or servíce and maintenance work. All charges of violations of this section shall be
   considered as a dispute and shall be processed in accordance with the provisions of this agreement for
   the handling of grÍevances with the exception than any decision of a local labor-managemeñt committee
   that may be contrary to the intent of the parties to the Natîonal Agreement on Employeè portability, upon
   recommendation of either or both the appropriate IBEW lnternational Vice President or NECA Regional
   Executive Director, is subject to review, modification, or rescission by the Council on lndustrial Relations.

   SEÇTION 2.11 Only two (2) members of a firm (Employer) shall be permitted to work with the tools on
   work covered by this Agreement.

   SECTI9N 2.1e Employers shall not loan their Employees to another Employer without first securing the
   permission of the Business Manager.

   SECTION 2-13 No applicant or Employee while he remains subject to employment by Employers
   operating under this Agreement shall be recognized as a contractor for the performance of ány electrical
   work.

   SE       N 2.14 Journeyman Wireman shall install all electrical work in a safe and worl(manlike manner
   and in accordance with applicable code and contract specifications. When necessary to use temporary
   light and/or power on any foundation or building work, such temporary work shall be Ínstalled in a safà
   manner under the terms of this Agreement.

  9ECIION 2.15 A Journeyman Wireman shall be required to make corrections on improper workmanship,
  for which he is responsîble, on his own lime and during regular working hours, unless errors were made




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    by orders of the Employ.er or the Employer's representative. Correction of workmanship to be made
                                                                                                      only
    after a fair investigation by the employer and the Business Manager of the union.

    lf the Journeyman is no longer employed, employer may assign a Journeyman to make corrections on
    employer's tíme and during
                               legular working hours. The Employer may suUm¡t a "claim" to the LMCC for
    reimbursement of the cost of labor to make the correction. Reimbursement is to be made only after
                                                                                                      a fair
    investigation by the LMCC.


   SEcTlpN 2.'!g The Union shall have the right to appoint a Steward at any shop or any job where
   workmen are employed under the terms of this Agreement. Such Steward shall comótú with the
   recognized duties of a Steward. He shal! be allowed sufficíent time to perform these duties düring regular
   working hours.

   Under no circumstances shall the Employer dismiss or otherwise discriminate against an Employee for.
   making a complaint or giving evidence with respect to an alleged violation oi any provisiôn bt tfr¡" '
   Agreement.

   The Steward shall have the following duties: to insure that the Agreement, IBEW Constitution, and IBEW
   Local Union No. 639 ByJaws are adhered to; to work coopuráiuely wiih the contractor, resolve any
   perceived problem by either the Employee or Ëmployer; to ínsure harmonious relations
                                                                                              between thå
   Employer and Employees.

   The Business Manager shall notify the Employer in writing of the appointment of a Steward.

   Whenever an Employer wishes to layoff or discharge a Steward, he shall contact the Business Manager
   of the Local Union not less than forty-eight (aB) ñours previous to taking such action. However,,ihe
   Steward shall not be terminated except for just cause, anð in such case, sliall be handled as a grievánce
   under Article I of this Agreement.

   The Steward shall be allowed to work when overtime is worked when rnore than one (1) man works.
   Stewards shall be notified not less than four (4) hours in advance of all changes, layoffs, díscharges,
   reductions in force, and referrals to the job_

   qFcTlO.N 2.17 The Uníon reserves the right to discipline its members for violation
                                                                                      of its laws, rules, and
   agreements

   SEÇTION 2.18 The Representative of the Union shall be allowed access to any shop or job at any
   reasonable time where workmen are employed under the terms of thís Agreement.

   sEcTtoN 2.19

          A.    lt shall not be a violation of this Agreement, and it shall not be a cause for discharge or any
                other disciplinary action by the Employer against any Employee, for an Employee tolefuse to
                cross a lawfully estabfished primary picket line, whether at the premises of            Employer
                or the Employee's own Ernployer.                                              "n'otf,"r

          B.    Any Employee exercising such right shall carefully put away all tools, materials, equipment,
                or any other property of the Employer in a safe manner. Each Employee will be responsible
                for any loss 1o the Employer for neglect in carrying out this provision, but only when a safe
                place is provided for by the Employer.

  SECTION 2'20 There shall be no limit on production of workmen or restriction on the safe use of proper
  tools or equipment and there shall not be any task or piece work.




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      sEcrloN z-zr Journeyman        shail provide themserves with the foilowing
                                                                                 toorq
      Tool Box .- 20,' x Blz',xg', minímum
                                           with lock
     Plíers:
     Wíre  Strippers
     Side cutters, B', or 9" Klein  Type      ?iagonal Cutters (2 allowed)                Long Nose
                                              Þrrnp (Channel Locki (2 allowed)
     Combínation Wrench_Set Ziri _ gt+                                                    Stake-On
                                 ,
     Crescent Wrenches _ 6" and t 2,,-ione
    Box Wrench -- For knock_out prnòñ'"-ei' "-"",
                                           of eaeh)
    Allen Wrenches Smail set nãt
                       -
    Spin-Tite Wrench Set Up loy,i,"""ii¡ì0,
                             -
                    -
    Tap Wrench lJp to % ,'
    Chis.els: Wood, ì', maxirnum, Cold
                                       %,,maximurn
    Center Punch
    Awl
    Plumb Bob,8 ounce
    rrisquãie'
    Level- (1) 18" maxÍmum
    Chalk Line Box
    I¡lÞnþ;:    fií'to' Airprane shears
    Knife
    Rules - 30" maximum
    Screwdrivers:

    8li'?H [âì: å.t#3".and
                               1   Phirrips    offset (2), 1 Brade and 1 phiilips        Blade (3), 6", 8" and   121,
    Hacksaw Frame
   Keyhole Saw
   Hammer- Claw
                           ,,D,,,
   fu"luj - Voltage Square
   ïoolPouch (Optional)
                                  Knopf, or equal
   One-Piece Ftashtight
                        i1 )
   L;urrent NEC Code Book
   cordless screwdriver, charger, and Batteries
                                                (optional) (not a battery operated drill
           Section 2.22 f or further referenãe1                                          motor) [Note: see

   Journeyman may provide themselves
                                               with additio-nal personal hand tools necessary
                                                 üru""Ë-o]*lråäägu"uraily classified as 1,shopto perform the
   normal classification of work, not requiiing
                                                                                                   tools,,.
   ]BEW Local 639 will not tolerate
                                      the theft of any tools that are furnished
   employer in recovering such ¡tems                                            by the
                                        tiom any emþroyee noii.i*ning company emproyer and wi, aid the
                                                                                    toors.
  The Employer will fY:i]th necessary
                                            locked storage to reasonably protect tools
                       reprace sucn toãrí                                                  from the weather and
  iliflXl-J: s",Xriirr                               auñã ,n"ltoär. u'"ï''å;'-i"n'iÀu job
                                            "ïì¡.t.0                                               or storen rrom

 sEcrlqN 2'22 The Employer shall furnish a,ll
                                                  other necessary toors or equipment.
 responsible for tools or equipment
                                      issueJ to them ptouiããJtnå Èmpnveiiu';ì;il workmen wit be herd
 tool boxes' or other safe plaäe or                                                   rÅe necessary rockers,
                                    "tor"gu,
                                              Tools    r*iuãt"i,*ïrt  an¿ pui      ã"iìng work hours.
 The Employer shall orovide hard hats'                                      "*åv
                                         Employees wÍll sign out nard
                                                                 hard hats from
 lost, Emproyee shail'be responsibre                                             Employers; if hard hat is
                                                                                 Emp
                                     for   repfacement.
 lf the contractor provídes cordless screwdriver
                                                 (including charger and.batteries),
 tools; if lost or damaged, Emproyee                                                Employer will sign out
                                     ;h"t'Ë responsibre      for repracement.




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     sEcT¡oN 2'2E The refusal by an individual
                                                Employee^to.instail, service, or perform
     fixture' or other equipment thi"h
                                       do", not ue'al ãn feew L;ãaiG;; Labet, wi' work on any sign,
                                                                                         not be cause for
     3å::il:3,itiå:!3'f:'lh:ï:i;:*;;;"bñi;            ËÅonuå''           i"ï'närïîe
                                                                                union ¡e oeeÃeiio have

    sEcrloN     ¿34  All Employees  covered by the terms of this Agreement
    remaín members of the union                                            sha¡ be required to become and
                                    as a condit¡on of emplãyment irom and
    date of their employment or t'" ån""tiuäîäiå'"r'tñ"'äjr".*"nt,         aftãr the eighth day following the
                                                                    whichever is farer.
    sEcrloN 2'25 The Local uníon is a part
                                                 of the lnternational Brotherhood of Electrical
    violation or annulment by an indivi¿ual                                                     workers and any
    union of the IBEW, otr¡ó tran vìolat¡ons
                                              erply"i     äi'in.           Agreement of this or any other Locar
                                                oi Ëåiågr"ön 2"pproued
                                                                  of_rhis secion, wi¡ be sufficient cause
    cancellation of his Agreement bv the                                                                  for the
                                            l-ocal uniãñ,äit91 a finding-Àå;        il;.
                                                                                      made by the rnternationar
    Presídent of the unioñ that such
                                     á violation o,. ãnnurr*nt     has occurred.
   The subletting' assigning' or transfer
                                             by an
   work to anv persgn; f¡t, or còrporatí9p individual fmn{9ve1-o1.any work in connection with electricar
                                                  no-r ie"ãg;iz-inj tnä rBÉw ;;';;
   collective Barg3ining n"presuntairve                                                   or its Locar unions as the
                                             oÍ his.È;pt;;ä; on any erecrricar wort in
   any other Local union to be performed                                                     rhe jurisdicrion of rhis or
                                                al fl're å¡i.'ãitrre construction, arteration, painting,
   building' structure, or other *órL,                                                                   or repair of a
                                       *¡tl ue oeemlã'" .iåterirl br;""h ;ih¡J'Àåre"m.nt.
   The charges of violations of Parag
                                      raph 2of this section shall be consídered
                                                                                as a dispute and shall be
   ål:i"'"".""1:"ïi'îifl:ï:iJ[,nï*:j;*li:tl,*t'**;;il;";"*õ'*äî.'o""dure                           ior rhu hãndii"s;;


  ry^j'..|^u-F'o,oyeragreesthat,ifithasnot,19viou.s|v.9oneSo,itwi!t¡9cognizethe-lJnl-o'n'''as''''''
  the e'xsluqive Þargainins."gbntiði-"ttË;iËäÄ'oJ#å*'"n
  union on all pr-esent                                            euátriÈai-wùir *¡tn¡n the jurisdictíon or rhe
                            fú"r" ¡óbsites, ¡i     *hãn'a- ,maior,¡ty of the Emproyer,s Employees authorizes
  rhe union to represent?l¡                    "n¿
                         rhem in ioilectivé s*éãiÅì;õ.'

  sEçTloN 2'¿Z Journeyman shall, comply wíth
                                           ' the state of california requírement of 82 hours of
  ;3llii:i:, j""1ïåïiî"i.; H:î"       g"tgm;;iË J'pov., snarr notìe riquireo to pãv *ãgå-ä"0




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                                                        ART¡CLE III

                                    WAGES     - HOURS -WORKING CONDITIONS
     sEcTloN 3'q1 Eíght (s) hours work     between ihe hours of B:00 a.m. and 4:30 p.m.,
     minutes for lunch period (between ñoån                                              with thirty (30)
                                            uno rz:eo p m.isia]iconst¡tute a workday.
     By mutual agreement between the
                                     Employer and   the union, the-s.tarting and quittÍng time may
     bv not more than tw9 (z) rrours. -Êiíå                                                        be varied
                                            isl
     constitute a work week. A workman requìreO,ry"h ;9;k ;åyr, tvtonoay through Friday inctusive, shalt
                                                 to work Oriinä      his regular tunch períod shall receive the
     established overtime rate ror luncn   pårioi;;;J-rii'ih"ìäåiär'nu
    his lunch on the Employer's ú;'        -H;;üi                      aroü¡ed iuà*olãore opportun'y to eat
    hours without at leasi a inirty
                                                    rËË'Ëriråi      to *o.t  ro,. ",orrir.,an sÍx (6) consecutive
                                    tgO) rinutà Junch period;;;Ë Emptoyer,s mË.- À äu,
    shall be permissibre when miùarv ãé*"0                                                     ten-hour work day
                                                 upon'betuã.n tii" e,oproyer and the union.

                                           required bv the empfover, emptovees shaft punch
    Hi:J"TT"",i'-îiå;i',3;:,:"-î#:                                                         such time ctocks,

    lf the Employer does not provide emolovment
                                                for five (s) consecutive regular working days,
    approved leave, the Employee shall
                                       be tàiminated.                                          unless              on

    There shall be two (2) ten-minute (10)
                                           rest and nutrition breaks in each work day.
    sEcrloN 3'02 All work performed in exggs¡..of
    shall be paid at l% times th" ,"!uirirtru.is.hr       a regutar eight (B).ho11 day, Monday through Friday,
                                                      time rai;;ipö;        ihq rirrt eigfri.ig) hours on sarurday
                                                                   i"i. lf
   shall be paid at 1% times tne reiurãi
                                           rtràiõr,t tim.e iatãoi      o1, worr. på.rãri,ådìn
   hours a dav' Monday througl'r Firã;t;                                                                 or ren (10)
                                             ;à
   day or on sundav oi on any or tne iollowing
                                                ãll work p"rroirãã'ån saturday in excess or"*."rs
                                                                                                  eight (B) hours a
                                                  horidays - Ñil y;."r," Dát, Ér"siáà-n-r, o"y,
   lndependence oáv Labor'Dav,-v"i;;;;;;                                                            Memoriat Day,
                                                ó"v,    mãr"di";;dóay, the.day roilowíns Thanksgivíng Day,
   christmas oay' oi days celebrated as such.í'ioliday*I"nJrr-
   straight time rate of pay, subject to-tni                           b".?q,.¿. at doubte 12¡ times the regular
                                                rotbw¡ng'exr"Ëtän"r                  falting on saturday will be
   observed the previous ri'iaav i;iil1h*eor.                            ^Hotidays
   Monday in lieu thereof.
                                                    Häiio-avli"iiíö';, sunday'wíri-nå'åo"u*ud         the rorowins

  when workmen are called out for maintenance
                                                         work outside of
  defined in this Article, they shãtl o" puJJ
                                               irgr                         .regular scheduled working hours, as
  half (1% ) times the regularstra¡gt'itim"
                                                    the  time  tÊ;i;;u"     home   untir rhey return ar one and one
                                              räte of pay, *¡tn ã rli"ìrum of one (1) hour,s
  in additíon to regular, establishãd                                                            time.
                                        mileage payments when the workman ù"ärï¡"'o*n This sha, be
  sunday and lesai holidays shall be pãiJåià;rúu                                                      transportation.
                                                        til t¡mäs-in*'*'tr"¡snt rime rate of pay.
  The above time-and-a-half (1%) clause
                                        shall not apply
                     ct"* pòtrotting ;rlænance rbtr, on on
                                                           the construclion projects where there is a
                                                           t"rpor"ry faciritíes dnir arter comprerion of
  ::t'Jnj:3i:tenance
 sEcrloN 3'03 No wo¡k.shall be performed on Labor
 propertv' such work shall be reported                  Day, except ín case of emergency to save
                                                                                                 rife or
 Contractors performing work.
                                       witnin t*rntv-ørr       (á¿iÁ;i;ää     Ëï.iË;'ùun"n.,.          by men and

  sFcrloN 3'04 wages shall be paíd weekly ca-sh
  ot each week' Emoloyees may voluntarily !¡              or by check on or before quitting time on
                                                                                                    the payday
                                                allow ror oireát ãre"ironic deposit of wages
  to the bank or cre¿it uni91                                                                 on a weekry basis
                              qf t1-
 changed except upon 30-dav ".tpiàväå's
                                                  cr¡o¡cã. iÀ¡, ;";"r    of payment, oncõ adopted, may not be
 notificatíon copied to the unÍon"¿u*"é
                                             *itten notificàtion oetwe"¡ the employee and Employer with
                                     etòrãv"ás using direct eÈcrronic deposit
                                                                                               an accounting of
                                   than Rvé istd"r";;äot"o."äa optì'on "näri-i*""iue
 ir?t"ll;åi".".1i'åffi,ïJ:J:r                                                  sr,uri¡e uãi,ntu'v on rhe pañ or




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     ln the event an Employer fails (a) to pay a worker his wages, either in the form of cash, check draft or
    direct electronic deposit by quitting time on pay day; (b) in the event a worker does not receive his pay on
    the established pay day, waiting time at the regular straight time rate of pay shall be charged lntil
    payment is made. However, waiting time shall not exceed eight (S) hours in ány one twenty-four (24)
    hour period' When an Empfoyee's paycheck is short by ten (1ó) ùicent or less, ine empoyér has ùnti
    their next established pay day to correct the error in full or the prevíous penalty w¡U Oe enforced from that
    next established payday

    ln the event unusual cirùm stances cause payroll not to be met, the Labor-Managernent committee shall
    rule.

   The Employer shall pay a workman 2lo/o of the amount of any payroll check that is returned to the bank
   for lack of funds, as an inconvenience payment to the Employóe. Îfris amount must be paid on or before
   the next regular payroll period. This shall not apply if evidence can be shown that it was not the fault of
   the Employer.

   Any workman laid off or díscharged by the
                                                lmploygr shall be paid for all of his wages immediately. Any
   workman laid off in the afternoon shall be paid the full day. Any time spent waíting To. pay after 4:ã0 p.;.
   shall be charged at the straight tÍme rate of pay per hóur uniit payment is maà'e. The workman shall
   continue working if so directed by the Employer. Any workman laidoff shall have one (1) hour notice at
   any time in order to gather his tools and personal beÍongings. Any workman discharged-for cause shall
   have sufficient time to gather his belongings, not to exceed inirty
                                                                       lso¡ minutes- Such ùages shall inelude
   applicable travel time and mileage

   Any workm.an being terminat-ed f.or any reason will be given a "termination slip" clearly settÍng forth the
   reason for termination and eligibility for rehÍre. Termination,slips will be furnished to thá emplo-yer by the
   union.

   SEÇTþN 3.01 Effective June 1 , 2012, the minimum rate of wages shall be as follows (fringes are not
   included in.base rate). lt is mutually agreed, upon sixty (60) days written notification to the Employer, any
   portion of the agreed wage settlement may b9 applied to any fringe benefít that exists, as stipulate¿
                                                                                                              ny
   the membership of IBEW Local Union 639:

   Effective June 1. 2012

   Wagesi
   JourneymanWireman          :
                                              $35.70          1st Períod Apprentice     (40%)            $14.28
   Foreman         110% of JW Rate            $39.27          2nd Period Apprentlce     (45%)            $16.07
   General Foreman 12O% of JW Rate            942.84          3rd Period Apprentice     (55%)            $19.64
   JW Splicing     110% of JW Rate            $39.27          4th Period Apprentice     (65%)            823.21
   JW Welding      105% of JW Rate            $37.49          5th Period Apprentice     (75%)            $26.78
   JW Welding-Certified 110% of JW Rate       $39.27          6th Period Apprentice     (e0%)            $32.13
   JW Technician 100% of JW Rate              $35.70

            FrinLes:                                         Deductions:
            Health & Welfare (JW)             $r0.40         Working Assessment 6%
            Health & Welfare (Apprentice)     $ 4.00*        Labor/MgmtCo-op           $0.10
            Local Pension                     $ 4.90         COPE   (Optional)         $0.0s
            Apprenticeship Fund               $ 0.78         401K (Optional) $0.00, 91.50, 93.00, $S.00, $6.00,
            NEBF                                 3%                           $7.50
            NEIF                                 40f
                                                 tto
            Labor/Mgt Co-op Fund              $ o.1o
            Administrative Maintenance Fund      -90^

            *Once the Union and
                                    Chapter adopt the NECA/IBEW Family Medical Care plan for Apprentices,
                    this rate will increase by $0.tS per hour paid




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    Effectiye Januarv,l, 201 3

                         The Journeyman Wireman package increases $1.50 per hour paid to be distributed per the Union
                         at that time; Apprentice rates will change appropriately.

    Effective Januarv 1. 20f 4

                         The Journeyman Wireman package increases $1.50 per hour paid to be distributed per the Union
                         at that time. Apprentice rates wilf change appropriately

    Fffectíve Januarv 1. 2015
                         The Journeyman Wireman package increases $1.25 per hour paid to be distributed per the Union
                         at that time. Apprentice rates will change appropriately


   NOTE!!t!!
   All starting Apprentices indentured and employed under the terms of this Agreement on or after July 1,
   1980 shall have Pension Contributions made in theír behalf directly proportionate to the percentage of-the
   Journeyman rate they receive. Said percentage payment shall increase with each incremental raise and
   be dÍrectly proportionate thereto, untilthe 100% contribution level is attained.

   All Apprentices indentured and employed under the terms of this Agreement on or after June 1, 2006
   shall have:
             1' Pension A only Contributions made in their behalf directly proportionate to the percentage of
             the Journeyman rate they receive. Said percentage payment shall increase with éach
             incremental raise and be directly proportionate thereto, until the 100% contribution level is
             attained.

             2. Apprentice only Health and Welfare Contributions made in their behalf at the listed rate.

   The only benefit plans in which first year Apprentice and unindentured must participate are local health
   and welfare pfans and the National Electrical Benefit Fund.

   SEGTION 3.06 The Employer agrees to deduct and forward to the Financial Secretary of the Local Union,
   upon receipt of voluntary written authorization, the additional working dues from the pay of each IBEW
   member.
   The amount to be deducted shall be the amount specifìed in the approved Local Union Bylaws. Such
   amount shall be certified to the Employer by the Local Union upon request bV tlre Employer.

   SFGTION q.07 Any workman at a hígher classification shall receive the higher rate of pay for a minimum
   of four (4) hours. lf he works beyond the four (4) hours, he shall receive the higher raie of pay for the
   entire day.

   SECIION    3p8 On jobs where workmen are required to work from trusses, swinging scaffolds, open
   ladders, scaffolds, boson chairs, stacks, or towers where subject to a direct fafl from thê ground fìooi or
   support structure from a distance of fifty (50) feet to ninety (SO¡ feet, the rate shall be time-and-a-half
   (1%). Over nÍnety (90) feet, the rate shall be double (2) the regular straight time rate of pay.

  Where workmen are required to work under compressed air or in areas where injurious gases, dust, or
  fumes are presenl in amounts necessitating use of gas masks or self-contained breatñing apparatus
  (particle masks are not considered self-contained breathing apparatus) or where workmen wõrk on poles
  at a distance of seventy-five (75) feet or more from the ground, they shall be paid a bonus of straighi time
  pay. This shall be at a minimum of one hour, and thereafter, each succeeding hour or fraction thereof
  shall constitute an hour at the bonus rate. Foreman to receive bonus pay calculated by the same
  formufa.



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   SECTION 3.09 Journeyman Wireman when splicing cable: All work of joining, splÍcing, and insulating
   and placing flameproof covering, where wiped lead joints are necessary, shall be performed by
   Journeyrnan Wirernan only. Journeyman Wireman when splicing cable shall not be required to work oñ
   wires or cables when the difference in potenlials is over 300 volts between any two conductors or
   between any conductor and ground unless assisted by another Journeyman. ln no case shall
   Journeyman Wiremen when splicing cable be required to work on energized cables in excess of 480
   volts. When using stress cones and shields with all synthetic cables regardless of voltage when shielded
   and when certificatíon is required by the owner or general contractor, sþticing and connécting thereto will
   be done at the Cable Splicer's rate set forth in this Agreement only when splicing.

   Journeyman Wireman when splicing cables shall furnish hand tools, but shall be permitted to rent splicing
   tools, other than hand tools, to the Employer at a minimum rate of $25.00 per dayworked-

   ,SECIION 3.f 0 When workmen are directed to report to a job and do not start wo¡.k on the job due to
   weather condítions, lack of material or other causes beyond iheir control, they shall receive two (2) hours
   pay plus the applicable travel time and rnileage unless notified at least one-nãlf (/z) hour beforeìhow-up
   time that morning, if workmen can be reached by telephone_

   Workmen shall remain available for work, under shelter during this two (2) hour period. lf the men are put
   to work during this two (2) hour period and work beyond their show-up time, they shall receive four (4)
   hours pay. lf they start to work after lunch, they shall receìve eight (B) hours pay, plus all applicable travei
   time and mileage.

   Employers directing workmen to work in the rain or under other adverse conditions shall furnish the
   appropriate protectíve clothing.

   SECTION 3.11 ln the event there is a bomb threat on any job or project before the regular starting time,
   all workmen shall receive two (2) hours pay at the straight time rate and applicable travel time and
   mileage or subsistence. lf any workman chooses to leave the job or project prior to the end of the two (2)
   hour period, he shall receive pay at the straight time rate only for the time he remained on the job or
   project plus the applicable time and mileage or subsistence.

   lf there is a bomb threat after the start of the regular work shift and after the first two (2) hour period, all
   workmen shall be paid actual time worked plus applicable travel time, and mileage or subsistence. Tíme
   spent in holding areas as directed by the Employer shall be considered as time worked and paid
   accordingly

   SECTION 3.f 2 When workmen are required to perform work outside the jurisdiction of the Union, where a
   higher wage rate prevails, they shall be paid the higher scale.

   SECTION 3.13 SHIFT WORK

   When so elected by the Contractor, multiple shifts of at least five (5) days duration may be worked. When
   two (2) or three (3) shifts are worked:

   The fìrst shift (day shift) shall be worked between the hours of B:00 a.m. and 4:30 p.m. Workmen on the
   "day shift" shall receive eight (B) hours pay at the regular hourly rate for eight (B) hours work.

  The second shift (swing shift) shall be worked between the hours of 4:30 p.m. and 12:30 a.m. Workmen
  on the "swing shift" shall receive eight (S) hours pay at the regular hourly rate plus 1oo/o for seven-and-
   one-half (7%) hours work.

  The third shift (graveyard shift) shall be worked between the hours o'î 12:30 a.m. and B:00 a.m. Workmen
  on the "graveyard shift" shall receive eight (B) hours pay at the regular rate plus 15% for seven (7) hours
  work.



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   A lunch period of thirty (30) minutes shall be allowed on each shift. All overiime work required after the
   completion of a regular shift shall be paid at one-and-one-half times the "shift" hourly rate.

   There shall be no pyramiding of overtime rates and double the straight time rate shall be the maximum
   compensation for any hour worked.

   There shall be no requirement for a day shift when either the second or the third shift is worked.

   SECTION 3.14 Carrying tools or materials to and from the job is considered working. No workman shall
   carry tools or rnaterial outside of working hours except when using Employer's vehicle for Employee's
   own convenience.

   SECÏION 3.f 5 On any job where workmen are exposed to radioactive materials and/or radiation in
   excess of one-tenth of the maximum possible limits (MPL), as establíshed by the lnternational
   Commission on Radiatíon Protection, the Employer shali employ a quatifíed Jouineyman Radiation
   Monitor working under the terms of this Agreement.

   Such radiation monitors shall determine the location of hazardous zones and shall be responsible for the
   radiation hazards therein. He shalf maintain permanent and accurate time checks on all workmen
   entering and leaVing such zones, including radiation dosages of all personnel emerging from the radiation
   zone. He shall also be in charge of a decontamination of personnel, their tools, material, or equipment.
   The radiation monitor shall report to and be subject to the Steward and the supervising electr.ícian on the
   job. Film badges and test equipment to be supplîed by the Employer.

   SECTION 3.1.0 Workmen employed under the terms of this Agreement shall do all electrical construction
   and installatíon of electrical and electroníc work and all electrical maintenance thereon. This shafl include
   the setting, processing, welding, cutting, burning, handling, and moving of all electrical materials,
   electrical equipment, and electrical apparatus, and the makíng of the final running test and the installation
   of all underground raceways. This shall also include the installation of all electrical lighting, heating and
   power equipment, photovoltaíc systems, solar systems, fuel cells, all power generating green technology
   systems, electronic equipment, telemetering equipment, or any other electrical instrumental equipmeñ[,
   with the installation of all related wiring, conlrol wiring, fixtures, instruments, and devices. All conduit shalf
   be cut, threaded, and bent, other than 6" and less nipples and factory 4S-degree and 90-degree bends.
   The drilling, chasing, and channeling necessary to complete electrical installãtion shall be pðrformed by
   workmen employed under the terms of thís Agreement. After material used in eleclrical work has reacheã
   a job site, it shall from thereon, be handled only by workmen employed under the terms of                     this
   Agreement. This shall not preclude the Union from furnishing workmen to other Employers for completion
   of electrical installation which are not included by the electrical contract.

   It shall be understood that the scope of work covered by this Agreement does include the installation of
   tefephone or communication work and the installation of all electronics or instrumentation equipment and
   related wiring.

   SECTION 3.17 The cutting and threading of all conduit and nipples shall be performed by workmen under
   the terms of this Agreement.

   SECTION 3.18 A Foreman shall be desígnated on all jobs haVing five (5) or more workmen of any
   classification covered by this Agreement and shall be paid per hour worked in this classification. No job
   Forman shall be allowed to supervise more than one (1) project at a time where workmen are in
   continuous employment on these projects. A job Foreman may work with the tools until seven (7)
   workmen exclusive of Foreman who is on the job, then he shall act in a supervisory capacity only and
   then for not more than ten (10) workmen. He shall be permitted to drive a vehicle containing workmen
   and/or material. Foreman or General Foremen will be allowed and shall not be precluded from incidental
   handling of materials or accessÍng enclosures for inspection.




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     ln cases where workmen are not readily available to handle and transport
                                                                                 hand tools, the Foreman sha[[
    be permitted to perform this work. on all jobs requiring- three (3) or more Foremen
                                                                                         or in excess of twenty
    (20) workmen, a General Foreman shall be requíied. n Cen.*f
                                                                        Foreman shall not supervise more than
    four (4) Foremen and shail be of the same claséification as the Èor"*un.

   on  all jobs having Foremen, workmen, except in an emergency, are not to
                                                                             take orders or accept the
   lavout of work from anyone except their assigned Forernän. 'L¡riu*ir;, ;.';'lof
                                                                                     having a Generat
   Foreman- Foremen are not      accept orders, except in an emergency, from unyån" but their assigned
                              !o
   General Foreman. General Foreman shall give ord'ers only to his assigned
                                                                            Foreman, except in case of
   an emergency.

   on   all jobs.requiring more than four (4) Cable Splicers, a Cable Splicer Foreman
                                                                                      shall be placed in
   charge of this work and receive Generai Foreman pãy.

   ln any shop where the owner is acting as.shop Foreman, he shalf not act as job Foreman
   normally requiring such, under the terms of the Agreement, unless he emptoys
                                                                                          on jobs
                                                                                ãnlv ãn" (1) Journeyman
   Electrician in his shop.

   AIso, a working partner (as defined) under the terms of this Agreement shall
                                                                                not act as the shop Foreman
   ii     shop employing less than eight (8) Journeymen. ln aìl shops *nei. tnu *oìking partner
                                                                                                     is shop
      "ny
   Foreman,   he shall not, in any instance, act as ¡o-b Foreman. Non-working Foreman does not
                                                                                                    apply to
   ResidentÍal work.

   sEcrtoN      3.19 TRAVEL

   The Union will refer to all Electrical E:nployers at their recognized place of business
                                                                                             as shown on their
   Letter of Assent at no expense to the Employer. Therefore, tñe Employer has
                                                                                   the followÍng options:

             A'   All Employers ma-y request workmen to report direct to a job within a free zone to include
                  everything west of ten (10) míles east of Highway 101, as ihe crowfties, and
                                                                                                 ten (10) mites
                  north and so.uth of Highway 46, as the uow flies,-to the junction of Highway
                                                                                               41 and Higl,way
                  46. Everything outside this area shall be paid at full suúsistenc" proüid"d said job ¡s óf fivé
         '        ls) days áurati-on or more and provÍded thbre is storage on the job for the Employee,s tools.
                  The Employer will be responsible for loss of toofs unãer such circumstances.'
                  most direct route on a surfaced road.)
                                                                                                   1no"J: ir,u

             B,    On all jobs or projects outside the free zone, as stated in "4" above, Employees
                                                                                                             may be
                   required to
                               ¡eport to the job site in their owlr transportation at the regúlur starting time and
                   remain on the job site until the           quitting time and these shall"be paid at fifty dollars
                                                     1eg,qf9r
                   ($50.00) per day or fifty-one cents  ($0.5r) per-mile for each road mile from shop to job and
                  job to shop (round trip). (Day worked shail mean at teast four (4)
                                                                                           hours on thä job untess
                  sent home on account of weather, emergency, sickness, or injury_) '

             C' The Employer shall pay for traveling time and furnish transportatíon from shop to job, job to
                  job, and
                           iob !o shop. Travel time s,tqt! þe at-the appropriate rate of pay for inat ä"y ôr p,"
                  week. (Monday through Friday, straight time;  Saturdãy and Sunday, Oóuóle time.¡

  sEcTtoN 3'20 overtime is to be worked. only.in an emergency or for short durations, or
                                                                                                     on jobs of
  unusual circumstances; whích make sustained overtime Jppropriate. The Employer
                                                                                                 and workmen
  contemplating scheduled overtime work shall first notify the Business Manager.
                                                                                       lÀ'cases of emergency,
  such as the preservation of life or property, or to complóte a job or project,
                                                                                 sùch work shall be ,"poñeo íó
  the Business Manager not later that the next regular working oay.

  lnsofar as practical, all overtim.e in a shop or on the job shall be divided equally
                                                                                       among the workmen
  regularly employed there. Under no circumstances shall the workman not emplóyã¿               job
                                                                                                 on tn"      during




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   regular workíng hours be placed on overtime work while any of the regular crew is not working, if they
   desire to work on such overtime.

   SEGTION..3.2r The Employer of workmen, or their agents, shall not give or accept direcfly or indirec¡y
   any rebate on wages. The Employer shall not directly or indirectly, or by any subterfuþe, sublet or
   contract with any workman, any or all of the labor servíces required by such ôontiact of the-Employer. lf
   the Employer is found violating this provision, he shall be sub;ect to having this Agreement terminated
   upon written notice being given bythe Union after the facts have been determined'by the lnternational
   Office.

   SEGTION 3.22. UNDERGROUND DUCT WORK

   Shall include the installation of all rypes of underground ducts or raceways used as enclosure for
   electrical conductors (either power, control, communication). lt shall include all cutting and roddíng of
   same and the installation of "Fish or Pull" wires and accompanying ground wires. Thã handling oi all
   material from the first point of delivery on the job site to the final instãllation of the ducts shâll be covered
   under the Agreement, as well as the supervision of pouring the concrete envelope.


   SECTION.3.23 TUNNELS

             A'   The minimuT-Lat* of pay for tunnel work shall be paid at the time-and-one-quarter (.1%)
                  hourly rate. Whenever there is electrical construction, maintenance, or tempoiary woit oi
                  either power, lighting, or communication to be performed in or about a tunnel shaffor adit, it
                  shall be done by workmen employed under the terms of this Agreement. This shall also be
                  interpreted to include all electrícal maintenance or repair woik and battery charging and
                  chargÍng on battery-operated electrical motors.

             B-   Whenever a shift crewr or a major portion thereof, or two (2) other crafts, one (1) working in a
                  tunnel where there is electrical light or power, at least one Journeyman Wiieman shãll be
                  employed to maintain and perform the electricai installation for that crêw.

             C.   When more than one (1) heading is worked from one (1) adit or shaft, a wireman shall be
                  assigned to each crew or shift, and one (l) to each heading unless both headings are readily
                  available to that one (1) wireman
       .
             D. Workmen            not be required to enter the heading after a blast until all the requirements of
                            -shall
                  the State Safety Codes have been fully comptíed with.

             E.   All electrical wolk being performed under the terms of this supplement shall be governed by
                  Tunnel Safety Orders issued by lndustrial Safety; Electricai 'Safety Orders isðued by thá
                                                                                                             -State
                  Division of lndrr.qtrial Safety; and, when applicable, General Order No. gs, issued by the
                  Public Utilities Commission.

             F.   The daily reporting, or starting, point shall be the electrical shop of tunnel entrance, if
                  adjacent to a suitable, available parking lot, otherwise from such parking lot. The workmen,s
                  daily pay shall start and end at this reporting place. However, workmeñ shall receíve a daily
                  compensation for clothing change time and for travel tíme in and out of tunnel with regular
                  tunnel crew, before and after regular shift hour as follows.

             G.   Workmen shall not be required to work more than five (5) hours without a meal, and             if.
                  workmen do, they will receive one-half (%) hour bonus at the tunnel rate of pay.

             H. The Employer shall furnish     workmen with rubber boots, raíncoats, protective helmets, and
                  clothing without charge where required and needed in and about tunnel. The Employee shall




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                be responsible for these items and shall return them to the Employer at the time of
                termination.


   SECTION 3.24 OFF-SHORES WORK

   An additíonal 18% per hour in pay shall be paid to all Employees for work on all off-shore installations
   away from the mainland when the Employees are required to remain away from home overnight, plus
   room and board. The Contractor shalf also furnish towels, soap, and línens daily. Clean, sterilized
   blankets shall be furnished at the beginning of each job and every thirty (30) days thereafter. All
   Employees will be furnished with a locker, lock, and at least one-hundred (100) square feet of living
   quarters, which shall comply with the California State Housing Code.

   When practical, Employees working under the terms of the Agreement shall be housed together. When
   working under the terms of this Agreement, Employees shall eat their meals in the facifities provided them
   by a civilian catering service when available.

   Also, when working on off-shore installations and the workmen are required to remain overnight, no
   workman shall receive less than eight (B) hours pay each day. The point of embarkation for all off-shore
   facilities shall be considered job site for the purpose of establishing working hours andlor daily travel
   expense. The Employer is to be responsible for belongings left at the point of embarkation.

   SECTION 3.25 MAKE-UP TIME

   lf an employer approves a written request of an employee to make up work time that is or would be lost
   as a result of a personal obligation of the employee, the hours of that makeup work time, if performed in
   lhe same workweek which the work time was lost, will not be counted toward computing the total number
   of hours worked in a day for purposes of the overtime requirements, except for hours in excess of I hours
   worked in one day or 40 hours worked in one workweek. An employee shall provide a signed written
   request for each occasion that the employee makes a request to makeup work time pursuant to this
   section. The Employer shall fon¡vard a copy of the request to the union hall. lf an employee knows in
   advance that he will be requesting makeup time for a personal obligation that will recur at a fixed time
   over a succession of weeks, the employee may request lo makeup work time for up to four weeks in
   advance; provided, however, the makeuþ work must'be performed in the same week that the work time
   was lost.




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                                                      ARTICLE IV

                                            REFERRAL PROCEDURE

    SECTION 4.01 ln the interest of maintaÍning an efficient system of production ín the industry, providing for
    an orderly procedure of referral of applicants for employment, preserving the legitimate interest of
   Employees in their employment status within the area and of eliminating discrimination in employment
   because of membership or non-membership in the Union, the parties hereto agree to the following
   system of referral of applicants for employment.

   SECJION 4.02. The Union shall be the sole and exclusive source of referral of applicants for employment.

   SECTION 4.0.3 The Employer shall have the right to reject any applicant for employment.

   SECTION 4-04 The Union shall select and refer applicants for employment without discrimination against
   such applieants by reason of membership or non-membership in the Union and such selection and
   referral shall not be affected in any way by rules; regulations, bylaws, constitutional provisíons, or any
   other aspect or obligation of Uníon membership policies or requirements. Atl such selection and referrãl
   shall be ín accord with the following procedure.

   SECTION 4.05 The UnÍon shall maintain a register of applicants for employment established on the basis
   of the Groups listed below. Each applicant for ernployment shall be'regístered in the highest priority
   group for which he qualifies.


                          JOURNEYMAN WIREMAN _ JOURNEYMAN TECHNICIAN

   GROUP     t      All applicants for employment who have four or more years experience in the trade, are
    residents of the geographical area constituting the normal construction labor market, have passed a
   Journeyman Wireman's examination given by a duly constituted lnside Construction Local Union of the
    !.B.E.W. or have been certified as a Journeyman Wireman by any lnsíde Joint Apprenticeship,and
   Training Committee and who have been employed in the trade for a period of at least one year in the last
   four years in the geographical area covered by the collective bargaining agreement. Group I status shall
   be limited to one Local Union at a time. An applícant who qualifies for Group I in a local union shall be so
   registered electronically and remain on Group I in thaf local union unless and until the applicant
   designates another local union as his or her Group I local union. lf an applicant qualifies for Group I
   status in a local union other than his or her home local union and designates that as his or her Group I
   local union, the business manager of the new Group I status local union shall by electronic means notify
   the business manager of the applicant's former Group I status local union.

   GROUP ll        All applicants for ernployment who have four or more years experience ín the irade and
   who have passed a Journeyman Wireman's examination given by a duly constituted lnside Construction
   Local Union of the |.B.E.W. or have been certified as a Journeyman Wireman by any lnside Joint
   Apprenticeship and Training Committee-

   GROUP lll        All applicants for employment who have two or more years experience in the trade are
   residents of the geographical area constituting the normal construction labor market and who have been
   employed in the trade for at least'six months in the last three years in the geographical area covered by
   the collective bargainíng agreement.

   GROUP    lV     All applicants for employment who have worked at the trade for more than one year.

   SECTION 4.06 lf the registration list is exhausted and the Local Union is unable to refer appficants for
   employment to the Employer within forty-eight (48) hours from the time of receiving the Employer's
   request, Saturdays, Sundays, and Holidays excepted, the Employer shalt be free to secure applicants




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    without usin-g the Referral Procedure, but such applicants, if hired, shall have the
                                                                                         status of ,,Temporary
    Employees."

    ÊEçTIQN 4'07 The Employer shall notify the Business Manager promptly of the names and Sociat
    Security numbers of such "Temporary Ernployees" and shall re-ptace uuåh'"T"rporary
                                                                                             Employees,, as
    soon as regÍstered applicants for employment are available under the Referral procbdure.
     sEcTloN 4.08 "Normal construction labor market" is defined to mean the following geographical
                                                                                                      area
    plus the commuting distance adjacenl hereto which includes the area
                                                                         from which the normal labor market
    is secured:

                                    SAN LUIS OBISPO COUNTY, CALIFORNIA

    The above geographical area is agreed upon by the parties to include the areas defined
                                                                                           by the secretary
    of Labor to be the appropriate prevailing wage areas under the Davis-Bacon Act to which íh¡s ngreemÀni
    applÍes.

    EE-cTloN 4.09 "Resident". means a person who has maintained his permanent home in the above-
    defined geographical area for a period of not less than one year or who, having had permanent
                                                                                             a          home in
    this area, has temporarily left with the intention of returning io this area as his permanent
                                                                                                  home.
    ÞEenPN 4.f 0 An "examination" shall include experience rating tests if sueh examinations shall have
    been given prior to the date of this procedure, but irom and afteñfre date of this procedure,
                                                                                                  shall include
   only-written and/or practical examínations given by a dulyconstituted lnside Construction
                                                                                             Local Union of
   the l.B.E-W. Reasonable intervals of timefor examinatiôns are specified as ninety days. An
                                                                                                  applicant
   shall be eligible for examínation if he has had four years experience in the trade.

   SECTION 4.11 The Union shall maintain an "Out of Work List" which shall list the applicants within each
   Group in chronological order of the dates they register their availability for employmðÅt.

   sEcTloN 4.13 An applicant who is hired and who receives, through         no fault of his own, work of forty (a0)
   hours or less shall, upon re-registration, be restored to his appropriate place within his
                                                                                              Group.
   SECTION 4'14(a) Employers shall advise Business Manager of the Local Union
                                                                                           of the number of
   applicants needed. The Business Manager shall refer apþticants to the Employer by fírst referring
   applicants in Group I in the ordgr of their place on the "Out oi Work List" and then éferriñg
                                                                                                  applicants iñ
   the same manner successively from the "out of work List" in Group ll, then Group lll, and iÍren'eroup
                                                                                                            tv.
   Any applicant who is.rejected by the Employer shall be returhed to'his appropriatä pläce
                                                                                              within his Group
   and shall be referred to other employment in accordance with ttre positìon'of his G;"; ;å
                                                                                                      nÉ pfãäã
   within his Group.

   sEcTlqN 4.14(Ð An applicant who is discharged for cause two times within a 12-month period shall
                                                                                                     be
   referred to the neutral member of the Appeals Committee for a determination as to the
                                                                                           applicanfs
   continued.eligibility for referral. The neutral member of the Appeals Committee shall,
                                                                                          w¡thin tfiråå
   business days, review the qualifications of the applicant and the reasons for the discharges.
                                                                                                 The neutral
   leinber of the Appeals Committee may, in his or her sole discretion: (1) require the applicant to obtain
   further trainíng from th-e-JATC before again being eligible for referraì;'(e) ã¡squalifv'ille appticant
                                                                                                            for
   referral for a period of four weeks, or ionger, oepenãing on the seriousness of the
                                                                                               conduct andlor
   repetitive nature of the conduct; (3) refer the applicant to àn employee assistance program,
                                                                                                  if available,
   for evaluation and recommended action; or (4) iestore the applicani to hislher -púõ;"ì;'oju];ä;;
   referrallist.

  sEc.TlON 4.15 The only exception which shall be allowed in this order of referral is as follows:
  (a)- When the Employer states bona fide req.uirements for special skills and
                                                                                    abilities in his request for
  applicants, the Business Manager shall refer the fìrst applicani on the register possessing
                                                                                                 such s'kílls and
  abilities.




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   (b)'The age ratio clause in the Agreement calls for the employment of an additional employee or
   employees on the basis of age. Therefore, the Business Manager shall refer the fírst applicant on the
   register satisfying the applicable age requirements provided, however, that all names in hîgher priority
   Groups, if any, shall first be exhausted before such overage reference can be made.

   S-ECTIQN  4-rq An Appeals Committee is hereby established composed of one member appointed by the
   Union, one member appointed by the Employer or by the Association, as thei case may be, and a puUt¡c
   Member appointed by both these members.

   9ECTION 4'17. lt shall be the function of the Appeals Committee to consider any comptaint of any
   Employee or applicant for employment arising out of the administratîon by the Local Uñion olsection 4,04
   through 4.14 of this Agreement. The Appeals Committee shall have the power to make a final and
   binding decision on any such complaint which shall be complied with by the Local Union.

   The Appeals Committee is authorized to issue procedural rules for the conduct of its business, but it is not
   authorized to add'to, subtract from, or modify any of the provisions of this Agreement and its decisions
   shall be in accordance with Agreement.

   SECTION 4.18 A representative of the Employer or of the Association, as the case may be, designated to
   the Union in writing, shalt be permitted to inspect the Referral Procedure records ãt any time during.
   normal business hours.

   SECTTON,4.19 A copy of the Referraf Procedure set forth in this Agreement shall be posted on the
   Bulletin Board in the offices of the Local Union and in the offÍces of the Employers who are partíes to this
   Agreement.

   SECÏION 4.20 Apprentices shall be hired and transferred in accordance with the Apprenticeship
   Provisions of the Agreement between the parties.




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                                                   ARTICLE V

                                      APPRENTICESHIP AND TRAIN ING



   SECTl9l'¡ 5.01 There shall be a local Joint Apprentíceship and Training Committee (JATC) consisting of a
   total of either 6 or I members who shall afso serve as Trustees to the local apprenticesi'rip and trainíng
   trust. An equal number of members (either 3 or 4) shall be appoínted, in writing, by the local chapter of
   the National Electrical Contractors Association (NECA) and the local union of the lnternational
   Brotherhood of Electrical Workers (IBEW).

   The local apprenticeship standards shall be in conformance with national guideline standards and
   industry policies to ensure that each apprentice has satísfactority completed thé NJATC required hours
   and course of study. All apprenticeship standards shall be registered with the NJATC b'efore being
   submitted to the appropriate regislration agency.

   The JATC shall be responsible for the training of apprentices, journeymen, Ínstallers, technicians, and all
   others (unindentured, intermediate journeymen,. etc.)

   SEC'IQJ'I 5.02. All JATC member appointments, reappointments and acceptance of appointments shall
   be in writing. Each member shall be appointed for a three (3) year term, unless being appointed for a
   lesser period of time to cornplete an unexpired term. The terms shall be staggered, w¡th one (1) term
   from each side expiring each year. JATC members shall complete their appointãd term unless removed
   for cause by the party they represent or they voluntarily resign. All vacancies shall be filled immediately.

   The JATC shall select from its membership, but not both from the same party, a Chairman and a
   Secretary who shall retain votíng privileges. The JATC will maintain one (1) set of minutes for the JATC
   committee meetings and a separate set of minutes for
  Trust meetings.

  The JATC should meet on a monthly basis, and also upon the call of the Chairman.

  SECT¡ON 5.03 Any issue concerning an apprentice or an apprenticeship matter shall be referred to the
  JATC for its revÍew, evaluation, and resolve; as per standards and policíes. lf the JATC deadlocks on any
  issue, the matter shall be referred to the Labor-Management Committee for resolution as ouflined iñ
  Article I of this Agreement; except for trust fund matters, which shall be resolved as stipulated ín the local
  trust fund instrument.

  SEçTlqN 5.04 There shall be only one (1) JATC and one (l) local apprenticeship and traíning trust. The
  JATG may, however, establish joint subcommittees to meet specific needs, such as relidential or
  telecommunication apprenticeship. The JATC may also establish a subcommittee to oversee an
  apprenticeship program within a specifìed area of the jurisdiction covered by this Agreement.

  All subcommittee members shall be appointed, in writing, by the party they represent. A subcommîttee
  member may or may not be a member of the JATC.

  SEGT¡ON 5,0€ The JATC may select and employ a part-time or a fulllime Training Director and oiher
  support staff, as it deems necessary. ln considering the qualifications, duties, and ràsponsibilitíes of the
  Training DÍrector, the JATC should review the Trainiñg Director's Job Description providèd by the NJATC.
  All employees of the JATC shall serve at the pleasure and discretion of the JATC.

  SECTION 5.06 To help insure díversity of training, provide reasonable continuous employment
  opportunities, and comply with apprenticeship rules and regulations, the JATC, as the program sponsor,
  shall have full authority for issuing all job training assignments and for transferring apprentìces from one
  employer to another. The employer shall cooperate in providing apprentices with needed work



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    experiences. The local union referral office shall be notifíed, in writing, of all job training assignments. If
    the employer is unable to pr:ovide reasonable continuous employment for apprentices, ihe JÂTC is to oe
    so notified.

    SEçTION 5.07 All apprentices shall enter the program through the JATC as províded for in the registered
    apprenticeship standards and selection procedures.

    An apprentice may have their indenture canceled by the JATC át any time prior to completion as
    stipulated in-the registered standards. Time worked and accumulateO in apprànticeship shall not be
    considered for local union referraf purposes until the apprentice has satisfied all conditions of
    apprenticeship. lndividuals terminated from apprenticeship shall not be assigned to any job in any
    classification, or particípate in any related training, unless they are reinstated in Jpprenticeship'u* pet thá
    standards, or they qualify through rneans other than apprenticeship, at some time in the fuiure, but no
    sooner that two years after their class has cornpleted apprenticeship, and they have gaÍned relaied
    knowledge and job skills to warrant such classification,

   SEçÎION q.08 The JATC shall select and indenture a sufficient number of apprentices to meet local
    manpower needs. The JATC is authorîzed to índenture the number of apprentices necessary to meet the
   job site ratio as per Section 5.12.

   SECTION 5.og Though the JATC cannot guarantee any number of apprentices; if a qualified employer
   requests an apprentice, the JATC shall make every effort to honor the request. lf unable to fill the request
   within ten (10) working days, the JATC shall seiect and indenture the next available person from the
   active list of qualified applicants. An active list of quafified applícants shall be maintaineO ny tnu JATG as
   per the selection procedures_

   SECTION 5.10. To accommodate short-term needs when apprentices are unavailable, the JATC shall
   assign unindentured workers who meet basic qualification for apprenticeship. Unindentured workers shall
   not remain employed if apprentíces'become available for OJT assignment. Unindentured workers shall
   be used to meet site ratios except on wage and hour (prevailing wagà¡ job sites,

   Before being employed, the unindentured person must sign a letter of understanding with the JATC and
   the employer - agreeing that they are not to accumulatJmoie than two thousandlz,ooO¡ hours as an
   uníndentured, that thèy are subject to replacement by indentured apprentices and ihat they are not to
   work on wage ând hour (prevailing wage) job sites.

   Should an unindentured worker be selected for apprenticeship, the JATC will determine, as provided for
   in the apprenticeship standards, if some credit hours worked as an unindentured will be applied toward
   the minimum OJT hours of apprenticeship.

   The JATC may elect to offer voluntary related training to unindentured; such as Math Review, English,
   Safety, Orientation/Awareness, and Introduction to OSHA, First-Aid and CPR. participation shall be
   voluntary.

   IEGT.IO.N 5.11. The employer shall contribute to the local health and welfare ptans and to the Nationat
   Electrical Benefit Fund (NEBF) on behalf of all apprentices and uníndentured. Contributions to other
   benefit plans may be addressed in other sections of this agreement.

   9ECTION 5.,1? Each .job site shall       be allowed a ratio of two (2) apprentices for every three          (3)
   Journeyman Wiremen (man).

           Number of Journeymen                       Maximum Number of ApprentÍces/Unindentured
                    Ito3                                               2
                   4to6                                                4
                     etc.                                             etc.




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   The fírst person assigned to any job site shall be a Journeyman Wireman.
   A job síte is considered to be the physical location where employees report for: their work assignments.
   The employer's shop (service center) is considered'to be a separate, single job site. All other physÍcal
   locations where workers report for work are each considered to be a single, separate job site.

   SEGTION 5.ì3 An apprentice is to be under the supervision of a Journeyman Wireman at all times. This
   does not imply that the apprentice must always be in sight of a Journeyman. Journeymen are not
   required to constantly watch the apprentice. Supervision will not be of a nature that prevents the
   develop'ment of responsibility and initiative. Work may be laíd out by the employer's designated
   supervisor or journeyman based on their evaluation of the apprentice's skills and abîlity to perform the job
   tasks. Apprentíces shall be permitted to perform job tasks in order to develop job skitls and trade
   competencies. Journeymen are permitted to leave the immediate work area without being accompanied
   by the apprentice.

   Apprentices who have satisfactorily completed the first four years of related classroom training using the
   NJATC curriculum and accumulated a minimum of 6500 hours of OJT with satisfactory performancelhall
   be permitted to work alone on any job site and receive work assignments in the same manner as a
   Journeyman Wireman. An apprentice shalf not be the fìrst:person assigned to a job site and apprentices
   shall not supervise the work of others.

   SECTION 5.14 Upon satisfactory completion of apprenticeship, the JATC shall issue all graduating
   apprentices an appropriate diploma from the NJATC. The JATC shall encourage each graduating
   apprentice to apply for college credit through the NJATC. The JATC may also require each apprentice to
   acquire any electrical license required for journeymen to work in the jurisdiction covered by this
   agreement.

   SECTION 5.15 The parties to the Agreement shall be bound by the Local Joint Apprenticeship and
   Training Trust Fund Agreement which shall conform to Section 302 of the Labor Management Relations
   Act of 1947 as amended, ERISA, and other applicable regulations_

   The Trustees authorized under this Trust Agreement are hereby empowered to determine the reasonable
   value of any facilities, materials or services furnished by eithêr party. All funds shall be handled and
   disbursed in accordance with the Trust Agreement,

   SECnqN 5.16 All Employers subject to the terms of this agreement shall contrîbute the amount of funds
   specífÍed by the party's signatory to the local apprenticeship and training trust agreement. The current
   rate is referenced ín Section 3.05. This sum shall be due the Trust Fund by the same date as their
   payment to the NEBF under the terms of the Reqtated Emptoyees Benefit Agreement and Trust.




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                                                  ARTICLE VI

                                   FRINGE BENEFITS AND DEDUCTIONS

   SECTION.6.0l lt is agreed that in accord with the Employees Benefit Agreement of the National
    Electrical Benefit Fund ("NEBF"), as entered into between the National Electrical Contractors Association
   and the fnternational Brotherhood of Electrical Workers on September 3, 1946, as amended, and now
   delineated as the Restated Employees Benefit Agreement and Trust, that unless authorized otherwise by
   the NEBF, the individual Ëmployer will forward monthly to the NEBF's designated local collection agent
   an amount equal to 3o/o of his gross monthly labor payroll paid to, or accrued by, the employees in this
   bargaining unit, and a completed payroll report prescribed by the NEBF. The payment shall be made by
   check or draft and shall constitute a debt due and owing to the NEBF on the last day of each calendar
   month, which may be recovered by suit initiated by the NEBF or its assignee. The payment and the
   payroll report shall be mailed to reach the office of the appropríate local coltection agent not later than
   fifteen (15) calendar days following the end of each calendar month.

   The indivîdual Employer hereby accepts, and agrees to be bound by, the Restated Employees Benefít
   Agreernent and Trust.

   An individual Employer whO fails to remit as provided above shall be additionally subject to having his
   agreement terminated upon seventy-two (72) hours notice, in writing, being,served by the Union, provided
   the individual Employer faíls to show satisfactory proof that the required payments have been paid to the
   local collection agent.

   The failure of an individual Employer to comply with the applicable provisíons of the Restated Ëmployees
   Benefit Agreement and Trust shall also constitute a breach of this labor agreement.

   SECTION 6.02, The individual Employer shall contribute and forward monthly to the Local Union Health &
   Welfare Trust Fund a contribution'amount as specified in Article lll, SectÍon 3.05 per hour paid. Travel
   time hours, over time hours, high time hours, hazardous hours, and bonus differentials shall also be
   calculated and paíd as additional hours worked. The payment and payroll report shall be mailed to reach
   the Trustees or their designated agent not later than fifteen (15) calendar days following the end of each
   calendar month.

   All Contractors signatory to this Agreement shall be bound by the terms and conditions of the Electrical
   Workers Area Long Term Disability Trust Plan.

   SECTION ç.03 San Luis Obispo County Electrical Joint Apprenticeship and Training          Fund:   Employer
   contr,ibutíon equal to the amount specified in Article lll, Section 3.05 per hour paid.

   The payment and payroll report shall be mailed to reach the Trustees or their designated agent not later
   than fifteen (15) calendar days following the end of each calendar month.

   SECTION 6.04 The individual Employer shall conlribute and forward monthly to the Central California
   IBEW-NECA Pension Trust Fund a contribution as specified in Article lll, Section 3.05 per hour paid.
   (Overtime hours and bonus differentials shall also be calculated and paíd as additional hours worked).
   The payment and payroll report shall be mailed to reach the Trustees or their designated agent not later
   than fifteen (15) calendar days following the end of each calendar month-

   SECTION 6.0q The individual Employer shall contribute and fonvard monthly to the San Luis Obispo
   Labor Management Cooperative Fund a contribution amount as specified in Article lll, SectÌon 3.05 per
   hours paid. The payment and payroll report shall be mailed to reach the Trustees or their designated
   agent not later than fifteen (15) calendar days following the end of each calendar month.

   SECTION. 6.06 The Employer shall make all legal payroll withholdings for lncome Tax, Social Security,
   Unempfoyment lnsurance, etc., from the totalwages.



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           A.   The monthly transmittal shall cover every Employee subject to this Agreement on the payroll
                for all payroll weeks ending wiihin the calendar month.

           B. On the monthly    transmittal form as provided form in Article lV, the following information
                concerning each Employee shall be set forth in separate columns: (1) Social Security
                Number, (2) Name of Employee, (3) the number of hours worked, and (4) the gross earnings.
                The total of these arnounts shall be given together with the check number and date of
                payment.

           C.   The employer agrees to be bound by all the terms and conditions of the Agreement and the
                Declaration of Trust of the following Trusts: Health and Welfare, Electrical Apprentice and
                Manpower Training Fund, National Electrical Benefit Fund, and Central California IBEW-
                NECA Pension Trust Fund, and agrees further to be bound by all of the obligations ímposed
                there under and any modifícations or changes therein.

   SECTION 6.07 lndividual Employers who fail to remit as provided for in Sections 6.02, 6.03, 6.04, 6.05,
   and 6.06 shall be additÌonally subject to having this Agreement terminated upon seventy-two (72) hours
   notice, in writing, being served by the Union, provided the individual Emptoyer fails to show satisfactory
   proof that the required payments have been made.

   sEcTloN 6.08

           A.   Failure of an individual Employer to comply with the prouirion, of Sections 6.02, 6.03, 6.04,
                6.05, 6.06 and 6.07 shall also constitute a breach of this La^bor Agreement. As a remedy for
                such a violation, the Labor-Management Committee and/or the Council on lndustrial
                Relations for the Electrical Contracting lndustry,'as the case may be, are empowered, at the
                request of the Union, to require an Employer to pay into the affected Joint Trust Funds
                established under this Agreement any delinquent contributions to such funds which have
                resulted from the violation.

           B.   lf, as a result of violations of this Section, it is necessary for the Union and/or Trustees of the
                Joint Trust Funds to institute court action to enforce an award rendered in accordance with
                subsection A, above, or to defend an action which seeks to vacate such award, the Employer
                shall pay any accountants and attorneys fees incurred by the Union and/or fund Trustees,
                plus the cost of the litigation, which have resulted from the bringing of such court action.

           C. All payments     required by Article V, Seclion 5.11 and 5.16, and Artîcle Vl, Sections 6.02, 6.03,
                6.04, 6.05, and 6.06 shall be forwarded to the deposítory not later than the fifteenth 1t Sth) Oay
                of the following month. lf these payments and reports are not mailed [o the depository by the
                20'n day of the following month, liquidated damages equal to 1O% of the amount owed will
                become immediately due and owing. lf suit is brought to collect said unpaid contributions,
                liquidated damages equal     to   2oolo   ol the amount owed will immediately become due       and
                owing.

   sEcTloN 6.09
   The Employer agrees to deduct and transrnit to IBEW-COPE an amount of five cents ($0.05) per hour
   from the wages of each Ëmployee who voluntarily authorizes such contributions on the forms provided for
   that purpose by IBEW-COPE. These transmittals shall occur monthly and shall be accompanied by a list
   of names of those Employees for whom such deductions have been made and the amount deducted for
   each such Employee.




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                                                  ARTICLE V¡I

                              NATTONAL ELECTRTGAL |NDUSTRY FUND (NEtF)

   SECT|ON.7.01 Each individual Employer shall contribute an amount not to exceed one percent (1Vo) nor
   less than .2 of 1% of the productíve electrical payroll, as determined by each local Chapier and approved
   by the Trustees, with the following exclusions:

           A'   Twenty-five percent (25o/o) of all productive electrical payroll in excess of 75,000 man-hours
                paid for electrical work in any one Chapter area during any one calendar year, but not
                exceeding I 50,000 rn an-hours.

           B.   One hundred percent (100%) of all productive electrical payroll in excess of 150,000 man-
                hours paid for electrical work in any one Chapter area during any one calendar year.

   (Produciive electrical payroll is defined as the total wages, including overtime, paid with respect to all
   hours worked by all classes of electrical labor for which a wage is established in the prevailing iabor area
   where the busíness is transacted.)

   Payment shall be fonvarded monthly to the National Electrical lndustry Fund in a form and manner
   prescribed by the Trustees no later than fifteen (15) calendar days following the last day of the month in
   which the labor was performed. Faílure to do so will be considered a breãch of this Agreement on the
   part of the indivídual Employer.




                                                 ARTICLE VI¡I

                                                    SAFETY

   sEgTloN 8.01 There shall be a Joint Safety Committee consisting of three members representing the
  Employer and three members representing the Union. The duties of this Committee shall be to develop
  and recommend safe wqrk rules that are equal to or greater than the Standards of Construction as
  established by the Occupational Safety and Health Act of 1970, or other applicable Federal or State laws.
  Such rules, and other safety rules provided in the Article, are minimum iules and not intended to imply
  that the Union objects to the establishment and impositíon by the Employers of additionat or morá
  stringent safety rules to protect the health and safety of the Employees.

  SECTIO-N 8.-02     lt shall also be . a function of this Committee to study. these safe work rules and
  recommend their update to the parties to this Agreement for possible inclusion in this Agreement. This
  Committee shall meet at least once each quarter and also when called by the Chairman or when calfed
  by a majority of the current Committee members.

  SECIION 8.03 Members of the Joint Safety Committee shall be selected by the party they represent.
  Their term of offíce shall be three (3) years unless removed by the party they represent. The term of one
  (1) Employer and one (1) Union representative shall expire each year with successors to be determined
  in the same manner as the original appointments were made. A Committee member is eligible to
  succeed himself.

  SECT¡ON 8.04 Two (2) Journeymen shall work together on all energized circuíts of 440 votts AC or 2S0
  volts DC, or respective hÍgher voltages. Journeymen shall be used in assisting a Journeyman Wireman
  while splicing cable.

  SECTION 8-05 Journeyman Wîreman, while splicing cable shall not be required to work on wires or
  cables when the difference in potentials is over 240 volts between any two conductors or between any




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    conductorand ground, unless assisted byone (1) Jouineyman. ln no case shall JourneymanWíremen,
    while splicíng, be required to work on energized cables cairying in excess of 480-volt circuits.

   $EGTION 8.06 No Employees shall be compelled to use                 a   powder-actuated   tool. Only qualified
   Employees shall be permitted to use powder-actuated tools.

   SEcTloN 8.0U The Employer shall furnish hard hats when such are required and shall also furnish
   proper individual protective gear to workmen engaged in burning and welding operations.

   sEcTtoN 8.08 The safe practices that are in effect on utility company property whích are more stringent
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   than-those in this Agreement shall apply to work which ís performed     tna pioperty under the terml of
   this Agreement.

   SFCTION   8,-0.9 lt is the Employer's exclusive responsibility to ensure the safety of its Employees and their
   compliance with these safety rules and standards.

   sEçIlgN   8.10 Adequate safety and protective devices shall be supplied workmen by the Employer on alf
   hazardous work in accord with the Safety Orders of the lndustrial Accident Commission and thé rules of
   the Union. They shall also observe instructions of the Employer in matters of safety, provided such
   ínstructions are not in conflict with safety orders of the lndustrial Accident CommÍssion äs recognized
   practices in the Trade.

   Contractors shall furnish the Local Union Business Manager a copy of each accident report made to the
   Compensation lnsuranc^e Carrier as a result of injury to any workman employed under the terms of the
   Agreement. ln the event of a fatal injury, the Employer shall immediatety lnform the Local Business
   Manager by telephone and all available information shall be given to hím.

   The Employer shall be responsible for furnishing First Aid Kits, sanitary facilities, and drinking water on all
   jobs.

   The Steward shall support the Employer's Safety procedures.


                                                   ARTICLE IX

                     LOCAL LABOR-M^ANAGËMENT COOPERATTVE cOMM|TTEE (LMCC)

    EçTlOl\l 9.91 The parties agree to participate in a Labor Management Cooperation Fund under the
   authority of Section 6(b) of the Labor Management Cooperative Ãct of 1978, 29 U.S.C. g175(a) and
   Section 302(c)(9) of th9 Labor Management Relations Act, 29 U.S.C- g1B6(cX9). The purptses ú tnis
   Fund shall include the following:

           1'   to improve communications between representatives of Labor and Management;

           2. to provide     workers and employers with opportunities to study and explore new and
                innovative joint approaches to achievÍng organizational effectiveness;

           3'   to assist workers and employers in solving problems of mutual concern not susceptible to
                resolution within the collective bargaining process;

           4. to study and explore ways of eliminating           potential problems which reduce the
                competitiveness and inhibit the economic development of the electrical construction industry;

           5. to sponsor programs which improve job security, enhance econornic and community
                development, and promote the general welfare of the community and industry;




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           6.    to engage ín research and development programs concerning various aspects of                 the
                 industry, including, but not limited to, new technologies, occupational safety and health, labor
                 relations, and new methods of improved production;

           7.   to engage in public education and other programs to expand the economic development of
                the electrical construction industry;

           B.   to enhance the involvement of workers in makíng decísions that affect their working lives;
                and,

           L    to engage in any other lawful activities incidental or related to the accomplishment of these
                purposes and goals-

   SECTION Lp2 The Fund shall function in accordance with, and as provided in, it's Agreement and
   Declaration of Trust, and any amendments thereto and any other of its governing documents. Each
   Employer hereby accepts, agrees to be bound by, and shall be entitled to participate in the LMCC, as
   provided in said Agreement and Declaration of Trust.

   SECTION 9.03 Each employer shall contribute the amount as specified in Article lll, Section 3.05 per
   hour paíd under the Agreement on a monthly basis. Payment shall be fon¡rrarded monthly, in a form and
   rnanner prescribed by the Trustees, no later than fifteen (15) calendar days following the last day of the
   month in which the labor was performed. The California Central Coast Chapter, NECA, or its designee,
   shall be the collection agent for this fund.

   SECTION 9.04 lf an Employer fails to make the required contributions to the Fund, the Trustees shall
   have the right to take whatever steps are necessary to secure complíance. ln the event the Employer is in
   default, the Employer shafl be liable for a sum equal to 15% of the delinquent payment, but not less than
   the sum of twenty dollars ($20), for each month payment of contributions is delinquent to the Fund, such
   amount being liquidated damages, and not a penalty, reflecting the reasonable damages incurred by the
   Fund due to the delinquency of the payments. Such amount shall be added to and become a part of the
   contributions due and payable, and the whole amount due shall bear interest at the rate of ten percent
   (10%\ per annum until paid. The Employer shall also be liable for all costs of collecting the payment
   together with attorneys' fees.


                                                   ARTIGLE X

                NATTONAL LABOR-MANAG EM ENT COOPERATTVE COM MTTTEE                       (N   LMCC)

   SECTION 10.01 The parties agree to participate in the NËCA-IBEW National Labor-Management
   Cooperation Fund, under authority of Section 6(b) of the Labor Management Cooperation Act of lglï,Ze
   U.S.C. $175(a) and Section 302(c)(9) of the Labor Management Relations Act,29 U.S.C. 9186(c)(9). The
   purposes of this Fund include the following:

           1.   to improve communication between representatives of labor and management;

          2. to provide workers and employers           with opportunitÍes to study and explore new          and
                innovative joint approaches to achieving organization effectiveness;

          3.    to assíst worker and empfoyers in solving problems of mutual concern not susceptible to
                resolution within the collective bargaining process;

          4. to study and explore ways of              eliminating potential problems which reduce the
                competitiveness and inhibit the economic development of the electrical construction industry;




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            5.      to sponsor programs which improve job security, enhance econornic and community
                    development, and promote the general welfare of the community and the índustry:

            ô'      to encourage and support the initiation and operation of similarly constituted local labor-
                    managem ent cooperation comm ittees;

            7   -   to engage in research and development programs concerning various aspects of the
                    industry, including, but not limited to, new lechnologies, occupatioñal safety and health, labor
                    relations and new methods of improved production;


    r\      B-      to engage in public education and other programs to expand the economic development of
                    the electrical construction industry;

            9.      to enhance the involvement of workers in making decisions that affect their working lives;
                    and

            10. to engage in any other lawful activities       incidental or related to the accomplishment of these
                    purposes and goals.

   ryj0.0?          The Fund shall function in accordance with, and as provided in, it's Agreement and
   Declaration of Trust, and any amendments    thereto and any other of iis governing documents. Each
   employer hereby accepts, agrees to be bound by, and shall be entiiled to
                                                                            þartícipaie in the NLMCC, as
   provided in said Agreement and Declaration of Trust.

    sEçTloN 10.03 Each employer shall contribute one cent ($o.ot¡ per hour worked under lhis Agreemeni
   'up to a maximum of 150,000 hours per year. Payment shall be forwarded monthly, in
                                                                                            a form anã munner
    prescribed by the Trustees, no later than fifteen (15) calendar days following the iast day of the
                                                                                                       month in
    which labor was performed. The Galifornia Central Coast Ghapier, NECA,-or its desigñee, shall be the
    collection agent for this fund.

   SECTION 10'04 lf an Employer fails to make the required contributions to the Fund, the Trustees shall
   have_the right to take whatever steps are necessary to secure compliance: ln the event the Employer: is
   in default, ihe Employer shall be liable for a sum equal to fifteen percent (15%) of the delinquent payment,
   but not less than the sum of twenty dollars ($20,00), for each moÀtn payment of contributions is
   delinquent to the Fund, such amount being liquidated damages, and not -a penalty, reflecting the
   reasonable damages incurred by the Fund due to the delínquenðy of the paym"nis. Súcfi urounirf'ull
   be added to and become a part of the contributions due and payable, and ihe whole amount due shall
   bear interest at the rate of ten percent (10%) per annum until paið. The Employer shall also be líable for
   all costs of collecting the payment together with attorney's fees.

   SEqTLqt-{ :10.05 The one ce¡t (90.01) per hour contribution for the Nationat LMCC is to be paid from the
   local LMCC Fund. There will be no inciease in the wage/fringe benefit pã"È"õ. tãithis contribut¡on.




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                                                   ARTICLE XI

                                              SUBSTANCE ABUSE

   sEcTroN 11.01
   The dangers and costs that alcohol and other chemícal abuses can create in the electrical contracting
   indusiry in terms of safety and productivity are significant. The parties to this Agreement resolve tò
   combat chemícal abuse in any form and agree that, to be effective, programs to eliminate substance
   abuse and impairment should contain a strong rehabilitation component. The local parties recognize that
   the implementation of a drug and alcohol policy and program must be subject to all applicable federal,
   state, and local laws and regulations, Such policies and programs must also be administered in
   accordance with accepted scientific principles, and must incorporate procedural safeguards to ensure
   fairness in appfication and protection of legitimate interests of privacy and confidentiality. To provide a
   drug-free workforce for the Electrical Construction lndustry, each IBEW local union and NECA chapter
   shall implement an area-wide Substance Abuse Testing Policy. The polícy shall Ínclude minimum
   standards as required by the IBEW and NECA. Should any of the required minimum standards fail to
   comply with federal, state, andior local laws and regulations, they shall be modified by the local union and
   chapter to meet the requirements of those laws and regulations.




                                                      ARTICLE XII
                                                CODE OF EXCELLENCE
   sEcTroN 12.01
   The parties to this Agreement recognize that to meet the needs of our customers, both employer and
   employee must meet the highest levels of performance, professionalism and productivity. The Code of
   Excellence has proven to be a vital element in meeting the customer's expectations. Therefore each
   IBEW local union and NECA chapter shall implement a Code of Excellence Érogram. The program shall
   include minimum standards as designed by the IBEW and NECA.



                                                  ARTICLE XIII

                                   ADMINISTRATIVE MAINTENANCE FUND

   SECTION 13.01. All employers signatory to this labor agreement with the California Central Coast
   Chapter, NECA designated as their collective bargaining agent shall contribute the amounl specified in
   Article lll, Section 3.05 for each hour paid by each employee covered by this labor agreement to the
   Administrative Maintenance Fund. The moneys are for the purpose of administration of the collective
   bargaining agreement, Erievance handling, and all other management duties and responsibilities of this
   agreement. The fund is to be administered solely by the Chapter. Enforcement for delinquent payments
   to the fund shall be the sole responsibility of the fund or the Chapter and not the Local Union. Ño-part of
   the funds collected under this trust shall be used for any purpose which is held to be in conflict wittr the
   interests of the lnternational Brotherhood of Electrical Workers and its local unions




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                                           SEPARAB]LITY CLAUSE


   Shoutd any provision of the Agreement be declared illegal by any court of competent jurisdiction, such
   provisions shalt immediately become null and void, leaving the remainder of the'Agreement in fulíforce
   and effect and the parties shall, thereupon, seek to negotiaie substitute provisions.wñich are in conformity
   with the appticable laws.

                                             GENDER LANGUAGE

   Whenever the male gender is used in this Agreement, the femate gender is also intended.

   SUBJECT TO THE APPROVAL OF THE INTERNATIONAL PRESIDENT, ¡BEW.




   Signed:
   Title:                      CnRlRn¡nru
   S¡ru LuIs Oatspo DtvsroN, CRUFoRT.¡lR CerurRel CoRsr CHRpren
   NRloruRu Elecrn¡cet CorutRncroRs AssoctATt oN


  Signed:        ç^;           t6,t,r^n"*-
  Title:        SHnnI J Bnuru¡¡eR, EXEcUIVE Mn¡¡Rern
  S¡¡r Luls Oerspo D¡vtsroN, CRuFonue Cerurn¡l Co¡sr CnRprEn
   NATIoNAL   EtEcrRlcnl CorlrnectoRs AssoctRlor.r


  Signed:
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                                                       Exhibit                  3
